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                  Reporting and other biases in studies of Neurontin
                     for migraine, psychiatric/bipolar disorders,
                       nociceptive pain, and neuropathic pain




                               Kay Dickersin, MA, PhD

                                   August 10, 2008




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  Reporting and other biases in studies of Neurontin for migraine, psychiatric/bipolar disorders,
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Reporting and other biases in studies of Neurontin - Dickersin (cont’d)


                                       Executive Summary

       Reporting bias occurs when the dissemination of research findings is influenced by the
nature and direction of the results. There is extensive, even shocking, evidence of reporting
biases in the studies of Neurontin that I reviewed for this report.

         Although bias is a statistical term, when it is applied to the design or analysis of
research studies, it can have important consequences to knowledge and ultimately to human
life and health. Research has clearly established that positive results are selectively reported,
reported more often as full length articles, published more quickly, more often in duplicate, in
English, in easier to access literature, and cited more frequently. Furthermore, research has
shown repeatedly that industry funding is associated with biased reporting of positive results
over other findings. If the biomedical literature is a biased representation of what is known from
research, then as a consequence physicians’ knowledge of a drug’s efficacy, and prescription-
writing based on that knowledge, is likely to be wrong. Thus, the end result of reporting biases
is that patients may be harmed and resources wasted on ineffective treatments. For these and
other reasons, bias in reporting of study findings represents unethical behavior and scientific
misconduct.

        With respect to Pfizer-supported studies of Neurontin in the areas of migraine, bipolar
disorders, and pain, there is extensive evidence of reporting bias. Those that I observed, most
of them many times over, included failure to publish negative results; selective outcome
reporting where a secondary outcome or newly defined outcome was reported because the
desired findings were not obtained for the primary outcome; selective analyses where, for
example, patients were inappropriately excluded from or included in the analyses; multiple
publication of desirable results; hiding of negative results in abstracts, letters to the editor, or
other “grey literature”; and differential citation of Pfizer results to highlight actual or claimed
positive findings. In addition, I observed extensive evidence of “reframing” or “spin” to make
negative results appear positive. This was often accomplished by a “ghost author” working with
a commercial company hired to accomplish Pfizer’s marketing goals related to its “publication
strategy” (ie, the plan to successfully market Neurontin through selective publication of study
results). There is also evidence that many of the studies were biased in their design, rendering
their scientific value questionable.

         The documents I reviewed represent a remarkable assemblage of evidence of reporting
biases that amount to outright deception of the biomedical community, and suppression of
scientific truth concerning the effectiveness of Neurontin for migraine, bipolar disorders, and
pain. Although each of the biases I observed has been individually reported and decried in the
biomedical research literature, these biases have not typically been examined collectively as
part of an overall “publication strategy” taken on by product sponsors. A publication strategy,
meant to convince physicians of Neurontin’s effectiveness and misrepresent or suppress
negative findings, is clearly spelled out and executed when one views the Neurontin documents
as a whole. I find the behavior and actions visible through these documents highly unethical,
harmful to science, wasteful of public resources, and potentially dangerous to the public’s
health.


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Reporting and other biases in studies of Neurontin - Dickersin (cont’d)


                                           Qualifications

1.     I have attached my curriculum vitae, which includes a listing of my publications, as
       Appendix C to this report.

2.     I received my MA in zoology (specializing in cell biology) from the University of
       California, Berkeley in 1975, and my PhD in epidemiology from Johns Hopkins
       University, School of Hygiene and Public Health, in Baltimore, Maryland, in 1989. I was
       appointed as Professor of Epidemiology and the Director of the Center for Clinical Trials
       at Johns Hopkins in 2005, where I oversee the clinical trials curriculum in the Bloomberg
       School of Public Health (JHSPH). Prior to this appointment, I served as Assistant
       Professor and Associate Professor at the University of Maryland School of Medicine in
       Baltimore, Maryland for nearly 10 years (1989-1998) and as Associate Professor and
       Professor at Brown University School of Medicine in Providence, Rhode Island for seven
       years (1998-2005). At these institutions I have taught graduate level courses on clinical
       trials, systematic reviews and meta-analysis, and medical undergraduate courses on
       evidence-based healthcare and health policy.

3.     I was a founding member of the Cochrane Collaboration, an endeavor dedicated to
       synthesizing high quality research evidence in systematic reviews and making it easily
       accessible to the public, and have directed a US-based Cochrane Center since 1994. I
       currently serve as the Director of the US Cochrane Center (USCC), one of 13 Centers
       worldwide participating in The Cochrane Collaboration.

4.     My major research contributions are methodological and related to clinical trials,
       systematic reviews, publication bias, trials registers, and evidence-based healthcare.
       My research over the years has demonstrated the need for global trial registration, as a
       means to combat publication bias, and I have led a variety of successful efforts
       designed to achieve this goal.

       I have served as principal investigator (PI) for federally-funded, multicenter trials in both
       ophthalmology (PI of the Data Coordinating Center for The Ischemic Optic Neuropathy
       Decompression Trial [IONDT]) and women’s health, (PI for the Surgical Treatment
       Outcomes Project for Dysfunctional Uterine Bleeding [STOP-DUB]), and as a co-
       investigator in the data coordinating center in a number of other clinical trials.

5.     I have been honored for my research contributions, including election to the Institute of
       Medicine (IOM) in 2007, and the American Epidemiological Society in 1999. I am
       currently President of the Society for Clinical Trials and co-chair the World Health
       Organization’s (WHO) Scientific Advisory Group to the International Clinical Trials
       Registry Platform. Other appointments have included the National Cancer Advisory
       Board (appointed by President William Jefferson Clinton); the Centers for Disease
       Control and Prevention (CDC) Task Force on Community Services; a dozen advisory
       committees for the IOM and National Research Council; international and national data
       and safety monitoring boards; grant review panels; and the Editorial and Advisory
       Boards of major journals in the field of clinical trials (Clinical Trials and Trials), as well as

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       the BMJ, Health Expectations and BioMed Central. I have also received numerous
       awards for my consumer advocacy contributions, most recently in 2007 from the
       American Association for Cancer Research for my “Contributions and Enduring
       Commitment to the Eradication of Cancer”.

6.     In the past 5 years, I have not testified at deposition or trial in any cases. I am not
       accepting any compensation for consulting in this case. Instead, I have requested that
       funds equivalent to what I would have received as compensation be deposited in an
       account at Johns Hopkins University to be used to support development of teaching
       materials related to publication bias. The hourly rate this fund will be compensated for
       my work is $400 per hour. I have relied on the documents referenced in this report, and
       upon my experience in the field of epidemiology, clinical trials, and publication bias, in
       preparing this document. I reserve the right to supplement this report with additional
       material if need be.




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Reporting and other biases in studies of Neurontin - Dickersin (cont’d)


1.     Reporting biases in the dissemination of biomedical knowledge

1.1    The ethical and scientific imperative to communicate knowledge gained from
       biomedical research

        All healthcare should be “evidence-based,” that is, decisions about individual patient
care should be based on “the conscientious, explicit, and judicious use of current best
evidence” (Sackett et al., 2000). Practically speaking, knowledge is generated by studies of an
intervention’s effectiveness and safety, and the “best” evidence (bias is minimized) is derived
from the results of randomized clinical trials (RCTs). A randomized clinical trial is an
experimental study on human beings in which the intervention is assigned using a random
process. When there is more than one trial that addresses a clinical question, systematic
reviews and meta-analyses of trial results form the “best available evidence”. A systematic
review is a review of existing knowledge that uses explicit scientific methods, including a
comprehensive search for all relevant research, a critical appraisal of the identified trials, a
summary of the available evidence, and, if appropriate, a quantitative synthesis of data (or
meta-analysis). Systematic reviews are, in turn, used as a basis of evidence-based practice
guidelines and other tools for summarizing knowledge in a format useful for doctors and
healthcare practitioners (IOM, 2008).

         Ethical principles derived from the Nuremberg Code
(http://ohsr.od.nih.gov/guidelines/nuremberg.html), the Declaration of Helsinki
(http://www.wma.net/e/ethicsunit/helsinki.htm), The Belmont Report
(http://ohsr.od.nih.gov/guidelines/belmont.html), 45 CFR 46
(http://www.hhs.gov/ohrp/humansubjects/guidance/45cfr46.htm), and other sources serve as a
foundation for modern biomedical research involving human volunteers. A critical element of
this foundation is approval of individual research projects by a research ethics review board or
institutional review board (IRB). A responsible IRB requires an “informed consent” process
involving both the research volunteer and investigator(s), and, among other things, transmission
of valid information to the participant about the potential benefits and harms associated with
participation in the research study. One benefit of participation that is typically described in the
consent document, regardless of the topic or project, is that the research participant will be
contributing to scientific knowledge that will in turn contribute to the care of others. In the case
of intervention studies, knowledge gained will help future patients regardless of the study
findings, by identifying beneficial, harmful, and ineffective treatments.

         But research can only contribute to knowledge if it is communicated from the
investigators to the biomedical community. The generally accepted primary means of
communication is “full” publication of the study methods and results in an article published in a
scientific journal. Sometimes, investigators choose to present their findings at a scientific
meeting as well, either through an oral or poster presentation. These presentations are included
as part of the scientific record as brief “abstracts” which may or may not be recorded in publicly
accessible documents typically found in libraries or the worldwide web.

      Sometimes, investigators fail to publish the results of entire studies. This effectively
means that the covenant between the investigators and study participants, reflected in the

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informed consent document, has been broken, and the knowledge gained in the study is lost to
the community. Sometimes study results are published in full, but not all outcomes examined
are reported, or only selected analyses (for example, on a select group of participants) are
reported; this is called selective outcome reporting. This, too, represents a failure to
communicate knowledge and can result in an ethical breach if key efficacy or safety information
is omitted or falsely described in the scientific record. The Declaration of Helsinki
((http://www.wma.net/e/ethicsunit/helsinki.htm), the American Association of Medical Colleges
(Korn and Ehringhaus, 2006), and others have issued consensus documents on the ethical
obligation to make results from clinical trials publicly available.

       “Both authors and publishers have ethical obligations. In publication of the results of
       research, the investigators are obliged to preserve the accuracy of the results. Negative
       as well as positive results should be published or otherwise publicly available. Sources
       of funding, institutional affiliations and any possible conflicts of interest should be
       declared in the publication. Reports of experimentation not in accordance with the
       principles laid down in this Declaration should not be accepted for publication.” (World
       Medical Association Declaration of Helsinki, 2004)

      Failure to publish study findings is not only unethical, it is also scientific misconduct
(Chalmers, 1990). When failure to publish research findings is “random” it harms our
knowledge base. When failure to publish is “differential,” that is, on the basis of some
systematic factor, it results in a “biased” knowledge base and the scientific literature, overall,
may provide incorrect information.

1.2    Reporting biases

        Reporting bias occurs when the dissemination of research findings is influenced by the
nature and direction of the results (Higgins and Green, 2008), and encompasses a number of
different subtypes (see Table 1). The phrase nature and direction of research results
encompasses a number of possible situations. It can refer to a difference, or no difference,
observed between two or more interventions being compared, the direction of that difference,
the size of the difference, and the statistical significance of the difference. Statistical
significance is common research jargon communicating that as a result of statistical analyses,
there appears to be a low probability (usually set at less that 1 chance in 20) that the results
obtained in a given study are due to chance. The contribution made to the totality of knowledge,
or of the evidence in systematic reviews, by studies with statistically non-significant results is as
important as that from studies with statistically significant results.

         Positive results is a term most commonly used to describe a study finding that one
intervention is better than another, and that the observed difference between the two
interventions, however small, is statistically significant. We might also use “positive results” to
refer to unexpected findings that a new or existing intervention is not inferior to a standard
intervention. The term negative results has been broadly used to refer both to the direction of
findings (that is, results favoring the comparison intervention or null results favoring neither
intervention), and to the lack of statistical significance of the findings, regardless of whether
they are positive, negative, or null.

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Reporting and other biases in studies of Neurontin - Dickersin (cont’d)




Table 1. Definitions of some types of reporting biases1



Type of reporting bias          Definition

Publication bias                The publication or non-publication of research findings,
                                depending on the nature and direction of the results.
Selective outcome reporting     The selective reporting of some outcomes but not others,
bias                            depending on the nature and direction of the results.
Multiple (duplicate) publication The multiple or singular publication of research findings,
bias                             depending on the nature and direction of the results.
Location bias                   The publication of research findings in journals with different
                                ease of access or levels of indexing in standard databases,
                                depending on the nature and direction of results.
Language bias                   The publication of research findings in a particular language,
                                depending on the nature and direction of the results.
Time lag bias                   The rapid or delayed publication of research findings, depending
                                on the nature and direction of the results.
Citation bias                   The citation or non-citation of research findings, depending on
                                the nature and direction of the results.

1
    Adapted from Sterne J et al., 2008.

        To understand reporting biases in context, one must first understand the full spectrum of
decisions when reporting study findings. As noted earlier, study investigators and sponsors
could choose not to publish a study’s findings or to publish multiple times. The timing of
manuscript submission for publication is also under an author’s control. One could also choose
to selectively report a study’s findings, selectively presenting or omitting outcomes, analyses, or
populations described in the study protocol, or reframing the questions addressed in the study.

        Investigators must also decide where to present their findings and the format in which
they will be accessed. For example, they may elect to present at a conference, using an
“abstract” or other abbreviated format, or they may publish a full length article. Conference
abstracts are by definition short summaries of a study’s methods and findings and often omit
key details essential to understanding the reliability and validity of the results. For example, it is
often not clear whether a report is describing interim or final results.

      In addition to selecting the format of their reports (abstract or full length), investigators
choose the publication source for their articles. This includes a decision about the desired

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impact of the report (for example choosing a journal with a high “impact factor”), the language
of the report, and the bibliometric databases in which the report will be included. Not all forms of
publication are equally accessible to those seeking information. The “grey” literature, which is
not easily accessed, includes conference abstracts, letters to the editor, some journal
supplements, books, theses, technical documents, and other reports outside the mainstream
scientific literature. Commonly used bibliometric databases, such as MEDLINE, may tend to
favor higher impact, English-language journals. Location and language biases are associated
with this aspect of study reporting.

1.2.1   Publication bias

       Over the past two decades, evidence has accumulated that failure to publish research
studies, including clinical trials testing intervention effectiveness, is pervasive (Dickersin, 2005).
Studies demonstrating failure to publish have included research conducted in many countries,
for example the United States, England, Australia, France, Germany, Switzerland, and Spain,
and have found that, depending on the setting, only 21% to 93% of all studies are published.

        Publication bias can be due to investigators failing to submit study findings, or due to
journal editors failing to accept manuscripts for publication because of the findings. According
to numerous surveys of investigators, almost all failure to publish is due to failure of the
investigator to submit (Godlee and Dickersin, 2003); only a small proportion of studies are not
published because of rejection by journals (Olson, 2002; Okike et al, 2008).

         The main factor associated with failure to publish is negative or null findings (Dickersin,
1997). A meta-analysis of data from five cohort studies that followed research from its
inception found that overall, the odds of publication for studies with positive findings was about
two and one half times greater than the odds of publication of studies with negative or null
results (Dickersin, 1997).Thus, the preponderance of evidence indicates that a higher
proportion of studies with positive results are published compared to studies with negative
results.

        Does biased knowledge lead to use of ineffective and potentially harmful treatments?
This would appear to be the case, assuming clinical practice is based on the literature. In an
examination of 122 meta-analyses published in The Cochrane Library based on
‘comprehensive’ literature searches, Sterne and his colleagues identified 39 that included
unpublished trials. Overall, published trials estimated a greater beneficial effect of the
intervention compared to unpublished trials (ratio of odds ratios = 1.12 [95% CI 0.99 to 1.26]),
and this association was strengthened after controlling for factors associated with trial quality
(Sterne et al., 2002). Thus, failure to publish negative results leads to overestimates of
treatment effect in meta-analyses, which in turn can lead doctors and decision makers to
believe a treatment is effective when it is not.

        We know from many studies that when initiated studies are not reported in full, some
are not published in any form whatsoever, and some are published in abstract form only.
Scherer and colleagues combined data from 79 reports (follow-up of 29,729 abstracts) on how
often studies initially presented as abstracts reach “full” publication (Scherer et al., 2007). She

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found that fewer than half of all abstracts were published in full, and that positive results are
positively associated with full publication, regardless of whether 'positive' results are defined as
any 'statistically significant' result or as a result favoring the experimental treatment.

        Though publication of findings in conference abstracts is perhaps better than no
publication at all (the biomedical community at least knows of a trial’s existence), there are
numerous problems with relying only on an abstract for valid information. First, data presented
in abstracts are frequently preliminary or interim results and thus may not be reliable
representations of what was found once all data were collected and analyzed (Chokkalingam et
al., 1998; Toma et al., 2006; Hopewell et al., 2006). For example, an investigator could publish
“positive” preliminary results, and then fail to publish final “negative” results. The scientific
community might rely on the abstract results, without knowing that the final results are any
different. Second, abstracts are often not accessible to the public through journals, MEDLINE,
or easily accessed databases. Many are published in conference programs, conference
proceedings, or on CD-ROM, and are made available only to meeting registrants. Thus, if those
performing systematic or other reviews of the literature depend on searches of electronic
databases such as MEDLINE, they are thus likely to miss identifying abstracts and will have to
rely on fully published papers and the disproportionately positive results they represent.

        It is now well-established that publication bias is associated with the source of funding
for the study. Lexchin (Lexchin et al, 2003) systematically reviewed the literature on whether
industry funding of drug studies is associated with outcomes favorable to the funder (30
research studies). Examination of relevant studies revealed that, overall, research funded by
the pharmaceutical industry was less likely to be published than research funded by other
sources. In addition, studies sponsored by pharmaceutical companies were more likely to have
outcomes favoring the sponsor than were studies with other sponsors. Numerous new studies
have been published since this review and provide additional support for these findings
(Sismondo, 2008).

         There are several possible explanations for why industry support is strongly associated
with failure to publish negative results. Industry may selectively publish findings supporting a
product’s efficacy. It is also possible that industry is more likely to undertake studies with a high
likelihood of a positive outcome, for example, by selecting a comparison population likely to
yield results favoring the product. Neither of these actions would be ethical. The results
presented may also vary by dissemination medium, for example articles reporting negative
findings for efficacy, or reporting adverse events associated with an exposure, may be
published but “hidden” in harder to access sources (Bero et al., 1996). It is also possible that
journals are more likely to publish studies with negative results if they are funded by
government sources. No evidence of selective acceptance for publication by journal editors
based on source of funding was seen, however, in a study of controlled trials submitted to
JAMA between 1996 and 1999 (Olson et al., 2002).

1.2.2   Selective outcome reporting

        The classic textbook Fundamentals of Clinical Trials (Friedman et al., 1999) is clear that
selective outcome reporting is not acceptable if one is seeking unbiased results.

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“Fundamental Point
Excluding randomized participants or observed outcomes from analysis and subgrouping on the
basis of outcome or response variables can lead to biased results of unknown magnitude or
direction.”

        As noted earlier, a study may be published in full, but outcomes omitted or
misrepresented. It is generally accepted that a study’s primary outcome should be stated in the
protocol a priori, before the study begins, to minimize bias that may be introduced by post hoc
selection of outcomes (Friedman et al., 1999). Why is this important? Standard practice
assumes that a difference observed between treatments is “statistically significant” if the p-
value is less than 0.05. This means that the probability is less than 5%, or 1 in 20, that the
result obtained, or one more extreme, is due to chance, assuming no true association exists
between the treatment/exposure and outcome. In other words, if 100 statistical tests are done
as part of a study analysis, then 5 associations tested will be “statistically significant,” just by
chance, even though none of the associations truly exist. If the primary outcome of interest
was determined after the statistical testing was done, outcomes found to be statistically
significant by chance would be commonly reported and much of the medical literature would be
wrong. Analysis of outcomes chosen post hoc are properly done first as “exploratory analyses,”
and then planned for a priori in subsequent study protocols.

         Two pieces of additional information seem relevant here: first, a statistically significant
result does not mean that the difference observed between two treatments is actually valid or
true, as explained above. Second, a statistically significant result does not mean that the finding
is clinically significant. For example, a statistically significant 1 point difference in pain scores
between treatment groups may not represent an important difference to the person
experiencing that pain.

        Several recent studies have had a major impact on our understanding of selective
outcome reporting. Chan and his colleagues compared published articles to study protocols
approved in 1994-1995 by two ethics committees in Denmark. They found that 62% of the time
at least one outcome planned for assessment in the trial was changed, introduced, or omitted in
the published article (Chan et al., 2004). In a separate study of randomized trials funded by the
Canadian Institutes of Health Research from 1990-1998, Chan and his colleagues found that
primary outcomes differed between the protocol and published article 40% of the time (Chan et
al., 2004). In both studies, efficacy outcomes that were statistically significant had a higher
chance of being fully published compared to those that were not statistically significant.

        In a recent landmark study, Turner and colleagues identified considerable selective
outcome reporting for 12 antidepressant agents submitted for review to the Food and Drug
Administration (FDA). The authors examined reviews submitted to FDA associated with 12
antidepressant agents, matched them with publications, and compared outcomes (Turner et al.,
2008). Only 31% of the 74 FDA-registered studies had been published, and publication was
associated with a positive outcome (as determined by the FDA). Studies the FDA considered to
have negative or questionable results (n=36) were either not published (22 studies), reported
with a positive interpretation (11 studies), or reported in a manner consistent with the FDA
interpretation (3 studies). Thus, if one only considered evidence from the published literature it

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appears as if 94% (48/51) of studies had positive findings, while the FDA analysis concluded
that 51% were positive. The appendix of the Turner article highlights key results that apparently
were not submitted to the FDA but which were reported in the published articles, or that were
reported differently between the FDA-submitted review and the publication.

         Selective reporting of suspected or confirmed adverse treatment effects is an area for
particular concern because of the potential for patient harm. In a study of adverse drug events
submitted to Scandinavian drug licensing authorities, reports for published studies were less
likely than unpublished studies to record adverse events (for example, 56 vs 77% respectively
for Finnish trials involving psychotropic drugs) (Hemminki, 1980). Recent attention in the lay
and scientific media on failure to accurately report adverse events for drugs (eg, selective
serotonin uptake inhibitors (Healy, 2006), rosiglitazone (Drazen et al., 2007), rofecoxib
(DeAngelis and Fontanarosa, 2008) has resulted in additional publications, too numerous to
review here, indicating substantial selective outcome reporting (mainly suppression) of known
or suspected adverse events.

        Selective presentation of analyses and analyses of selected populations are special
forms of selective outcome reporting that are well-known threats to validity. To expand,
unbiased analyses of RCT data is generally agreed to be intention to treat, where all study
participants are analyzed as part of the group to which they were randomly assigned,
regardless of their compliance with the assignment or subsequent participation. The key
principles of an intention to treat (or ITT) analysis are:

•      “Keep participants in the intervention groups to which they were randomized, regardless
       of the intervention they actually received;
•      Measure outcome data on all participants;
•      Include all randomized participants in the analysis.” (Higgins and Green, 2008).

An intention to treat analysis maintains the original randomization scheme, and minimizes
biases associated with, for example, omitting patients from an analysis because they stopped
taking a drug due to its side effects. The favored analytic approach is to conduct intention to
treat analysis as the primary analysis, with a per protocol or as treated analysis secondarily and
in conjunction with the primary analysis. In a secondary analysis, investigators may explore the
effect of not including noncompliers, withdrawals, those found to be ineligible, and those lost to
followup in the analysis.

        Presentation of the per protocol analysis, without an accompanying intention to treat
analysis, can represent a form of selective outcome reporting that we will refer to as analysis of
selected populations. Melander and colleagues reported on 42 placebo-controlled studies
associated with five SSRIs (selective serotonin reuptake inhibitors) submitted to the Swedish
drug authorities for marketing approval between 1989 and 1994 (Melander et al, 2003). Of the
42 studies conducted, half found the test drug to be statistically significantly superior to
placebo, and 90% of these (19/21) were published in stand-alone publications. Only 28%
(6/21) of studies not showing a statistically significant effect were published. Although
Melander and colleagues found that all but one of the study reports submitted to the drug
agency included both an intention to treat and a per protocol analysis, most of the publications

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only reported the more favorable analysis. Exclusion of patients in per protocol analyses
increased the estimate of the treatment effect (ie, the treatment was estimated to be more
beneficial) compared to intention to treat analyses.

         “Reframing” of negative results in positive terms has been reported many times over the
years, for example, Ioannidis reported that HIV/AIDS drug trials reporting a negative finding for
a primary outcome typically reported results in a positive frame, and included positive results for
subgroups and surrogate outcomes in the reports (Ioannidis et al., 1997). Attention has also
been drawn to the practice of stating conclusions in the Abstract and the article’s text that do
not reflect the true study findings (Barnes and Bero, 1998) and multiple observations that article
conclusions are associated with author affiliation. In particular, articles describing primary
research and with acknowledged sponsorship from the pharmaceutical industry tend to draw
pro-industry conclusions (Davidson, 1986; Rochon PA et al., 1994; Cho and Bero, 1996; Als-
Nielsen et al., 2003). A specific concern is the data presented and conclusions drawn in the
article’s Abstract (Gøtzsche, 2006), since the Title and Abstract are what is included in online
bibliographic databases such as MEDLINE, and may be the only portion of the article that is
read.

1.2.3   Multiple publication bias

       Investigators may also publish the same findings multiple times. The World Association
of Medical Editors (WAME) Publication Ethics Policies for Medical Journals provides guidance
on when this is acceptable:

        “Redundant publication occurs when multiple papers, without full cross reference in the
        text, share the same data, or results. Republication of a paper in another language, or
        simultaneously in multiple journals with different audiences, may be acceptable,
        provided that there is full and prominent disclosure of its original source at the time of
        submission of the manuscript. At the time of submission, authors should disclose details
        of related papers they have authored, even if in a different language, similar papers in
        press, and any closely related papers previously published or currently under review at
        another journal.” (WAME, 2008)

         The International Committee of Medical Journal Editors, (ICMJE), editors of the world’s
most prestigious biomedical journals, have made it clear that they consider duplicate publication
without a clear acknowledgment of prior publication at best potentially harmful and potentially
illegal:

        “Readers of primary source periodicals, whether print or electronic, deserve to be able
        to trust that what they are reading is original unless there is a clear statement that the
        article is being republished by the choice of the author and editor. The bases of this
        position are international copyright laws, ethical conduct, and cost-effective use of
        resources. Duplicate publication of original research is particularly problematic, since it
        can result in inadvertent double counting or inappropriate weighting of the results of a
        single study, which distorts the available evidence.” (ICMJE, 2007)


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        As noted by the ICMJE, one of the challenges of multiple publications from a single
study is that it can be difficult to identify their common origin. The numbers reported, authors,
and other features may differ from report to report, leading the reader to believe that multiple
studies have obtained similar findings. “Multiple publication bias” can be an outgrowth of this
phenomenon.

        Von Elm and colleagues (Von Elm et al., 2004) identified several patterns of duplicate
publication in full length papers: (1) identical samples and outcomes, (2) identical samples and
different outcomes, (3) increasing or decreasing samples and identical outcomes, and (4)
different samples and different outcomes. About 33% of the duplicates overall were funded by
the pharmaceutical industry; duplicates with the same sample and outcomes, with two or more
“main” articles assembled to create a third article, were supported by industry 81% of the time.
Most of these duplicates (63%) were published in journal supplements, potentially difficult to
access literature. Positive results appear to be published more often in duplicate, which can
lead to overestimates of a treatment effect (Tramèr et al., 1997).

1.2.4   Location bias

        There is also evidence that, compared to negative or null results, statistically significant
results are on average published in journals with greater impact factors (Easterbrook et
al.,1991), and that publication in the mainstream (non grey) literature is associated with an
overall 9% greater treatment effect compared to the grey literature (Hopewell et al. 2007).
Furthermore, even when studies initially published in abstract form are published in full,
negative results are less likely to be published in high impact journals than positive results
(Timmer et al., 2002).

1.2.5   Language bias

         There is evidence that investigators choose to publish their negative findings in non-
English language journals and reserve their positive findings for English language journals. For
example, for pairs of reports of clinical trials by the same author, one published in English the
other in German, only statistically significant results predicted publication in an English
language journal (Egger et al., 1997). Other authors have found that in certain cases, language
restrictions in systematic reviews can change the results of the review (Grégoire et al., 1995;
Pham et al., 2005).

1.2.6   Time lag bias

        It is difficult to assign a uniform time that it should take to report study findings after data
collection has been completed. More complex studies may take longer to report, for example if
multiple investigators need to help draft and approve a manuscript. Nevertheless, an
overarching scientific goal is to make knowledge generally available as quickly as possible.
When the time between study completion and publication is influenced by the nature and
direction of results, this can result in time lag bias.



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        Scientifically and ethically, the faster study results are published the faster doctors and
consumers can benefit from the findings, for example by getting a beneficial treatment faster or
by avoiding harm. From a business perspective, faster publication of positive results leads to
increased sales, and lengthier time to publication of negative results delays a potential
decrease in sales. In a systematic review of the literature, Hopewell and her colleagues (2007)
found that overall, trials with “positive results” (statistically significant in favor of the
experimental arm) were published about a year sooner than trials with “null or negative results”
(not statistically significant or statistically significant in favor of the control arm). Regardless of
how time to publication is measured, (eg, time between publication and funding start date
[Misakian and Bero, 1998], research ethics review board approval [Stern and Simes, 1997],
enrollment of the first patient, or completion of the followup [Ioannidis,1998]), studies with
negative findings take longer to be published. There is no evidence that the increased time to
publication for negative results is associated with delay at the editorial level (Dickersin et al.,
2002).

1.2.7   Citation bias

        Citation of a study in a published article renders it more easily identified by the casual
reader, the researcher looking for evidence, the investigator proposing a new study, and by the
systematic reviewer. For example, it is easy to search online databases of cited articles to find
those on a topic similar to an already identified report. Surprisingly, authors do a poor job of
citing prior relevant work, even when it is the “best” work in a field (Fergusson et al., 2006).
This might not be a problem if relevant articles were cited at random, but they are not. Instead,
authors tend to cite positive results over negative or null results, and this has been established
over a broad cross section of topics (Gøtzsche, 1987; Ravnskov, 1992; Ravnskov, 1995;
Kjaergard and Gluud, 2002; Schmidt and Gøtzsche, 2005; Nieminen et al., 2007). Differential
citation may lead to a perception in the community that an intervention is effective when it is
not, and it may lead to over-representation of positive findings in systematic reviews if those left
uncited are difficult to locate.

         Selective pooling of results is a form of citation bias that is particularly insidious in its
potential to influence knowledge. With the advent of systematic reviews and meta-analysis (see
Section 3.6), there has been an increase in pooling of data from similar studies. To minimize
bias, such pooling requires an exhaustive search for all relevant studies and anything less is
subject to possible selection bias. Selective pooling of results that are chosen by the authors
will not reflect the true state of research evidence, rather it is likely to reflect what the authors
want us to know.

1.2.8   Ghost authorship

         The practice of hiring a commercial firm to company to write up the results from a
clinical trial is common in industry trials (Sismondo, 2007). In these cases, the author listed
rarely includes the hired writer, though the Acknowledgments section may list the writer(s) or
writing company by name. The named authors may include investigators who worked to collect
data, industry representatives, and others.


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        The problem with paid medical writers who are unnamed is that they have a potential
conflict of interest, in that they are paid to write the paper by the company hiring them. In this
capacity they may be asked to address company interests in the way that methods and results
are presented. In this way, unnamed or “ghost” authors help to shape science.

         There is extensive evidence that publication is strongly influenced by pharmaceutical
industry funding (Lexchin et al., 2003; Sismondo 2007). It follows that when the writer is working
for the company funding the study, the company has influence on the way in which the study is
communicated to the biomedical community. Gøtzsche and colleagues estimated that 75% of
industry-initiated studies approved by two ethics committees in Denmark had ghost authors
(Gøtzsche et al., 2007). Sismondo provides an example of ghost authorship and its influence
from records emanating from a lawsuit related to sertraline and manuscripts being coordinated
for Pfizer. Between 1998 and 2000, an estimated 18-40% of articles on sertraline were
managed by Pfizer through one company (CMD). CMD’s articles were found to be published in
more prominent journals, be more positive, and cited more often than other articles. This
proportion is sufficiently large to shape the literature and thus opinion about the drug (Healy and
Cattell, 2003). The World Association of Medical Editors has made it clear it considers ghost
authorship to be dishonest,

        “Ghost authorship exists when someone has made substantial contributions to writing a
        manuscript and this role is not mentioned in the manuscript itself. WAME considers
        ghost authorship dishonest and unacceptable (emphasis mine). Ghost authors generally
        work on behalf of companies, or agents acting for those companies, with a commercial
        interest in the topic, and this compounds the problem.”
        (http://www.wame.org/resources/policies accessed August 1, 2008)

1.3     Conclusions on the effects of reporting biases

        Overall, it has been clearly established that positive results are selectively reported,
reported more often as full length articles, published more quickly, more often in duplicate,
more often in English, in easier to access literature, and cited more frequently. Furthermore,
we know that industry funding is associated with biased reporting of studies, tending to report
positive results over other findings. The end result is that the biomedical literature is a biased
representation of what is known from research, and thus our biomedical knowledge as a whole
is inaccurate.

          The term bias is a statistical term and may not convey to most people the seriousness of
the practical implications. The biomedical literature is the basis of evidence-based healthcare.
If the literature is biased, then physicians’ knowledge of a drug’s efficacy, and prescription-
writing based on that knowledge, is likely to be wrong. The end result of reporting biases is that
patients may be harmed, and resources wasted. Moreover, if reporting biases are deliberate,
they represent unethical behavior (World Medical Association, 2004) and scientific misconduct
(Chalmers 1990; Antes and Chalmers, 2003). When reporting biases favor commercial
interests, and industry withholds or manipulates data from trials it has sponsored, ethical issues
are of particular concern.


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2.     Review of Neurontin documents for evidence of reporting and other biases

         Overall, the documents examined by me for the purpose of this report indicate
suppression and manipulation of data, such that the information on the effectiveness of
Neurontin in treating migraine, psychiatric conditions, nociceptive pain, and neuropathic pain
available to the public is inaccurate, incomplete, and potentially harmful to patients. I
recommend that the documents reviewed by me (including sealed documents) and other expert
witnesses in the case be made publicly available for the education of the public, students,
clinicians, payers and other decision-makers, as well as scholarly work that can be used to
guide future understanding of and potential change in how drugs are marketed and used.


       My analysis of events and reporting biases is not intended to be comprehensive, for
example, I may not note all instances of “ghost authorship” identified. Rather, my description is
a representation of the types of deliberate reporting biases and other biases that I noted in
review of the documents made available to me.

        Tables 1-8 for each of the indications (migraine, psychiatric/bipolar disorders,
nociceptive pain, and neuropathic pain) are located in Appendix A. These tables provide
detailed information used to support the statements made in this report, particularly regarding
reporting biases. The tables were developed using the study protocols, internal research
reports, drafts of reports, submissions to journals and publications (including posters, abstracts
and journal articles). In each table, text extracted from available documents is in quotation
marks. My comments are within [square brackets].

Table 1    Table of Citations
              Lists documents summarizing research results of which we are aware for each
              study

Table 2    Summary of Reporting Biases
             Notes key reporting biases observed, comparing published reports to the study
             protocol

Table 3    Comparison of Study Reports by Authors and Funding Source
             Indicates where authorship not properly acknowledged and where new authors
             were added to publications

Table 4    Comparison of Study Reports by Participant Inclusion/Exclusion Criteria
             Notes information about study population, including inclusion criteria, enrollment
             dates, and number of study sites

Table 5    Interventions and Run-in Phase
               Description of intervention, including dosages, use of run-in, design
               characteristics, and length of followup



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Table 6    Risk of Bias
              Summarizes key trial design and operational items acknowledged to increase the
              risk of bias in clinical trials

Table 7    Primary Outcome and Number of Patients Assessed
              Description of primary outcome and type of analysis performed, including
              whether and when patients were excluded from analyses

Table 8    Comparison of Study Reports by Results and conclusions
             Direct comparison of Results section of report and Conclusions and Discussion
             sections

2.1     The “publication strategy” is a key element of Marketing Assessments and the
        marketing strategy for Neurontin

           In its Marketing Assessments, Parke-Davis frequently compared two alternatives for
“Neurontin Development” in terms of costs and sales: a “Publication Strategy” and “Full
Development” for an indication. The “publication strategy” scenario was discussed in terms of a
strategy for increased sales of Neurontin, not in terms of moving medical knowledge forward or
of fulfilling an ethical obligation to patients participating in the trials. The publication scenario
also frequently noted that in comparable cases publication had resulted in increased off-label
use and increased sales.

2.1.1   Migraine

        The covering memo of the Marketing Assessment summarized a “publication strategy”
for migraine, specified to relate to positive findings only:

        “The decision is to conduct only publication study(ies) in the U.S. due to the current
        patent situation in the U.S., limited use of anticonvulsants in the EC, and favorable pre-
        clinical results in analgesia seen with CI-1008.

        The results, if positive, will therefore be publicized in medical congresses and published
        in peer reviewed journals.” (WLC_Franklin_0000081255)

       The Marketing Assessment concluded that ...“an indication strategy cannot be justified
since an NDA filing would occur close to patent expiration” (WLC_FRANKLIN_0000081278).
The recommendation was to pursue a “publication strategy,” “It is recommended that the initial
studies with Neurontin would be trials for only publication”....with presentation of the data to the
American Academy of Neurology during 1Q’98. The full publication in a peer-reviewed journal
would require 12 months after finalization of the study, i.e. 3Q-4Q ‘98. The estimate of market
share and sales was provided in terms of time elapsed since initiating the “two publication trial”
(WLC_FRANKLIN_0000081279).




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2.1.2   Psychiatric (bipolar) disorders

       The Marketing Assessment for psychiatric disorders, and specifically bipolar disorder,
also implies that publication alone would have the effect of increasing sales:

        “- Start an exploratory study in acute mania and highlight the results through peer-
        reviewed publication and key psychiatric congresses. (WLC_Franklin_0000179644)

         - Start two well designed Phase II trials in panic disorders and social phobia and apply
        the same publication strategy and congress activity as mentioned above...The use
        generated by the 3 studies in the US [nb: proposed above] ($0 to $60 million a year
        when patent extension ends) would largely justify investment in the clinical program....”
        (WLC_Franklin_0000179644)

This recommendation further implies that positive results would not be required for
implementation of the publication strategy,

        “In addition, due to the lack of scientific rationale, since Neurontin has a different
        mechanism of action than the mood-stabilizing anti-epileptics, it is recommended to
        implement only an exploratory study in outpatients with bipolar disorders with the results
        highlighted through a peer reviewed publication. Should the results be positive and the
        patent situations change, a full development program would be considered.”
        (WLC_Franklin_0000179645)

       This recommendation to follow a “publication strategy,” as described above, is based on
an analysis in the section of the Marketing Assessment “Neurontin ‘Development’”. As with the
recommendation for migraine, the recommendation for marketing of Neurontin for bipolar
disorder is based on what Parke-Davis views as a successful strategy undertaken by Abbott
(presumably to win FDA approval to market Valproic acid):

        “ This strategy would mirror Abbott’s...when only data from the first pivotal study was
        available. With these results Abbott was able to generate a tremendous interest in the
        psychiatric community and consequently the use indicated earlier.”
        (WLC_Franklin_0000179658)

The Forecast also implies that the publication strategy would be useful in increasing off label
use:

        “The first scenario (publication only) is modeled after valproic acid and carbamazepine
        which both have 17% to 20% of their therapy days derived from off label use in bipolar
        disorder. It is assumed that Neurontin use would approach 4% to 6% of therapy days in
        1999, five years after a positive exploratory trial has been published.
        (WLC_Franklin_0000179659)




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2.1.3   Nociceptive pain

       The Marketing Assessment for nociceptive pain focuses on the potential market and
regulatory approval/patent issues for combination products and does not discuss a publication
strategy per se. (Pfizer_MPierce_0000798)

2.1.4   Neuropathic pain

       The covering memo of the Marketing Assessment summarizes a “publication strategy”
for neuropathic pain, specified to relate to positive findings only:

        “The results of the recommended exploratory trials, if positive, will be publicized in
        medical congresses and published, but there is no intention to fully develop this
        indication at this point....” (WLC_Franklin_0000166608)

        Medical Actions Communications was a company providing strategic marketing and
pharmaceutical branding. A Medical Actions Communications (MAC) Action Report
summarized a variety of publication strategy issues discussed at the Neurontin Publications
Subcommittee (PSC) meeting held on 18 July 2001 (Pfizer_RGlanzman_0044634), including
but not limited to:

•       “Journal and Congress profiling
•       Publications Process Timelines
•       Key Message Development Update”

        The Report makes it clear that “publication strategy” in general is a marketing issue:

        “The PSC members will then be asked to review the list and indicate which journals and
        congresses they feel are the top priorities for full profiling”.
        (Pfizer_RGlanzman_0044635)

        “MAC updated the PSC regarding the development of key messages, indicating that the
        branding guide had been received and that it was anticipated that the draft key message
        list would be circulated to the team by 25-July.” (Pfizer_RGlanzman_0044636)

        Authorship strategy is discussed as follows:

        “The issue of Pfizer authors on Neurontin manuscripts was raised. RG [Robert
        Glanzman] indicated that he was under the impression that it was Pfizer policy that no
        Pfizer author should be included on manuscripts....it was suggested that this may not be
        a global Pfizer policy....The general agreement is that Pfizer employees should not be
        1st or last authors and a ratio of >/=3/1 (outside to Pfizer) in authors should be
        maintained.” (Study 945-306 Pfizer_RGlanzman_0044636)




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2.2     Reporting and other biases observed

        There is ample evidence of reporting bias across the studies and indications I reviewed.
The most common are also arguably the most insidious, publication bias, selective outcome
reporting, and time lag bias.

        Publication was rare when the final study results were “negative”. For the indications I
reviewed, most of the studies had “negative” findings at the end of the study for the primary
outcome (16/21 studies plus substudies). While 4/5 studies with positive findings were
published in full, only 6/16 of the studies with negative results were published and 2/6 of these
were published in a format other than full journal article (ie, they would be difficult to locate as
individual studies). This provides good evidence of publication bias, as well as location bias. A
deliberate delay in publication of negative results (time lag bias) is evident from memos and
emails for a number of studies.

         In nearly every case, published studies focused on analysis of selective populations,
with randomized participants excluded even in the “intention to treat” population. Manipulation
of the numbers included in the analysis (“presentation of selective analyses”) results in a form
of bias that can easily invalidate study findings, since randomization is destroyed and the
design becomes effectively an observational study. The study reports frequently obscured
manipulations of the analysis by using terminology that made it appear as if the exclusions were
legitimate and by using a variety of terms. For example, analyses included the following:
“efficacy analysis”, “intention to treat analysis”, “modified intention [or intent] to treat” analysis,
“safety analysis”, “evaluable patients”, “efficacy evaluable population”, “safety evaluable
population.” Most of these terms do not have a generally agreed definition in the epidemiology,
statistics, and clinical trials community. In contrast, “intention to treat” does have a generally
agreed definition (analysis of all randomized patients as part of the group to which they were
originally assigned–see Section 1.2.2), but this was not applied in the analyses done under this
rubric. For example, the Research Report for Study 879-201 says, “In the intent to treat analysis
all patients were included who had received at least a single dose of study medication”. I
observed one additional highly unusual manipulation of the study population. Study 879-201
included two patients treated in an open label fashion with gabapentin as part of the
randomized trial data.

        By and large, published reports were consistent in accurately stating their a priori choice
of primary outcome, as described in the protocol. However, more focus was frequently placed
on secondary outcomes, especially in the conclusion sections of the abstracts and full length
articles. Focus on statistically significant outcomes, that is, selective presentation of analyses,
regardless of whether the findings were clinically significant or whether the findings were seen
for only a few time points or quality of life domains, is a form of selective outcome reporting or
undue weighting of an outcome. In most cases, even the statistically significant results
obtained would be considered unreliable because of potential bias related to exclusions from
the analysis.

      Published reports from studies of Neurontin frequently placed undue weight on an
outcome. This form of selective outcome reporting bias is particularly insidious in that it takes

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advantage of the fact that most clinicians are untrained in recognizing and understanding most
forms of bias and have little time to devote to reading an article in detail. There are several
opportunities for undue weight on an outcome in a conference abstract or article. In the Results
section, more space can be devoted to outcomes the authors want to emphasize, and
additional confirmatory analyses can be presented at length. In the articles I reviewed, the
primary outcome was frequently presented summarily, with more emphasis placed on positive
secondary outcomes. The Discussion section offers the opportunity to provide a rationale for
negative findings and to emphasize positive findings. In the studies I reviewed, a rationale for
negative results (for example, high response rate in the placebo group) was frequently invoked
and repeated in subsequent articles, in turn providing an explanation for undesirable findings
that could be cited by the medical community.

        The Conclusions section of the abstract and of the article itself is arguably the most
important place in an article to place undue weight on an outcome, because readers may look
at only this section. This opportunity to reframe or “spin” the results was almost always used, at
times diverting meaningfully from the truth.

       When emails were available, I observed evidence of ghost authorship by a company
engaged in medical writing. Only rarely was the writing by an unnamed author even
acknowledged. In the cases observed, the ghost authors were frequently asked to “spin” or
frame the message.

         Citation bias was an important component of the overall strategy used by Pfizer to
promote the desired message of Neurontin efficacy. For example, I observed several examples
of citing only studies with positive results, or of implying the cited studies all had positive
findings when they did not. Perhaps the most egregious example of citation bias is a selective
pooled analysis (meta-analysis) of Neurontin data (Backonja 2003).

       The following sections will highlight specific instances of reporting biases in each of the
studies reviewed, organized by indication.

2.2.1   Migraine

        All three migraine studies (879-201, 945-217, and 945-220) obtained negative results for
the primary outcome examined. One study (879-201) published preliminary results only.
Another study (945-217) was not published. And the third study (945-220) was published in
both abstract and full journal article form.

        Table 1 summarizes my assessment of the reporting and other biases present in the
migraine studies. Multiple reporting biases are present and it appears data have been
manipulated by re-defining the primary outcome. Three studies were conducted but the final
results were only published for one (Mathew). The final results for all three studies were
negative. Nevertheless, positive preliminary results were published for one study, and one study
was published in full, after a long time lag. In this study (945-220), statistically significant
primary results were presented in the article and this was not consistent with the findings in the
research report. It appears this positive result was obtained by redefining the primary outcome

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as it applied only to a select group of patients (those who had received a stable dose of 2400
mg/day). Thus, the number analyzed in the Neurontin group was greatly reduced from the
number randomized.

Table 1. Migraine: Reporting and other biases

 Study        Article(s)     Bias                       Example
 879-200      Wessely        Publication bias           Final negative primary results not
              1987                                      published, only positive preliminary
                                                        results
                             Selective outcome          Outcome reported was not primary or
                             reporting                  secondary outcome
                             Selective statistical      Two nonrandomized patients assigned
                             analyses                   Neurontin were included with
                                                        randomized. Reported numbers
                                                        “investigated,” failed to report number
                                                        randomized
                             Spin                       Emphasis on “positive” outcomes
                                                        other than the primary outcome (ie,
                                                        cumulative distribution of percent
                                                        change)
 945-217      None           Publication bias           Final, “negative”, results not published
 945-220      Mathew         Selective analyses         Reported only analysis with major
              2001                                      patient exclusions. Definition of
                                                        “evaluable patients” in publication
                                                        different from research report, for the
                                                        primary outcome
                             Primary outcome            Primary outcome changed to reduce
                             redefined in publication   number of evaluable patients, result is
                                                        that p-value and findings in research
                                                        report are not the same as publication
                             Multiple publication       The 2 conference abstracts, presented
                                                        at different times, are nearly
                                                        duplicates. Neither cited the other
                                                        abstract
                             Time lag bias              Three years to publication from end of
                                                        study




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 Study        Article(s)     Bias                        Example
                             Citation bias               No mention of other negative results
                                                         (eg, Wessely 1987, 945-217)
                             Spin                        Conclusions do not match actual study
                                                         findings per research report

2.2.2   Psychiatric disorders - bipolar

        Table 2 summarizes my assessment of the reporting and other biases present in the
psychiatric disorders/bipolar studies. Two of the three studies of Neurontin for bipolar disorders
had “negative” results for the primary outcome, and all three were published. The study with
“positive” results used an open label design which is not useful for determining efficacy. The
bipolar publications were marked by extensive spin and misrepresentation of data. One
method of spin was to provide an extensive rationale for negative findings, which would
establish a counter argument that could be more broadly employed in the community.
Misrepresentation of data was most obvious for study 945-291 in which a different outcome
measure (Clinical GlobaI Impression scale for Bipolar Illness, Modified) was reported in the
publication than what was described in the protocol and research report (Clinical Global
Impression of Severity).


Table 2.   Psychiatric disorders - bipolar: Reporting and other biases
 Study       Article(s)      Bias                        Example
 945-209     Pande           Location bias               Published in a journal with circulation
             2000b                                       of 455, in contrast to Study 945-203
                                                         (social phobia article), which was
                                                         published in a journal with circulation
                                                         of 8,000
                                                         (PFIZER_LKNAPP_0026006). Not
                                                         distributed to physicians in same
                                                         manner as social phobia articles
                                                         (WLC_CBU_134928)
                             Time lag bias               Three years to publication from end of
                                                         study
                             Citation bias               Did not cite Guille, published during
                                                         same time period [Guille C,
                                                         Demopulos CM, Shriver AE, Sachs
                                                         GS. American Pain Association. 1999]




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 Study      Article(s)     Bias                      Example
                           Possible                  The values differed for difference from
                           misrepresentation of      baseline scores (YMRS and HAM-D
                           data                      outcomes) between the letter to
                                                     investigators and the journal
                                                     publication
                           Spin                      Extensive rationale for negative
                                                     findings in letter to investigators and
                                                     the journal publication
 945-291    Vieta          Selective outcome         Outcome reported was not primary or
                           reporting                 secondary outcome
                           Selective analysis        Analysis excluded approximately half
                                                     of patients randomized, including for
                                                     reasons such as “lack of efficacy”
                                                     (though article claimed ITT)
                           Misrepresentation of      Research report findings do not agree
                           data                      with publication
                           Spin                      Discussed the lack of statistical
                                                     significance of secondary outcomes
                                                     (patient-rated) to support significance
                                                     found with primary outcome
                                                     (physician-rated) as indication of
                                                     longer-term benefits reflected by the
                                                     primary outcome
                           Design bias               Primary outcome variable based on
                                                     physician report: change at 12 months
                                                     in Clinical Global Impression Scale, a
                                                     physician-rating instrument
                           Design bias               Opportunity for manipulation of
                                                     randomization: the randomization was
                                                     generated by sponsor prior to use of
                                                     SAS software. No attempt to conceal
                                                     allocation was mentioned
 945-250    Wang           Spin                      Despite no group for comparison,
                                                     article states “adjunctive GBP is
                                                     effective”
                           Design bias               Open label trial of Neurontin added to
                                                     current psychotropic regimen


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2.2.3   Nociceptive pain

        Table 3 summarizes my assessment of the reporting and other biases present in the
studies of nociceptive pain. None of the five+ studies of Neurontin combined with other
analgesics for nociceptive pain showed a statistically significant benefit of Neurontin when it
was added to either naproxen or hydrocodone. And none of these studies, all with negative
results, were published. When a statistically significant benefit of a Neurontin combination
regimen was found to be beneficial compared to placebo, it was apparent that the beneficial
effect was due to the naproxen or hydrocodone not the Neurontin. For example, both Neurontin
250/naproxen 250 and Neurontin 125/naproxen 250 were significantly more effective than
placebo in terms of pain relief for dental pain. Nevertheless, Neurontin 250 alone and
Neurontin 125 alone were not more effective than placebo. Firthermore, both Neurontin
250/naproxen 250 and Neurontin 125/naproxen 125 were more effective than Neurontin 250,
indicating that the naproxen (even at a lower dose), not Neurontin, is the effective agent in the
combination regimen.

       Of interest is the fact that 1032-001 NPN 550 had 79 patients and other groups had
about 50 patients. Similar numbers were proposed in the protocol, yet it is not clear how this
was achieved from the description of the randomization. These numbers and the protocol
description suggest that allocation to group may not have been concealed, effectively negating
the goal of randomization, to minimize selection bias.

Table 3. Nociceptive pain: Reporting and other biases

 Study       Article         Bias                       Example


 1032-       None            Publication bias           Neurontin added to naproxen did not
 001                                                    significantly increase pain relief over
 (Post-op                                               naproxen alone
 dental
 pain)
 1032-       None            Publication bias            “…no treatment group
 002                                                    (GBP125/NPN250, GBP125, NPN250,
 (Acute                                                 or NPN550) was significantly different
 osteo-                                                 from placebo on the primary efficacy
 arthritis                                              endpoint, the SPID6... No differences
 pain of                                                between GBP125/NPN250 and
 the knee)                                              NPN550 were detected.”




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 Study        Article      Bias                      Example


 1032-        None         Publication bias          “Because earlier double-blind trials
 003                                                 showed no strong superiority of
 (open                                               GBP125/NPN250 over NPN550, the
 label                                               study was terminated prior to
 exten-                                              completion.”
 sion of                                             “Efficacy data and all other data were
 1032-                                               not summarized.”
 002)
 1032-        None         Publication bias           “At the doses studied, GBP
 004                                                 [gabapentin] in combination with NPN
 (Protec-                                            [naproxen sodium] did not provide a
 tive                                                protective effect from NPN-induced
 effects of                                          mucosal injury as measured by
 Neuron-                                             endoscopy.”
 tin on
 naprox-
 en
 sodium-
 induced
 upper
 gastro-
 intestin-
 al
 mucosal
 injury)
 1035-        None         Publication bias          Overall, the analgesic effect of
 001                                                 [Neurontin and hydrocodone]
 (Post-op                                            treatment was similar to [hydrocodone]
 dental                                              treatment alone.
 pain)                                               Acetaminophen + hydrocodone
                                                     significantly better than all treatment
                                                     groups
 1035-        None         Publication bias          No differences between groups were
 001 Add-                                            statistically significant
 endum-B
 (Post-op
 dental
 pain)




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 Study        Article         Bias                         Example


 1035-        None            Publication bias             “The GBP250/HC10 group did not
 002                                                       significantly outperform the HC10
 (Pain                                                     group on any of the efficacy measures
 follow-                                                   examined.”
 ing major
 orthope-
 dic
 surgery)

2.2.4   Neuropathic pain

        Table 4 summarizes my assessment of the reporting and other biases present in the
studies of neuropathic pain. Four of the nine randomized trials conducted for treatment of
neuropathic pain had negative findings, and seven were published, four with “positive” and
three with “negative” results. As with all the trials I reviewed, selective analyses (ie, no intention
to treat analyses, despite the company’s saying so) could explain any positive findings
observed. So even the studies with positive findings are suspect. Published studies with
negative findings were presented with considerable “spin” and misrepresentation of data.

       In addition, it is likely that a design bias was present in Neurontin trials, at least for
studies in which Neurontin was titrated to high doses. As seen in various documents (see
Section 3.5), there is a high probability that patients and physicians were unblinded by adverse
events in patients, especially those on high doses of Neurontin. Since the primary and other
outcomes in the trials were entirely subjective, unblinding could have led to positive findings
favoring Neurontin. The likelihood of unblinding is covered in Dr. Jewell‘s report.

Table 4. Neuropathic pain: Reporting and other biases

 Study        Article         Bias                         Example
 945-210      Backonja        Selective analyses           Analyses to examine possible
                                                           association of side effects and primary
                                                           outcome, requested by those outside
                                                           and inside company, were not
                                                           produced




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 Study      Article        Bias                      Example
                           Design bias               Investigators aware that CNS side
                                                     effects at high doses could unmask
                                                     patients to active intervention,
                                                     potentially biasing self-reported
                                                     response. (This possibility was
                                                     demonstrated to be highly likely, see
                                                     expert report by Dr. Nicholas P.
                                                     Jewell)
 945-224    Reckless       Publication bias          Final primary results not published in
                                                     full article
                           Selective outcome         Secondary outcomes reported (in
                           reporting                 selective meta-analysis) with greater
                                                     emphasis and conclusions based on
                                                     secondary outcomes
                           Selective analysis        Study’s findings used in selective
                                                     meta-analyses by another author
                                                     (Backonja 2003) to show overall
                                                     effectiveness
                           Time lag bias             Internal memos indicate company
                                                     delayed publication
                           Ghost authorship          Both drafts written by unacknowledged
                                                     commercial source to include “key
                                                     messages”
 945-271    POPP           Publication bias          Negative results never published in full
                           Spin                      Discussion and conclusions focused
                                                     on positive outcomes despite negative
                                                     findings for primary outcome
 945-276    Caraceni       Misrepresentation of      Inaccurate reporting of dates of
                           facts                     enrollment (start/end) In Research
                                                     report: May 1999/June 2002; In
                                                     Caraceni 2004: August 1999/May
                                                     2002
                           Misrepresentation of      No description of allocation
                           facts                     concealment in Research Report, yet
                                                     described in publication




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 Study      Article        Bias                      Example
                           Misrepresentation of      Patients included in ITT analysis
                           facts                     defined differently in Research Report
                                                     and publication
 945-306    Serpell        Selective analysis        Use of transformation to obtain
                                                     statistical significance; outcomes
                                                     significant only for selected time
                                                     points, not at time point specified in
                                                     protocol; effectiveness in post-herpetic
                                                     neuropathy population influences
                                                     overall result.
                           Selective analysis        Analyzed populations were different
                                                     from those presented in protocol
                           Citation bias             Citation of only positive findings in a
                                                     conference poster
                           Ghost authorship          Full length article written by hired
                                                     medical writers (Synergy)
                           Spin                      Negative findings reported to sound
                                                     positive
                           Design bias               Excluded patients who were “non-
                                                     responders” to gabapentin in the past
                                                     resulting in a selective study
                                                     population
 945-411    Gomez-         Citation bias             Cited Gorson and Serpell as positive
            Perez                                    findings
                           Ghost authorship          Companies thanked in
                                                     acknowledgments but not named
                                                     authors
                           Design bias               Compared “effective” dose (Backonja)
                                                     to “ineffective” dose (Gorson)
                           Design bias               Open label




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 Study      Article        Bias                      Example
                           Design bias               Investigators aware that central
                                                     nervous system (CNS) side effects at
                                                     high doses could unmask patients to
                                                     active intervention, potentially biasing
                                                     self-reported response. (This
                                                     possibility was demonstrated to be
                                                     highly likely, see expert report by Dr.
                                                     Nicholas P. Jewell)
 A945-      No             Publication bias          Statistically significant but not clinically
 1008       publication                              significant results (difference in pain
                                                     score = -0.765)
 Number     Dallocchio     Citation bias             Did not cite Morello, a randomized trial
 unavail-                                            published one year before and
 able                                                showing no evidence of benefit
                           Design bias               Open label, designed to counter
                                                     Morello (Pfizer_RGlanzman_0040034)
 Number     Gorson         Location bias             Final (negative) results were published
 unavail-                                            as Letter to the Editor and conference
 able                                                abstract/poster
                           Time lag bias             Internal memos indicate company
                                                     delayed publication
                           Spin                      Conclusions modified between draft
                                                     sent to Magistro
                                                     (WLC_Franklin_0000100279) and
                                                     draft circulated internally by Magistro
                                                     (WLC_Franklin_0000088375). Also,
                                                     comments on why the study found
                                                     negative results are different between
                                                     the two drafts. In addition, conclusions
                                                     differ between conference abstract,
                                                     Gorson 1998 and letter to editor sent
                                                     by Gorson 1999




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3.      Case studies of suppression and “spinning” of study results

        The following case studies provide a narrative description and sequence of events
related to reporting biases associated with five specific Pfizer-sponsored studies. I have used
internal emails and memos available to me as a source of information, in addition to documents
such as the protocol, research reports, and the Marketing Assessment, as needed. Exact
quotations are provided with the source document referenced in parentheses. Taken both
individually and together, these cases reflect clear intent to suppress information, deceive the
medical community, and manipulate messages regarding the results of biomedical research.
This represents a distortion of knowledge that is inexcusable and unethical.

3.1     Study 945-224 (Reckless)

         Study 945-224 is an example of suppression of negative results (publication bias),
multiple forms of selective outcome reporting, spin, time lag bias, ghost authorship, and a form
of citation bias.

        Study 945-224 was a multicenter, placebo controlled trial, conducted at 59 sites in the
UK, France, Germany, Italy, Spain, and 2 in South Africa, comparing three doses of Neurontin®
for treatment of neuropathic pain. Statements in the informed consent document that those
enrolling would benefit others by their participation were carefully made:

        “Information gained in this study may eventually benefit other persons with painful
        diabetic neuropathy.” (RR 720-04130 p.259)

The studied period was May 1998 to September 1999. No statistically significant differences
were observed between any of the three Neurontin dosage groups and the placebo group for
the primary endpoint (mean pain score). Several secondary outcomes were statistically
significant, depending on the dosage group. After study completion, the company sent
investigators a 3-page “Summary of Results from Study 945-224 (International Diabetic
Neuropathy Dose-finding Study),” dated 8 March 2000. (Pfizer_LeslieTive_0020979)

        On 18 April 2000, Dr. Reckless, a UK investigator in the 945-224 study, complained to
the Clinical Trials Monitor for Parke-Davis about failure to publish the study. Parke-Davis staff
communicated with one another about his concern and planned for next steps in a series of
emails. These emails indicate a plan to delay and even suppress publication. For example,

•       “I don’t think we should be too hasty with this request,” and
•       “I agree with your answer. Although I would love to publish SOMETHING about 945-
        224, Donna McVey made it very clear that we should take care not to publish anything
        that damages neurontin’s marketing success.” and
•       “It probably needs someone locally to go back to him and explain why at this time point
        we will not be publishing the data. Also, it would be the ideal opportunity to present him
        with our UK study results, confidentially as someone valued in the diabetes area? ...I
        agree that until we have our action plan we don’t phone him to tell him that.”
        (Pfizer_TMF_CRF_015316)

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A Parke-Davis representative met with Dr. Reckless June 19, 2000, where Dr. Reckless
presented his views on the reasons the study results should be published. These included his
own explanations for the nonsignificant findings, high satisfaction with Neurontin among
clinicians, the fact that the clinical community was expecting results, and ethical arguments
favoring publication.

       “He was pleasant enough throughout the meeting, although I didn’t miss the veiled
       threats in his words – if we don’t publish, they will (an option that doesn’t reflect well on
       the investigators or ourselves). I feel he had some very valid points and that any
       publication would take time to make it into the public domain (ie, it would be too late to
       affect the launch period). It would be a publication that the MLE’s could handle and train
       the reps on but clearly it would need to be carefully written.” (Pfizer_TMF_CRF_015320)

       A response from Beate Roder (Senior Clinical Scientist [Germany], Pfizer GmbH) said,

       “I am glad that Dr. Reckless has a positive view of the study results and that he agrees
       with our line of reasoning as to explanation of the negative outcome.
       If there is no threat to the marketing of gabapentin or maybe even some benefit (to
       correct misperceptions about the negative outcome), it might be worth pursuing a
       publication in my mind.” (Pfizer_TMF_CRF_015319)

        A response from Sean Buckland (Senior Regional Medical & Research Specialist [UK],
Pfizer Ltd) noted,

       “..We would need to have ‘editorial’ control, but would certainly involve Dr. Reckless in
       the process, asking for his expert comment.” Pfizer_TMF_CRF_015314).

        This suggestion was met with a rebuff, reminding Parke-Davis staff that “PD has
ownership of the data.” Internal communications make it apparent that decision-making on
publication was in the hands of marketing, not those doing the clinical research. “Dave is finding
out through International marketing their intentions on publication and money to do this....”
(Pfizer_TMF_CRF_015314)

       By August 2000, after Pfizer had acquired Parke-Davis, a decision had been made to
publish 945-224, with a UK company, Synergy, writing the manuscript, and Dr. Reckless
serving as lead author. From Michael Rowbotham on September 11, 2000:

       “Overall the study was not positive in terms of efficacy but there were some positive
       aspects of the secondary measures”. (Pfizer_LCastro_0002679)

Publication would be allowed to proceed under the following conditions:

       •   “What is critical is that -224 is NOT submitted to any publication until we know
           WHEN the 2 UK studies are going to be published.”



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       •   “This will allow us to ensure that 224 is not published before the UK studies.” “We
           must delay publication of -224, as its results were not positive”
           (Pfizer_LCastro_002680)

       •   “I think that we can limit the potential downsides of the 224 study by delaying the
           publication for as long as possible and also from where it is published. More
           importantly it will be more important to how WE write up the study. We are using a
           medical agency to put the paper together which we will show to Dr. Reckless. We
           are not allowing him to write it up himself.” (Pfizer_LeslieTive_0020985)

        The company sent another letter to investigators describing 945-224 findings dated 14
November 2000. This investigator letter differed from the letter sent 8 March 2000 , in that the
results were interpreted more positively. Certain messages were written in bold; a reader
focusing on the messages in bold could easily miss the message that the results were negative
for the primary outcome variable, instead linking the word “primary” with statistically significant
findings related to other measures.

       “...unfortunately none of the gabapentin treatment groups showed statistically significant
       efficacy for the treatment of painful diabetic neuropathy, if judged by the primary
       outcome parameter....Therefore, the minimal effective dose of gabapentin could not be
       defined in this study.

       However, the 1200 mg/day gabapentin group showed statistically significant
       results compared to placebo for the responder rate..., the weekly mean sleep
       interference score, the Clinical Global Impression of Change (CGIC), and 5
       domains of the SF-36, indicating an improvement in quality of life.....Furthermore, there
       were several patients who became totally pain-free, but there was no totally pain-free
       patient in the placebo group. In addition to that, an exploratory analysis showed a
       significant difference between the 1200 mg/day gabapentin and placebo group when
       pain scores, sleep interference scores, and the 8 items of the SF-36 from end of the
       double-blind treatment phase were combined to a global test statistic.
       (Pfizer_LeslieTive_0020982)

       By November 13, 2000, a revised draft manuscript had been sent from Synergy to Pfizer
and further revisions were requested by Pfizer:

       “please find attached some minor changes we would like to make to the revised
       draft....These changes mainly concern wording in the statistical section...I will then
       forward a copy of the draft publication to Dr. Reckless for review (in close co-operation
       with Dr. Uzman Azam).” (Pfizer_LeslieTive_0020922)

Key suggested changes in the revised Abstract were likely to change the reader’s interpretation
of at least one outcome:




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       “further improvements were seen in the four-month open-label phase in terms of mean
       pain scores, mean sleep interference scores, and two most of the SF-36 domains.”
       (Pfizer_LeslieTive_0020927)

In addition, inappropriate emphasis was added:

       “Conclusion: The evidence from secondary endpoints indicates that patients receiving
       gabapentin 1200 mg experience an overall benefit from treatment despite the lack of a
       signficant effect on pain scores.” (Pfizer_LeslieTive_0020927)

       Despite these changes, Pfizer was still not anxious to publish. Angela Crespo (Senior
Marketing Manager [Major Markets], Pfizer Worldwide Marketing, Pfizer Pharmaceuticals Group
[PPG]), sent the revised manuscript draft to Leslie Tive (Neurontin Medical Team Worldwide
Leader, Pfizer Medical and Regulatory Operations, PPG) with a comment:

       “This is the negative study we were talking about....As you can imagine, I am not in a
       hurry to publish it.” (Pfizer_LeslieTive_0020922).

        The final version of the manuscript, ready for submission to Diabetic Medicine, was sent
to Leslie Tive and others on 12 January 2001. She circulated a comment that her “instinct
would be to continue to wait” [on the manuscript submission], until after acceptance of the UK
studies (225 and 226), currently undergoing a second rewrite following a rejection by the BMJ.
(Pfizer_LKnapp_0053962)

       Delay was further recommended in a Medical Actions Communications (MAC) Action
Report, dated 18 July 2001 (Pfizer_RGlanzman_0044634):

       “The team agrees that this study should not be pushed for publication.”

        The manuscript was submitted to Diabetic Medicine 14 February 2002
(Pfizer_LeslieTive_0020885) and a successful upload confirmation was sent on 11 March 2002.
(Pfizer_LeslieTive_0020884). The covering letter sent with the submission emphasized, to an
extent which I find dishonest, the study’s positive results:

       “The study reported in this manuscript examined the efficacy, dose response
       characteristics, and tolerability of gabapentin for the symptomatic relief of painful
       diabetic neuropathy. The results obtained reveal that gabapentin has significant
       beneficial effects on responder rate, weekly mean sleep interference score, Clinical
       Global Impression of Change, and several domains of quality of life. These results are
       consistent with those seen in previous trials and further establish gabapentin as a useful
       and well-tolerated treatment option for painful diabetic neuropathy.”
       (Pfizer_LeslieTive_0020885)

        In an email dated 13 May 2002, Diabetic Medicine rejected the 945-224 manuscript, with
an invitation to resubmit after responding to reviewer comments. Reviewers comments
included concerns about company bias and inappropriate statistics:

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       “As stated by the statistical advisors, the quality of the statistics appears to be poor, and
       hence the conclusions are not justified....The authors are advised to perform an
       appropriate statistical analysis which should allow them to draw a less biased
       interpretation...” (Pfizer_Leslie_Tive0020881)

       “First, I believe the stat section should use the Bonferroni correction....With this redo of
       the data, it is probable that NO statistical measures were positive. Thus, this trial would
       be considered a failure and the paper rewritten accordingly....Third, there are many
       areas of company bias that need elimination.” (Pfizer_LeslieTive_0020882)

       The statistical reviewer also raised the concern that some groups appeared to have
been combined (ie, the 1200 and 2400 mg/d groups for sleep interference score) and ‘very
much’ and ‘much improved’ in Figure 3. Combining data for two categories would be one way
of manipulating data to obtain desired results and should not be done unless the collapsing of
categories were proposed a priori for a specific reason, or was done consistently across all
analyses, or was done for exploratory purposes. It would not be done inconsistently, for
example for a single outcome or analysis. (Pfizer_LeslieTive_0020883)

        The peer reviewers were also concerned about inconsistencies across the study data
and in comparison with the US study (945-210), where the mean effective dose was found to be
1800 mg. They were concerned that only the middle dose (1200 mg) appeared to have a
beneficial effect, and yet was associated with the fewest adverse effects and the lowest dropout
rate. For example, why was the lowest dose (600 mg) associated with the worst of all outcomes
including adverse events, even worse than placebo? A reviewer raised the issue that
investigators or patients may possibly have been unblinded to a treatment being taken by a
given patient if that patient experienced one or more adverse events, and this may have
influenced their assessment of study outcomes, all of which were subjective. (Note that this
issue was also raised for Study 945-210, and would have been a consideration for all studies of
Neurontin, particularly those in which high dosages were administered).
(Pfizer_LeslieTive_0020882)

        On 21 October 2002, Pfizer submitted the manuscript to Diabetologia, a second journal.
The cover letter was essentially identical to that sent to Diabetes Medicine, including the
inappropriate and perhaps dishonest summary of findings noted earlier.
(Pfizer_LeslieTive_0020844). In addition, neither the Diabetologia or Diabetes Medicine
manuscripts, nor the cover letters acknolwedged the ghost authorship by Synergy (the
company providing the manuscript preparation). The manuscript was rejected 14 November
2002. Reviewer comments included:

•      “I am concerned as to whether these patients really did have painful neuropathy”
•      “Why did the authors elect to do a 7-week study which seems rather short?”
•      “There is no apparent dose-response curve”
•      “No change in VAS or PPI normally gold standard measures of therapeutic efficacy in
       clinical trials of pain”
•      “Is there a benefit in sleep scores, is this as a consequence of the side effect
       somnolence?”

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•      “Why did only 67 patients continue in the open-label study? If the drug is truly effective
       would you not expect more patients to have gone to open label.”
       (Pfizer_LeslieTive_0020843)

        Email correspondence (13 December 2002) between Pfizer Marketing and the company
providing the manuscript preparation indicates that the article remained a low priority at Pfizer:

       “By the way, Christine, from a MKT point of view we are not interested at all in having
       this paper published because it is negative!! So don’t put this as a high priority on your
       list....” (FAL_007964)

       Elizabeth Mutisya (Neurontin Medical Director [Major Markets], Pfizer Medical and
Regulatory Operations, PPG), informed Beate Roder that it would not be possible to work with
the medical writers any more on revising and submitting an article (February 3, 2003) and Dr.
Reckless was asked soon thereafter for a decision on whether or not he would like to pursue
publication any further.

       “...given our limited budget for Neurontin this year, and the number of projects Fallon
       Medica is currently handling for us, the agency will not be able to take the lead in
       revising the manuscript again. Dr. Reckless will have to take the lead this time.”
       (Pfizer_LeslieTive_0020838)

        Emails within Pfizer indicated that Dr. Reckless would need to take the lead on
revisions. He requested copies of all previous submissions, statistical analyses, and references.
The previous submissions and references (only) were sent 11 February 2003.
(Pfizer_LeslieTive_0020837)

        Ultimately, results from the trial were not published as a stand alone paper, but were
incorporated into a selective pooling of data from three Pfizer studies of painful diabetic
neuropathy; the paper was submitted 14 October 2002 and published in 2003 with a Pfizer-
associated investigator and Pfizer co-author (Backonja M and Glanzman R. Clinical
Therapeutics 2003; 25:81-103). The article emphasized the positive findings of study 945-224
and provides a possible explanation for the negative findings. The data from three studies of
painful diabetic neuropathy (Pfizer studies 945-210, 945-224, 945-306) were pooled and
showed an overall statistically significant benefit on “the efficacy of gabapentin in diabetic
neuropathy” compared to placebo for doses $1800 mg (see Table 5 of article). The article
refers regularly to the “efficacy” of gabapentin, and the “most efficacious dose” even though
these were not primary outcomes nor were they clearly defined. The text notes that “patients
treated with gabapentin did statistically better (lower mean pain scores at end point; P< 0.001)
than patients who received placebo....” (Pfizer_LeslieTive_0038526). This article does not
follow standard methods for performing a systematic review (Egger et al 2001), and its
methodology is unclear. Although it is written authoritatively, it would not be considered to be a
reliable source of high quality research evidence.




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3.2     Study 945-271 (POPP)

        Study 945-271 is an example of suppression of negative results (publication bias), time
lag bias, and “spin”.

        Study 945-271 (POPP) was a multicenter crossover trial conducted between November
1998 and November 2001 at 9 centers in Sweden, Denmark, Finland, and Norway. The study
aimed to evaluate the efficacy and safety of gabapentin compared with placebo for
symptomatic relief of neuropathic pain due to peripheral nerve injury. The primary efficacy
outcome was daily pain intensity (a 0-100 score, where 0 is no pain) recorded on awakening
and evening. Secondary outcomes were sleep interference (how much did pain interfere with
sleep, recorded using a visual analogue scale of 0 to 100), the SF-36, pain relief (measured by
two questions), clinical global impression of change (CGIC), and patient global impression of
change (PGIC), and safety outcomes. The Final Report notes one “publication” emanating from
the research, a poster presentation we were unable to locate (Gabapentin in chronic peripheral
post-operative and post-traumatic neuropathic pain. T Gordh et al. Poster presentation at IASP,
August 2002, Abstract p 406-407).

         Gabapentin did not reduce mean pain intensity score compared to placebo, but a
statistically significant benefit was found for some secondary outcome variables. The Final
Report (dated 2003-03-07), section titled Efficacy Results, states:

        “Thus, no difference between the treatments could be seen, p=0.16"
        (Pfizer_LCastro_0043359)

        Yet the Discussion and Overall Conclusions of the Final Report states:

        This study indicates that gabapentin treatment may be of benefit for patients with
        neuropathic pain. Although the primary efficacy variable did not reveal any difference in
        pain reducing effect of gabapentin as compared with placebo, a variety of secondary
        outcomes did so....In conclusion, this study indicates that gabapentin may be of benefit
        for patients with neuropathic pain.” (Pfizer_LCastro_0043329)

         Study 945-271 included a substudy (ie, it was part of the larger POPP study) conducted
at 4 of the 9 sites, with a purpose of examining the effects of gabapentin on hyperalgesia and
allodynia, on pain evoked by cold, touch and pinprick in patients with neuropathic pain due to
peripheral nerve injury. According to the Final Report, no publication emanated from this study
either. No benefit of gabapentin was observed for any of the tested variables. The Final
Research Report for the substudy (dated 2003-09-18) concludes:

        “In conclusion, the results from this sub-study could not reveal any difference between
        placebo and gabapentin, a finding that may be misleading due to the low number of
        patients studied and the complexity of the study....” (Pfizer_LCastro_0027137)

       Email correspondence in September 2001 indicates that Pfizer aimed to manage
publication decisions (ie, establish explanations for negative results, possibly combine data

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from the main study and substudy, and delay publication) in view of the negative results for both
the main study and the substudy. The following suggestions were made:

•      Propose possible explanations for lack of observed efficacy, and possible post-hoc
       analyses to look for differences between groups

•      Wait for substudy to be completed and include those data “if we want to avoid the
       appearance of ‘handpicking’ which data we present....The delay created by completion
       of the substudy would allow us to optimise timing between the release of the two
       studies. At the next Publications Subcommittee Meeting, we need to discuss how we
       would like the results to be disseminated. The investigators are open to our
       suggestions. My initial thoughts...IASP might be a good venue for an abstract. We can
       see if they are still interested in a journal submission after that.”
       (Pfizer_LeslieTive_0076418)

•      “...Of course these kind of things can always be a delicate issue, but I am sure that
       everyone can appreciate our desire to “take our time” to review it carefully.”

•      “I assume that we would like to maximize the time interval between the Reckless paper
       and the POPP study” (Pfizer_JMarino_0000809)

        And, an email from Kirk Taylor (Lyrica Medical Team Leader, Pfizer Medical and
Regulatory Operations, PPG) to the Pfizer group noted that comments made by the Nordic
investigators indicated current perceptions that were of concern.. For example, he noted,

       “...the negative halo about Neurontin’s efficicay and the negative POPP study....This
       perception must be corrected in terms of DPN and PHN. Journal clubs with OL’s
       [opinion leaders] and internal people may help.” (Pfizer_LeslieTive_0076417)

He also noted concerns about possible adverse events (visual field loss) in the eye and that:

       “a perception was borne as to the frequency of such event”.
       (Pfizer_LeslieTive_0076417)

       Elizabeth Mutisya also noted that the Nordic investigators believe that “we had a
minimally effective drug” and that some were concerned about the possibility of visual
problems, “the conclusion being that we had a slightly effective drug with significant risks”. She
concludes by noting the opportunity to obtain the desired study results (design bias) as well as
suppression of negative results:

       “The choices are to do nothing (and hope that our competitors don’t notice the negative
       -224 study and this study) or to proactively design a study based on our experiences
       that may provide better results. Both negative studies will likely be in the public domain
       in 2002.” (Pfizer_RGlanzman_0040034)




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      It appeared from all the documentation that I reviewed that Pfizer was successful in
suppressing full publication of final results of Study 945-271.

3.3     Study 945-306 (Serpell)

        Study 945-306 represents a particularly interesting example of selective outcome
reporting, citation bias, and ghost authorship. In this case, Pfizer also learns the identity of a
peer reviewer for a submitted manuscript and establishes a relationship intended to be useful in
the future.

        Study 945-306 was a randomized clinical trial conducted at 32 centers in the UK and
two in Ireland,1999-2000, evaluating the efficacy and safety of gabapentin up to a maximum
dose of 2400 mg/day compared to placebo in relieving symptoms of neuropathic pain, for a
wide range of neuropathic pain syndromes. The primary efficacy measure was weekly mean
overall pain scores from the daily pain diary (11 point Likert scale), secondary outcomes were
weekly mean pain scores for four pain symptoms from the daily pain diaries, Short Form- McGill
Pain Questionnaire, Clinical and Patient Global Impression of Change and the SF-36. The
results showed statistically significant differences between gabapentin and placebo for the
primary outcome weekly pain score, but only for weeks 1, and 3-6, not in weeks 7 and 8, the
final weeks of the study. None of the individual pain symptoms showed a significant difference
at the end of treatment, but there was a treatment effect seen for some of other variables at the
end of treatment.

        Furthermore, examination of these and other data at a meeting of consultants
September 6, 2001 at the Crowne Plaza in Ann Arbor, Michigan, hosted by Pfizer to discuss
securing [from the FDA] the broad neuropathic pain indication, indicates that the consultants
believed that the statistical significance in Study 945-306 could be explained by effectiveness
for post-herpetic neuropathy (PHN), and that there was no supporting evidence for a broad
neuropathy pain claim. (Pfizer_LKNAPP_0050385)

        “...the evidence is not convincing to support a broad neuropathic pain claim. Opinion on
        the Neurontin neuropathic pain package is that neither the FDA nor the Advisory
        Committee is likely to agree that adequate evidence is provided for a broad indication.
        New analyses/data not only do not support a broad claim, they provide evidence to the
        contrary to a broad indication.”

        “...Statistical significance in 945-306 is predominantly the result of the PHN patients (in
        addition to a small number of DPN patients) in the study. (Pfizer_LKNAPP_0050386)

       The first attempt at publication was submission to the BMJ, but the manuscript was
rejected.

       An internal document (Pfizer_LeslieTive_0020632) states that rejected BMJ papers
cannot be resubmitted, and that the referee identity is known (Henry McQuay from Oxford Pain
Research Group) since it is an open peer review system. The referee was concerned about:



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•      “Exclusion criteria: The referee was grieved by the fact that patients who had previously
       had little or no response to gabapentin were excluded from the trial. He felt this to be a
       source of bias.
•      Analysis of the gabapentin group as a whole rather than the three separate dose
       groups.
•      ‘Badging’ of the trial. The referee felt that named authors are from the sponsoring
       company and that this put an overtly company favourable spin on the paper.”
       (Pfizer_LeslieTive_0020631)

       The proposed strategy was to:

•      Revise and resubmit to Pain.
•      “Contact Henry McQuay - We have very good relationships with this individual and we
       can reassure him that most of his comments will be incorporated. This action is
       important as it is highly likely that he will review these papers in his capacity as the world
       authority on pain and clinical trial methodology.” (Pfizer_LeslieTive_0020632)

       The second publication attempt, a submission to Pain (submitted 10 April 2001, revised
and resubmitted 28 June 2002) was successful and an article was published later that year
(Serpell MG, Neuropathic Pain Study Group. Pain 2002;99:557-566. The results were carefully
described and conclusions were presented as positive in the Abstract:

       “Over the 8 week study this score decreased (ie, improved) by 1.5 (21%) in gabapentin
       treated patients and by 1 (14%) in placebo treated patients (P=0.048, rank-based
       analysis of covariance). Significant differences were shown in favour of gabapentin
       (P<.05) for the Clinician and Patient Global Impression of Change, and some domains
       of the Short Form-McGill Pain Questionnaire....This study shows that gabapentin
       reduces pain and improves some quality-of-life measures in patients with a wide range
       of neuropathic pain syndromes.“

The article’s text also presented a positively presented conclusion, obscuring the negative
findings.

        As noted in Section 1 of this report, research has shown that conclusions frequently do
not match study results in journal articles (Barnes and Bero 1998) and this mismatch is
disproportionately found in industry-sponsored studies (Yank 2007; Gøtzsche 2006; Als-Nielsen
et al 2003). There is evidence from internal Pfizer memos that there was a deliberate action on
Pfizer’s part to spin the results of Study 945-306.

        A letter to the editor of Pain (dated 22 November 2002) indicated that at least one
reader believed that the conclusion of reduction in cardinal symptoms of neuropathic pain was
not valid, in part because it did not correspond to the data observed (FAL_007867 ,
FAL_007868, FAL_007869 and FAL_007986).

        Communication between Medical Action Communications and Pfizer Marketing
indicated they recognized that the findings did not support the efficacy of gabapentin, and

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worked to find language for two poster presentations that included data from study 945-306
(Backonja 16792.pdf, Serpell 16889.pdf) that would “spin” the findings positively (note subject
line on emails):

“To: Crespo, Angela (Pfizer)
From: David Cooper (MAC)
Subject: spinning Serpell

20 September 2002 16:53

       “I am certainly familiar with the Serpell study in detail. We have discussed the merits of
       publishing, republishing, and creating promotional campaigns around these results in
       the past.

       We know Alison wants to make sure that we align publication messages with your global
       marketing efforts.

       Our concern, not having seen any of Penny’s PR spin on the results as part of your
       promotional campaign on this manuscript, is that we make sure that we don’t make up
       different ways of explaining away the results to different audiences. It is our
       understanding that you publicized the study as supporting the use of gabapentin for
       these difficult mixed NeP patients.” (MAC_0003664)

To: David Cooper@ Qunitiles.com
From: Crespo, Angela, Senior Marketing Manager, Neurontin
Subject: Spinning Serpell
09/20/2002 11:04 am

       “The problem we are facing with the poster is that is (sic) comparing 5 studies and there
       is when you can see differences with the Mix paper and the rest...Obviously we are not
       analyzing this at the PR stuff....Did you understand what was really my issue? Try to
       compare all dosing and QoL graphs between them. The Serpell is the worst. We knew
       that but we should try to balance that negative effect at least with a short sentence.”
       (MAC_0003665)

To: Crespo, Angela
From: David Cooper
Subject: spinning Serpell
09/20/2002 12:37 pm

       “If Pfizer wants to use, present, and publish this comparative data analysis in which 2 of
       5 studies compared make the overall picture look bad, how do we make it sound better
       than it looks on the graphs.”

       “There just isn’t a lot of room in a poster to make that case, but I’ll add in the following to
       the discussion of the mean pain score results after the comment on DPN II.

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            ‘While gabapentin was significantly more efficacious than placebo in the
            mixed neuropathic pain study, the smaller response seen in both gabapentin
            and placebo groups in the study is likely due to intractable and chronic nature
            of the pain in the population’.”

        Allison has asked us to present our ideas going forward for the 2003 plan, and we look
        forward to presenting an alternative to continued republication of study data at that
        meeting” (MAC_0003664)

        In my opinion, the poster describing Study 945-306 and ultimately presented at the 2002
ICMTNP meeting (Serpell 16889.pdf) exhibits multiple forms of reporting bias. The Results
section lists 13 bulleted points, with the data not presented until bullet number 6. Prominent
graphs display visual differences between treatment groups, which are only statistically
significant at selected time periods. The prominent boxed conclusions (below) imply that
gabapentin is effective in treating neuropathic pain, though the focus is not on the primary
outcome, and neither comparisons with placebo, nor statistical significance, nor time point of
measurement are provided. In addition, outcomes are blurred in ways that imply a stronger
result (eg, self-reported quality of life was statistically significantly better for gabapentin for only
3/8 of the quality of life domains):

Boxed conclusions:

•       “Gabapentin, at doses up to 2400 mg/day, reduced pain in difficult to treat patients with
        a variety of resistant neuropathic pain syndromes, such as complex regional pain
        syndrome (28%), postherpetic neuralgia (14%), other post-surgical pain (9%),
        radiculopathy (9%), and postlaminectomy pain (7%). The majority of these patients
        (97%) had pain that was refractory to other treatments.

•       Both patients and clinicians rated significantly more patients in the gabapentin group as
        “very much” or “much improved” compared to patients in the placebo group.

•       Patients in the gabapentin group experienced significantly greater improvements in
        outcome measures reflecting quality of life.

•       Except for dizziness and somnolence, adverse events were comparable in the treatment
        and placebo groups. Dizziness and somnolence, when they occurred, were generally
        mild to moderate and transient”. (16889.pdf)

        The poster describing Study 945-306 also exhibits “citation bias,” citing four articles, one
related to classification of chronic pain and the other three studies supporting the effectiveness
of gabapentin (Backonja,1998; Rowbotham 1998; Rice 2001 ). Pfizer studies with negative
findings are not cited.




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3.4     “Gorson” (study number not available)

        A placebo controlled, double blind crossover trial of Neurontin vs placebo was
conducted by Dr. Kenneth Gorson at St. Elizabeth’s Hospital in Boston, Massachusetts
(WLC_Franklin_0000100237). Confirmation of the investigator-company agreement, including a
final payment for manuscript completion, is dated August 1, 1995. The agreement says,

        “You may publish the results of the study, provided you give Warner a copy of any
        proposed publication at least 45 days before submitting it for publication and that you
        allow Warner to review and comment on the contents of such publication.”
        (WLC_Franklin_0000100237)

       Submission of the trial protocol to the St. Elizabeth’s institutional review board was
signed by Dr. Gorson on January 15, 1996, and Phil Magistro from Parke-Davis on February
12, 1996. (WLC_Franklin_0000100239)

       Dr. Gorson submitted a draft manuscript by fax to Phil Magistro at Parke-Davis on
August 25, 1997, and asked him for quick turnaround and suggestions “in the text or margins”
(WLC_Franklin_0000100279). Dr. Gorson indicated that he wanted to submit to the journal
Neurology.

        Using various documents available to me, including the sample size estimate, I judged
the planned primary outcome to be mean visual analogue scale (VAS) score. The draft
manuscript reports (in the Abstract), “There was modest improvement in the MPQ score only,
with a mean reduction of 8.9 points compared to 2.2 points with placebo (p=0.03)...Gabapentin,
at a dose of 900 mg/day, is probably no more effective than placebo in the treatment of painful
diabetic neuropathy”. And from the Results, “no differences between the [gabapentin and
placebo] mean change in the composite VAS or PPI scores.” Further, the manuscript states,
“The results of this study suggest that gabapentin is probably ineffective or is only minimally
effective for the treatment of painful diabetic neuropathy at a dosage of 900 mg/day.” Dr.
Gorson concludes that there is a need for further study of gabapentin at higher doses (up to
3600 mg/day). Margin notes, presumably made by individuals at Parke-Davis in response to Dr.
Gorson’s request, note questions or areas where changes to the manuscript might be made.

        I did not receive documentation of any correspondence occurring between the initial
manuscript and a revised manuscript, circulated by Phil Magistro to Parke-Davis colleagues on
January 7, 1998 (WLC_Franklin_0000088375). Mr. Magistro says in his covering memo, “...a
significant difference vs placebo was noted only on the McGill Pain Questionnaire.”

        The revised, circulated, manuscript presents a much changed “spin” of the study
findings. The Results section in the Abstract begins by noting changes between baseline and
follow-up for each treatment group separately (ie, this was a within treatment (before & after
treatment) group comparison and not a comparison of gabapentin and placebo), “There was a
substantial reduction in the mean MPQ (P<0.005), VAS (p=0.001), and PPI (p=0.008) scores in
patients treated with gabapentin, but there was also significant improvement in the mean VAS
score (p<0.005) in patients treated with placebo.” The Abstract next reports only the statistically

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significant MPQ outcome for the comparison of gabapentin and placebo. The Abstract
concludes, “Gabapentin may be effective in the treatment of painful diabetic neuropathy. Our
results suggest that further studies evaluating higher dosages of gabapentin are warranted”.
Wording similar to that in the Abstract is used in the text of the manuscript.

       Dr. Gorson presented a poster at a 1998 conference (Neurology Apr 1998; 50 (suppl
4):A103 P02.055), with wording that was nearly identical to the wording in the Abstract of the
revised manuscript.

        I have received no additional correspondence or manuscripts concerning the Gorson
Study, and as far as I know it was never published in full. Instead, results were published in a
Letter to the Editor (J Neurolog Neurosurg Psychiatr 1999; 66:251-2). The data were not
presented accurately, for example although 53 patients were randomized, the letter did not
report this correctly. Instead the letter reported the number analyzed after exclusions,

        “Nineteen patients were randomized to the active drug and 21 to placebo...”

        In the text, the letter also establishes more than one explanation for the negative results,
and sets the stage for future trials at higher dosages, “The low dosage of gabapentin was
chosen to minimize adverse effects that might compromise blinding.” (Note that this also
indicates an awareness by Parke-Davis that patients may have been unblinded to active
treatment at doses higher than 900 mg/day); and “The results of this study suggest that
gabapentin is probably ineffective or only minimally effective for the treatment of painful diabetic
neuropathy at a dosage of 900 mg/day”.

3.5     Backonja (945-210)

       In 1998, Backonja and colleagues published the findings from study 945-210 in JAMA
(1998; 280:1831-6), a high impact journal almost guaranteeing high visibility for the study and
Neurontin. The article, however, glossed over several important facts. For one, it claimed that,

        “Because this was the first trial to evaluate gabapentin’s efficacy in this patient
        population, all patients’ dosages were titrated to tolerability up to 3600 mg/d regardless
        of any efficacy achieved at lower dosages.”

        First, this was not the first trial, Gorson’s trial was. There is evidence from several
sources that Bakconja was aware of this. On January 7, 1998, Phil Magistro at Parke-Davis
circulated an edited draft of Gorson’s manuscript which was unchanged from a version that was
faxed on November 13, 1997 (WLC_CBU_086698). One of the recipients of the memo was
Elizabeth Garofalo, who was a co-author of the Backonja publication. Another recipient of the
memo was Leslie Magnus Miller (Director of Medical Affairs, Parke-Davis). On March 30, 1998,
Clinical Communications notified others at Parke-Davis that Backonja’s manuscript was
submitted to JAMA on March 25, 1998. This memo was copied to Leslie Magnus
Miller.(WLC_CBU_093708)




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        Second, in the published JAMA article, the investigators state that they recognized that
the subjective outcomes in the study required blinding [of the patient, physician, and
investigator] to protect against bias in attribution of benefit (or not) as a result of knowledge of
the treatment. Thus, the investigators

       “explored the possibility that the occurrence of adverse events resulted in the unblinding
       of the study, biasing the result of our efficacy analysis.”

They reported that their analysis (not presented in the article) demonstrated to them that

       “...inclusion of patients who experienced these central nervous system adverse effect
       [dizziness and somnolence] in the original analysis did not account for the overall
       efficacy seen in the trial.”

They conclude the article text with:

       “Gabapentin is a promising new agent for use in patients with neuropathic pain when
       therapeutic options are limited and offers advantages over currently available treatments
       as a first-line agent.”

The Abstract conclusion also promotes use of gabapentin for diabetic neuropathy,

       “Gabapentin monotherapy appears to be efficacious for the treatment of pain and sleep
       interference associated with diabetic peripheral neuropathy and exhibits positive effects
       on mood and quality of life.”

         Pfizer clearly recognized the likelihood that unblinding due to adverse events could
result in corruption of the study’s validity. An internal Pfizer January 7, 1998 memo requested
additional analyses for Study 945-224:

       “Rationale: at a pain experts’ meeting, it was proposed that we should look for a
       correlation of maximum CNS-related Adverse Event severity with mean pain score,
       assuming that patients with more severe AEs tend to believe that they are on study drug
       (which would be a good guess) and therefore tend to have better efficacy data, thus
       unblinding and corrupting the study.” (Pfizer_TMF_CRF_061890)

Analyses similar to Study 945-210 were suggested (see Pfizer_LLaMoreaux_0038148) but
were not undertaken. (Pfizer_TMF_CRF_062490) Other indicators of Pfizer’s awareness of the
unblinding issue are seen in Minutes of the Meeting with the French Drug Agency, Concerning
Neurontin in Pain, June 18, 1998 (Pfizer_LLaMoreaux_0009058), as well as comments made in
the published literature (eg, for another Parke-Davis Neurontin study, Miller et al., Neurology
1996; 47:1383-1388).




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3.6     Cochrane reviews

       It is evident from the documents reviewed that Pfizer exerted considerable control over
publication of findings and messages disseminated to the biomedical community. The
existence of a “publication strategy,” covered in Section 2.1 of this report, indicates the
importance of Pfizer-driven publications to the marketing success of Neurontin.

       Before the 1990s, the “traditional” narrative review article was a common way of
summarizing the literature on, for example, the effectiveness of a treatment or treatments for a
given disorder. The traditional review was highly subjective and also offered a platform for
disseminating the author’s message. With the advent of the “systematic review” and “meta-
analysis,” a scientific approach to the synthesis of similar but separate studies, the situation
changed. In systematic reviews, selection of included studies, as well as the qualitative and
quantitative synthesis, is subject to rigorous and transparent methodology.

         The Cochrane Collaboration, founded in 1993, is an international organization dedicated
to conducting, maintaining and disseminating systematic reviews of healthcare interventions.
Cochrane reviews are conducted using standardized, evidence-based methods, for example an
exhaustive search for all evidence addressing a topic that includes unpublished and “grey
literature” data. The Cochrane Collaboration has, since its inception, recognized the risk that
reporting biases may influence the validity of outcomes of a systematic review, and thus has
advocated requesting unpublished data from sponsors and investigators as part of standard
protocol. These data are requested as a scientific courtesy from the pharmaceutical industry
and others, usually by mail or email. There is no way to “demand” or “subpoena” data from
sponsors or investigators.

        For bipolar disorders, migraine, and neuropathic pain, Pfizer was approached by
systematic reviewers affiliated with the Cochrane Pain, Palliative and Supportive Care Review
Group, and asked to provide data from unpublished trials and for published variables where
additional information was needed to conduct the review. I reviewed documents indicating that
Pfizer was not willing to provide these data but did not want to appear noncompliant. According
to documents I reviewed, Pfizer ultimately agreed to assist with a migraine review or reviews,
with Henry McQuay, the head of Oxford Pain Group, a prominent pain specialist who also
served as the BMJ peer reviewer on Study 945-306.

3.6.1 Cochrane review - gabapentin for bipolar disorders

        On November 5, 2001, Dr. Atul Pande (Vice-President, Worldwide Portfolio Leader,
Pfizer Global Research & Development Headquarters) responded to a Cochrane request
(original 22 October 2001 request not available to me) by providing a list of references,
including Pande 2000b (already noted as identified by the Cochrane reviewers), a study by
Vieta (2000) and an abstract from Wang (2000). (Pfizer_APande_0005005) On July 8, 2003,
Cochrane authors again contacted Pfizer staff by email asking for help in identifying
randomized trials of gabapentin in the treatment of bipolar disorder (Pfizer_APande_0003413).
A further request in October [2003], for original data relating to the Pande study (baseline and
endpoint scores on TMRS, HAM_D, and CGIS, Internal States Scale, and the Quality of Life

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Questionnaire, as well as other numbers needed for an intention to treat analysis, led to a
promise that Dawn Carroll at Pfizer would “look into the matter.” (Pfizer_BParsons_0030122)
After another request in December 2003, a list of published studies was sent to Karine
Macritchie (Cochrane), and she again requested raw data. A December 23, 2003 email
discussion within Pfizer resulted in ”I would not send unpublished data to anyone outside
Pfizer”. (Pfizer_BParsons_0030122)

        The Cochrane request was then sent to another group within Pfizer, with quite a bit of
back and forth about whether Pfizer bipolar studies existed and if so, what should be done.
There was a reference made to the Pande 2000b study and reiteration that Cochrane wanted
“data that is not in the publication”. (Pfizer_Knapp_0112244) The emails indicate a disinclination
to share data and a preference to let Cochrane know about published data and “let it go at that
if possible”. On February 10, 2004, Dawn Carroll sent an email to Lloyd Knapp (Re:
Gabapentin - Bipolar Data action required) saying,

        “The decision is ultimately yours as to what data we send this group - the risk is that in
        the cochrane review there is a statement saying Pfizer declined to provide the
        information requested! which does not look good for the company.”
        (Pfizer_LKnapp_0112245)

        On February 23, 2004, Anitra Fielding from the UK Pfizer team sent an email to Lloyd
Knapp, Dawn Carroll and others asking them to please get back to the Cochrane team
(Pfizer_LKnapp_0112829). Accordingly, a teleconference was arranged for March 23, 2004 to
“confirm some details”. This call did not take place as arranged but apparently occurred in April
2004. After that call, a request identical to previous requests was made by the Cochrane group
and internal Pfizer emails resumed discussing how to respond. On November 7, 2004, the
Cochrane group again reminded Lloyd Knapp of its request. This is the last email I have access
to. The Cochrane protocol was eventually withdrawn (ie, the review was never completed).

3.6.2   Cochrane review - gabapentin for migraine prophylaxis

        Cochrane authors also requested information from Pfizer about trials of gabapentin for
migraine prophylaxis (15 March 2002; Pfizer_RGlanzman_0140655) and their request was met
with a response similar to the one given for the bipolar systematic review:

        “If they are looking for unpublished data, I would be reluctant to send it.”
        (Pfizer_RGlanzman_0140656)

        “The suggestion I would throw out there is to have someone from medical just tell them
        that we are not indicated for this condition and that we are only aware of two double-
        blind placebo controlled trials done independently of Pfizer and which we had no
        involvement and send them the reference....”We definitely will not supply any internal
        data, we all agree on that.” (Pfizer_RGlanzman_0140655)

The emails concluded that this issue was one related to global messages and provision of
information in a consistent way.

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        “...it seems to me that it would be easier to have NYHQs follow up with request like this,
        especially when it is as influential and the Cochrane group....”
        (Pfizer_AFannon_0012222)

3.6.3   Systematic review by Cochrane authors - gabapentin for neuropathic pain

        On January 3, 2001, Michael Rowbotham circulated an email
(Pfizer_CTaylor_00334400) drawing attention to a systematic review of anticonvulsants for
migraine (Henry McQuay et al. 1995 BMJ 31:1047-52), and responding to a colleague’s
December 15, 2000 email regarding a new published review by the same group (J Pain
Symptom Manage 2000;20:449-450). A Reuters article copied into the email described Dr.
McQuay’s 2000 review and noted that the review found that “....gabapentin was as effective as
older anticonvulsants.” Dr. Rowbotham said,

        “We have drafted a field letter for our reps, which we will be sending out in the next
        week, to brief them on how to handle any potential objections....Henry is known for not
        going out on a limb, and he was only able to analyse data that had been published upto
        [sic] about a year ago.” (Pfizer_CGrogan_0012128)

        The letter to the field reps described the McQuay findings and cautioned them,

        “In the near future you might be engaged in conversations with customers regarding this
        article. This document will help you handle queries that may arise as a result of this
        publication....This study at first glance does not put Neurontin in a favourable position as
        the drug of choice for all types of neuropathic pain. However there are ways that this
        study could be handled if customers raise this article with you and used to our
        advantage.” (Pfizer_CGrogan_0012131, Pfizer_CGrogan_0012132)

Various reasons for dismissing the findings are then provided in the letter.

        The Pfizer team learned a few days later (January 5, 2001) that the two UK Neurontin
pain studies had been rejected for publication in BMJ. Henry McQuay, who headed the Oxford
Pain Group, and who was first author on the systematic review, was the single BMJ reviewer.
The reasons for rejection included “2 of the three named authors are from the company”
(Pfizer_WSigmund_0000241) (termed “badging” of the trials); patients having been excluded
from the trial if they had not responded to gabapentin in the past; and combining data for the
three separate dosage groups (Pfizer_LeslieTive_0020631). The Pfizer group planned for
immediate revision by contracted medical writers, submission to the journal Pain, and personal
contact with Henry McQuay. And on January 29, 2001 Michael Rowbotham wrote:

        “For your info, we have agreed to commission a meta-analysis of all NTN Pain studies
        through the Oxford Pain group....” (Pfizer_DProbert_0007525).

On January 31, 2001, Michael Rowbotham wrote to Pfizer colleagues:




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       “ We also need to get from Henry and Andrew about what is a good outcome - and
       where the results of the analysis will lead us in the future. In other words, we need to
       start with the end in mind!”(Pfizer_DProbert_0007543)

On March 2, 2001, Michael Rowbotham wrote again:

       “This is a potentially a big opportunity for Pfizer as we can formulate and shape the
       area....The meatanalysis [sic] that we are planning to do through the Oxford pain group
       (Henry McQuay) could look into the patient improvements on the SF 36, the McGill
       questionnaire and the sleep data. As you mentioned previously, we need to be very
       clear about what is a good outcome!” (Pfizer_RGlanzman_0001383)

And on March 20, 2001, he wrote:

       “Can I take it from the message from Joe that...the next steps are for the UK team to
       develop a clear proposal with the specific criteria and outcomes laid out? Obviously we
       need to be very clear what we want to get out of the analysis and why. We also need to
       be clear what we believe what the outcome will be (sic) from our understanding of the
       data.” (Pfizer_LeslieTive_0035819)

On March 28, 2001, Michael Rowbotham wrote:

       “Henry presented his slides at our sponsored symposium last night and a number of
       positive points came out....He also gave Neurontin some very good coverage and
       positioned it strongly, saying that although it is not his first line choice at the moment, it
       is the gold standard in the states.” (Pfizer_DProbert_0007581)

        It appears from the documents I reviewed that the interaction with Henry McQuay led to
several important outcomes for Pfizer: a positive relationship with an important opinion leader,
and potential reviewer of journal manuscripts; influence on one or more Cochrane reviews; and
influence on use of a measure of association favored by doctors but of concern to Pfizer – the
Number Needed to treat (NNT).

        The progress of the review was held up by Cochrane, per Pfizer’s request, in
anticipation of the publication of Serpell’s paper on study 945-306 in Pain.
(Pfizer_RGlanzman_00053506)

        According to the documents I reviewed, the Oxford Pain Group and Pfizer continued to
work together, with optimism on Pfizer’s part regarding input on the Cochrane review, as well as
the potential for influence on analyses using NNT (number needed to treat).
(Pfizer_DProbert_0007581; Pfizer_DProbert_0007559; MAC_0001691;MAC_0001296;
MAC_0002919; MAC_E_0051950; Pfizer_RGlanzman_0146211; Pfizer_RGlanzman_0146213;
Pfizer_LeslieTive_0033161;Pfizer_LeslieTive_0033286; Pfizer_MGarcia_0002899).




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4.     Conclusions

        The documents I reviewed on clinical trials of Neurontin for migraine prophylaxis, as well
as treatment of bipolar disorders, nociceptive, and neuropathic pain, indicate a clear and
deliberate pattern of reporting biases, including but not limited to publication bias, selective
outcome reporting; selective analyses; multiple publication; location bias; time lag bias; and
citation bias. In addition, I observed extensive evidence of “reframing” or “spin” to make
negative results appear positive; “ghost” authorship; and bias in study design. These biases
render information about Neurontin’s effectiveness, as disseminated in the published literature
(as stand-alone reports of trials or as included in systematic reviews), untrustworthy and invalid.




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                                Appendix A

   Tables Describing Information in Neurontin Study Protocols and Reports
                                                   Migraine
                                          Table 1 - Table of Citations
Study Number           Publication code     Type of report                 Citation (Report)
879-201

                       879-201.RR           Research report                    Research report number RR 4301-00066.

                       Wessely 1987         Full-paper                         Wessely P, Baumgartner Ch, Klingler D, Kreczi J, Meyerson N, Sailer L, Saltuari
                                                                               L, Schutt P. Preliminary results of a double-blind study with the new migraine
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945-217

                       945-217.RR           Research report                    Research report number RR 995-00085.

945-220

                       945-220.RR           Research report                    Research report number RR 995-00074.

                       Mathew 1998          Conference abstract                Mathew NT. Efficacy and safety of gabapentin (Neurontin) in migraine
                                                                               prophylaxis. Presented as an abstract at the 17th Annual Meeting of the
                                                                               American Pain Society, 1998.

                       Mathew 1999          Conference abstract                Mathew NT, Magnus-Miller L, Saper J, Podolnick P, Klapper J, Tepper S, Stacey
                                                                               B, Rapoport A, Ramadan N. Efficacy and safety of gabapentin (Neurontin) in
                                                                               migraine prophylaxis. Cephalalgia. 1999; 19: 380.
                                                                               Presented as an abstract at the 9th Congress of the International Headache
                                                                               Society, 1999.

                       Mathew 2001          Full-paper                         Mathew NT, Rapoport A, Saper J, Magnus L, Klapper J, Ramadan N, Stacey B,
                                                                               Tepper S. Efficacy of gabapentin in migraine prophylaxis. Headache. 2001; 41:
                                                                               119-128.
                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 60 of 159




Saturday, August 09, 2008                                 Migraine - Table 1                                                                         Page 1 of 1
                                                                            Migraine
                                                               Table -2 Summary of Reporting Biases
Study Publica- Protocol Date of                    Date of last  Type of            Location      Results of    Secondary      Reported        Publication     Conclusions of      Conclusions of
number tion code avail- research                   enrollment or results            of            primary       outcome        analyses on      bias           efficacy            safety
                 able   report                     end date for                     publica-      analysis      (protocol)     selective       (negative       consistent with     consistent with
                        (internal)                 "Period(s)                       tion          per           reported as    populations     results and     primary             analysis of
                                                   covered" per                                   research      primary        as primary      no              analysis result     adverse events
                                                   research                                       report        outcome        analysis        publication     (Conclusions        (Conclusions
                                                   report                                                       (report)                       final result)   section - report)   section - report)



879-201    Wessely                   June 25,      May 24, 1988       Preliminary   Journal       "Negative"        Yes               Yes                             NA¹                 NA¹
           1987                      1990                             results       article



945-217    No                        January 20,   January 25, 1999   No            No            "Negative"        NA¹               NA¹                             NA¹                 NA¹
           publication               2000.                            publication   publication



945-220    Mathew                    August 24,    March 10, 1998     Preliminary   Conference    "Negative"        Yes             Unclear²                          Yes                 Yes
           1998                      1999.                            results       abstract



945-220    Mathew                    August 24,    March 10, 1998     Preliminary   Conference    "Negative"        Yes             Unclear²                          Yes                 Yes
           1999                      1999.                            results       abstract



945-220    Mathew                    August 24,    March 10, 1998     Final         Journal       "Negative"        No                Yes                             Yes                 Yes
           2001                      1999.                            results       article
                                                                                                                                                                                                        Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 61 of 159




1 NA = Not Applicable                                                                                          Migraine - Table 1                                           Saturday, August 09, 2008
2 Unclear: Analysis population not
mentioned or was unclear                                                                                                                                                                  Page 1 of 1
                                   Migraine
     Table 3 - Comparison of Study Reports by Authors and Funding Source
 Study Publication           Year      Type of              Citation                   Authors/                 Authors/              Authors/                Funding source
number    code                          report                                       investigators            investigators         investigators                (Report)
                                                                                       (Protocol)               (Report)          locations (Report)

879-201    879-201.RR       June 25,   Research     Research report number        Investigator:              GOE [Godecke]       1. Neurologische             Not applicable.
                            1990       report       RR 4301-00066.                Prof. Dr. med. Franz       Investigator(s):    Universitats-Klinik,         Research report
                                                                                  Gerstenbrand               Feuerstein T        Innsbruck, Austria.
                                                                                  Dr. L. Saltuari            Quebe-Fehling E     2. Allg. Off.
                                                                                                                                 Krankenhaus, Linz,
                                                                                  Monitor:                 Outside               Austria.
                                                                                  Nancy Meyerson, M.       investigator(s):      3. Neurologische
                                                                                  Phil.                    1. Saltuari L         Universitats-Klinik, Wien,
                                                                                                           2. Klingler D         Austria.
                                                                                  Substitute:              3. Wessely P          4. Neurologische Abtlg.
                                                                                  Dr. med. Bernd Schmidt 4. Schutt P             Fach-klin k Rhein/Rhur,
                                                                                                           5. Kepplinger B       Essen, West Germany.
                                                                                  Biometrics:                                    5. LHK Mauer, Mauer,
                                                                                  Klaus Stern, Dipl. Math.                       Austria.



879-201    Wessely 1987     1987       Full-paper   Wessely P, Baumgartner        Investigator:              1. Wessely P        1 & 2. Neurologic            No funding source
                                                    Ch, Klingler D, Kreczi J,     Prof. Dr. med. Franz       2. Baumgartner Ch   University Clinic, Vienna,   mentioned.
                                                    Meyerson N, Sailer L,         Gerstenbrand               3. Klingler D       Austria.
                                                    Saltuari L, Schutt P.         Dr. L. Saltuari            4. Kreczi J         3. General Hospital, Linz,
                                                    Preliminary results of a                                 5. Meyerson N       Austria
                                                    double-blind study with       Monitor:                   6. Sailer L         4. Not mentioned.
                                                    the new migraine              Nancy Meyerson, M.         7. Saltuari L       5. Godecke, Freiburg,
                                                    prophylactic drug             Phil.                      8. Schutt P         FRG.
                                                    gabapentin. Cephalalgia.                                                     6 & 7. Neurologic
                                                    1987; 7 (Supplement 6):       Substitute:                                    University Clinic,
                                                    477-478.                      Dr. med. Bernd Schmidt                         Innsbruck, Austria.
                                                                                                                                 8. Fachklinik, Essen,
                                                                                  Biometrics:                                    FRG.
                                                                                  Klaus Stern, Dipl. Math.
                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 62 of 159




Saturday, August 09, 2008                                                       Migraine - Table 3                                                                     Page 1 of 4
 Study Publication           Year   Type of           Citation                 Authors/               Authors/              Authors/             Funding source
number    code                       report                                  investigators          investigators         investigators             (Report)
                                                                               (Protocol)             (Report)          locations (Report)

945-217    945-217.RR       2000    Research   Research report number     Amended protocol        PD Author(s):        1. San Francisco          Not applicable.
                                    report     RR 995-00085.              approval page signed    Magnus-Miller L      Headache Clinic, USA.     Research report.
                                                                          by:                     Bernstein P          2. Palm Beach
                                                                          Leslie Magnus-Miller.   Caswell K            Neurological Group, USA.
                                                                                                                       3. Phoenix Neurological
                                                                          Parke-Davis               Investigator(s):   Associates, USA.
                                                                          Clinical/Medical          1. Goldstein J     4. Cleveland Clinic
                                                                          Colleagues:               2. Sadowsky C      Foundation, USA.
                                                                          Kim C. Caswell            3. Hendin B        5. California Medical
                                                                          (Unsigned).               4. Kunkel R        Clinic for Headache, USA.
                                                                          Leslie Magnus-Miller      5. Kudrow D        6. Jefferson Headache
                                                                          (Unsigned).               6. Silberstein S   Center, USA.
                                                                                                    7. Newman L        7. Montefiore Headache
                                                                          Parke-Davis Statistician: 8. Couch J         Unit, Albert Einstein
                                                                          Paula J. Beitler          9. Saper J         College of Medicine, USA.
                                                                          (Unsigned).               10. Rowbotham M    8. Oregon University of
                                                                                                    11. Rapoport A     Health Sciences, USA.
                                                                          Principal Investigator:                      9. Micihigan Head, Pain
                                                                          Unsigned.                                    & Neurological Institute,
                                                                                                                       USA.
                                                                          Co-investigator:                             10. UCSF Pain Clin.
                                                                          Unsigned.                                    Research Ctr., USA.
                                                                                                                       11. New England
                                                                                                                       Headache Center, USA.
                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 63 of 159




Saturday, August 09, 2008                                               Migraine - Table 3                                                                 Page 2 of 4
 Study Publication           Year   Type of             Citation                   Authors/                  Authors/           Authors/                 Funding source
number    code                       report                                      investigators             investigators      investigators                 (Report)
                                                                                   (Protocol)                (Report)       locations (Report)

945-220    945-220.RR       1999    Research    Research report number        Parke-Davis Monitors:     PD Author(s):      1. Houston Headache           Not applicable.
                                    report      RR 995-00074.                 Leslie Magnus-Miller.     Magnus-Miller L    Clinic, USA.                  Research report.
                                                                                                        Bernstein P        2. Michigan Head, Pain &
                                                                              Parke-Davis Statistician: Caswell K          Neurological Institute,
                                                                              Paula B. Podolnick.                          USA.
                                                                                                        Investigator(s):   3. New England
                                                                              Parke-Davis Clinical      1. Mathew N        Headache Center, USA.
                                                                              Trials Manager:           2. Saper J         4. Denver, CO, USA. No
                                                                              Kim C. Caswell.           3. Rapoport A      institute affiliation
                                                                                                        4. Klapper J       mentioned.
                                                                                                        5. Tepper S        5. Seattle, WA, USA. No
                                                                                                        6. Stacey B        institute affiliation
                                                                                                        7. Ramadan N       mentioned.
                                                                                                                           6. OHSU Pain
                                                                                                                           Management Center,
                                                                                                                           USA.
                                                                                                                           7. University of Cincinnati
                                                                                                                           Headache Center, USA.



945-220    Mathew 1998      1998    Conference Mathew NT. Efficacy and        Parke-Davis Monitors:       Mathew NT        Not mentioned.                No funding source
                                    abstract   safety of gabapentin           Leslie Magnus-Miller.                                                      mentioned.
                                               (Neurontin) in migraine
                                               prophylaxis. Presented         Parke-Davis Statistician:
                                               as an abstract at the 17th     Paula B. Podolnick.
                                               Annual Meeting of the
                                               American Pain Society,         Parke-Davis Clinical
                                               1998.                          Trials Manager:
                                                                              Kim C. Caswell.
                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 64 of 159




Saturday, August 09, 2008                                                   Migraine - Table 3                                                                     Page 3 of 4
 Study Publication           Year   Type of             Citation                  Authors/                Authors/               Authors/              Funding source
number    code                       report                                     investigators           investigators          investigators              (Report)
                                                                                  (Protocol)              (Report)           locations (Report)

945-220    Mathew 1999      1999    Conference Mathew NT, Magnus-            Parke-Davis Monitors:     1. Mathew NT         1 to 9. Not mentioned.     No funding source
                                    abstract   Miller L, Saper J,            Leslie Magnus-Miller.     2. Magnus-Miller L                              mentioned.
                                               Podolnick P, Klapper J,                                 3. Saper J
                                               Tepper S, Stacey B,           Parke-Davis Statistician: 4. Podolnick P
                                               Rapoport A, Ramadan N.        Paula B. Podolnick.       5. Klapper J
                                               Efficacy and safety of                                  6. Tepper S
                                               gabapentin (Neurontin) in     Parke-Davis Clinical      7. Stacey B
                                               migraine prophylaxis.         Trials Manager:           8. Rapoport A
                                               Cephalalgia. 1999; 19:        Kim C. Caswell.           9. Ramadan N
                                               380.
                                               Presented as an abstract
                                               at the 9th Congress of
                                               the International
                                               Headache Society, 1999.

945-220    Mathew 2001      2001    Full-paper   Mathew NT, Rapoport A,      Parke-Davis Monitors:     1. Mathew NT         1. Houston Headache         No funding source
                                                 Saper J, Magnus L,          Leslie Magnus-Miller.     2. Rapoport A        Clinic, Texas, USA.         mentioned.
                                                 Klapper J, Ramadan N,                                 3. Saper J           2. New England
                                                 Stacey B, Tepper S.         Parke-Davis Statistician: 4. Magnus L          Headache Center,
                                                 Efficacy of gabapentin in   Paula B. Podolnick.       5. Klapper J         Stamford, USA.
                                                 migraine prophylaxis.                                 6. Ramadan N         3. Michigan Head Pain
                                                 Headache. 2001; 41: 119-    Parke-Davis Clinical      7. Stacey B          and Neurological
                                                 128.                        Trials Manager:           8. Tepper S          Institute, Ann Arbor, USA.
                                                                             Kim C. Caswell.                                4. Parke-Davis Medical
                                                                                                                            Research, NJ, USA.
                                                                                                                            5. Colorado Neurology
                                                                                                                            and Headache Center,
                                                                                                                            Denver, USA.
                                                                                                                            6. University of
                                                                                                                            Cincinnati, Ohio, USA.
                                                                                                                            7. Oregon Health
                                                                                                                            Sciences University,
                                                                                                                            Portland, USA.
                                                                                                                            8. The Polyclinic, Seattle,
                                                                                                                            USA.
                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 65 of 159




Saturday, August 09, 2008                                                  Migraine - Table 3                                                                    Page 4 of 4
                                            Migraine
                       Table 4 - Comparison of Study Reports by Participant
                                   Inclusion/Exclusion Criteria
 Study Publication Type of report                   Participant inclusion criteria                   Participant inclusion            Enrollment Enrollment           Number
number    code                                               (Protocol)                                criteria (Report)               start date end date             of sites

879-201   879-201.RR        Research report   "Patients will have at least 8 migraine attacks per   "Patients from Center 201         November 26,   May 24, 1988          5
                                              month."                                               had to have at least 8 attacks    1985
                                              Common migraine.                                      per month to be included. For
                                              Resistant to prophylactic interval therapy.           the patients of the other
                                              On no other prophylactic interval therapy.            centers the minimum number
                                              Case history and prior treatment records              of attacks was two attacks
                                              available.                                            per month."
                                              Amubulatory or hospitalized.
                                              Over 18 years of age.
                                              Female patients of child-bearing potential must
                                              use adequate contraception.
879-201   Wessely 1987 Full-paper             "Patients will have at least 8 migraine attacks per   No inclusion criteria reported.   Not mentioned. Not mentioned.   "multicenter
                                              month."                                                                                                                    trial"
                                              Common migraine.
                                              Resistant to prophylactic interval therapy.
                                              On no other prophylactic interval therapy.
                                              Case history and prior treatment records
                                              available.
                                              Amubulatory or hospitalized.
                                              Over 18 years of age.
                                              Female patients of child-bearing potential must
                                              use adequate contraception.
                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 66 of 159




Saturday, August 09, 2008                                                 Migraine - Table 4                                                                           Page 1 of 4
 Study Publication Type of report                   Participant inclusion criteria                    Participant inclusion         Enrollment Enrollment       Number
number    code                                               (Protocol)                                 criteria (Report)            start date end date         of sites

945-217   945-217.RR        Research report   Male and female patients aged 16 to 75 years.          No deviations from protocol.   March 19,     January 25,      11
                                              Meet International Headache Society criteria for                                      1997          1999
                                              migraine 1.1 and 1.2.
                                              Female patients should not be pregnant or
                                              nursing. If sexually active, must use reliable
                                              method of contraception.
                                              Initial onset of migraine at least 6 months prior to
                                              screening.
                                              Three to eight migraine episodes per month for
                                              each of 3 months prior to screening.
                                              No prior prophylaxis for migraine or failed a trial
                                              for 1 month on no more than 2 prophylaxis
                                              regimes.
                                              No migraine prophylaxis at baseline for at least 5
                                              half-lives of that medication.
                                              Able to comply with treatment and provide
                                              informed consent.
945-220   945-220.RR        Research report   Male and female patients aged 16 to 75 years.          No deviations from protocol.   November 5,   March 10,         7
                                              Meet International Headache Society criteria for                                      1996          1998
                                              migraine 1.1 and 1.2.
                                              Female patients should not be pregnant or
                                              nursing. If sexually active, must use reliable
                                              method of contraception.
                                              Initial onset of migraine at least 6 months prior to
                                              screening.
                                              Three to eight migraine episodes per month for
                                              each of 3 months prior to screening.
                                              No prior prophylaxis for migraine or failed a trial
                                              for 1 month on no more than 2 prophylaxis
                                              regimes.
                                              No migraine prophylaxis at baseline for at least 5
                                              half-lives of that medication.
                                              Able to comply with treatment and provide
                                              informed consent.
                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 67 of 159




Saturday, August 09, 2008                                                  Migraine - Table 4                                                                   Page 2 of 4
 Study Publication Type of report              Participant inclusion criteria                    Participant inclusion       Enrollment Enrollment           Number
number    code                                          (Protocol)                                 criteria (Report)          start date end date             of sites

945-220   Mathew 1998       Conference   Male and female patients aged 16 to 75 years.          "Following screening 145     Not mentioned. Not mentioned.     "multi-
                            abstract     Meet International Headache Society criteria for       subjects (81% women) who                                      center".
                                         migraine 1.1 and 1.2.                                  experienced 3 - 8 migraine
                                         Female patients should not be pregnant or              episodes per month and had
                                         nursing. If sexually active, must use reliable         failed no more than two
                                         method of contraception.                               prophylactic anti-migraine
                                         Initial onset of migraine at least 6 months prior to   regimes were randomized"
                                         screening.
                                         Three to eight migraine episodes per month for
                                         each of 3 months prior to screening.
                                         No prior prophylaxis for migraine or failed a trial
                                         for 1 month on no more than 2 prophylaxis
                                         regimes.
                                         No migraine prophylaxis at baseline for at least 5
                                         half-lives of that medication.
                                         Able to comply with treatment and provide
                                         informed consent.
945-220   Mathew 1999       Conference   Male and female patients aged 16 to 75 years.          "Following screening 145     Not mentioned. Not mentioned.     "multi-
                            abstract     Meet International Headache Society criteria for       subjects (81% women) who                                      center".
                                         migraine 1.1 and 1.2.                                  experienced 3 - 8 migraine
                                         Female patients should not be pregnant or              episodes per month and had
                                         nursing. If sexually active, must use reliable         failed no more than two
                                         method of contraception.                               prophylactic anti-migraine
                                         Initial onset of migraine at least 6 months prior to   regimes were randomized"
                                         screening.
                                         Three to eight migraine episodes per month for
                                         each of 3 months prior to screening.
                                         No prior prophylaxis for migraine or failed a trial
                                         for 1 month on no more than 2 prophylaxis
                                         regimes.
                                         No migraine prophylaxis at baseline for at least 5
                                         half-lives of that medication.
                                         Able to comply with treatment and provide
                                         informed consent.
                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 68 of 159




Saturday, August 09, 2008                                             Migraine - Table 4                                                                     Page 3 of 4
 Study Publication Type of report              Participant inclusion criteria                    Participant inclusion          Enrollment Enrollment           Number
number    code                                          (Protocol)                                 criteria (Report)             start date end date             of sites

945-220   Mathew 2001       Full-paper   Male and female patients aged 16 to 75 years.          No differences from protocol.   Not mentioned. Not mentioned.       7
                                         Meet International Headache Society criteria for
                                         migraine 1.1 and 1.2.
                                         Female patients should not be pregnant or
                                         nursing. If sexually active, must use reliable
                                         method of contraception.
                                         Initial onset of migraine at least 6 months prior to
                                         screening.
                                         Three to eight migraine episodes per month for
                                         each of 3 months prior to screening.
                                         No prior prophylaxis for migraine or failed a trial
                                         for 1 month on no more than 2 prophylaxis
                                         regimes.
                                         No migraine prophylaxis at baseline for at least 5
                                         half-lives of that medication.
                                         Able to comply with treatment and provide
                                         informed consent.
                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 69 of 159




Saturday, August 09, 2008                                             Migraine - Table 4                                                                        Page 4 of 4
                                                                       Migraine
                                                      Table 5 - Interventions and Run-in Phase
 Study Publication            Run-in phase (Protocol)                   Run-in phase (Report)              Trial design       Total length of       Description of intervention               Treatment
number    code                                                                                                                  follow-up                                                    (gabapentin
                                                                                                                                                                                            dose, duration,
                                                                                                                                                                                              frequency)
                                                                                                                                                                                            different from
                                                                                                                                                                                                protocol

879-201    879-201.RR       No run-in phase mentioned.             No run-in phase mentioned.              Parallel-groups   12 weeks (Table 2     "Patients received placebo or 300
                                                                   "At the first visit the patient was                       of the research       mg gabapentin capsules three
                                                                   questioned concerning the number of                       report)               times daily (7 a.m., 3 p.m., and 10
                                                                   attacks during the last three months.                                           p.m.)."
                                                                   These retrospective data are referred
                                                                   to as "baseline" throughout this
                                                                   report."
879-201    Wessely 1987     No run-in phase mentioned.             "After an initial washout period of 3   Parallel-groups   "3 months"            "After an initial wash-out period of 3
                                                                   months all patients received either                                             months all patients received either
                                                                   placebo or 3 x 300 mg gabapentin                                                placebo or 3x300 mg Gabapentin
                                                                   daily for another 3 months."                                                    daily for another 3 months."

945-217    945-217.RR       "This study will consist of a 4-week   "The 16-week study consisted of a 4-    Parallel-groups   "The 16-week study    "All patients were to have received
                            single-blind baseline period, and a    week single-blind baseline period                         consisted of a 4-     placebo in a single-blinded manner
                            12-week double-blind treatment         and a 12-week double-blind                                week single-blind     during the 4-week basaeline period,
                            period. During the 4-week baseline     treatment period."                                        baseline period and   which began following Visit 2
                            period, the patient will receive                                                                 a 12-week double-     (Week -4)."
                            placebo in a single-blind manner       "Patients began the 4-week baseline                       blind treatment       "Each patient was to have been
                            (only the patient is blinded to the    period and were to have been given                        period."              instructed to begin treatment with
                            fact that the first 4 weeks of         study medication (placebo) in a                                                 the nighttime dose of study
                            treatment are with placebo)."          single-blinded manner."                                                         medication on the night of Visit 3."
                                                                                                                                                   "Study medication was to have
                                                                                                                                                   been titrated up to 1800 mg/day
                                                                                                                                                   during the following 4-week titration
                                                                                                                                                   period."
                                                                                                                                                   "Visit 4 began the stabilization
                                                                                                                                                   period and no titration in study
                                                                                                                                                   medication was to have been
                                                                                                                                                   permitted between Visit 4 and study
                                                                                                                                                   completion or dropout."
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 70 of 159




Saturday, August 09, 2008                                                                     Migraine - Table 5                                                                                  Page 1 of 3
 Study Publication            Run-in phase (Protocol)                  Run-in phase (Report)              Trial design       Total length of        Description of intervention              Treatment
number    code                                                                                                                 follow-up                                                    (gabapentin
                                                                                                                                                                                           dose, duration,
                                                                                                                                                                                             frequency)
                                                                                                                                                                                           different from
                                                                                                                                                                                               protocol

945-220    945-220.RR       "This study will consist of a 4-week   "The 16-week study consisted of a 4-   Parallel-groups   "The 16-week study     "All patients were to have received
                            single-blind baseline period, and a    week single-blind baseline period                        consisted of a 4-      placebo in a single-blinded manner
                            12-week double-blind treatment         and a 12-week double-blind                               week single-blind      during the 4-week baseline period,
                            period. During the 4-week baseline     treatment period."                                       baseline period and    which began following Visit 2
                            period, the patient will receive       "Patients began the 4-week baseline                      a 12-week double-      (Week -4)."
                            placebo in a single-blind manner       perido and were to have been given                       blind treatment        "Patients were to have been
                            (only the patient is blinded to the    study medication (placebo) in a                          period."               instructed to begin treatment with
                            fact that the first 4 weeks of         single-blinded manner."                                                         their nighttime dose of study
                            treatment are with placebo)."                                                                                          medication on the night of Visit 3."
                                                                                                                                                   "Study medication was to have
                                                                                                                                                   been titrated up to 2400 mg/day
                                                                                                                                                   during the following 4-week titration
                                                                                                                                                   period."
                                                                                                                                                   "Patients who could not tolerate
                                                                                                                                                   2400 mg/day were permitted to
                                                                                                                                                   reduce their dose to 1800 mg/day,
                                                                                                                                                   but no other dosage was to have
                                                                                                                                                   been allowed."
                                                                                                                                                   "Visit 4 began the stabilization
                                                                                                                                                   period and no titration in study
                                                                                                                                                   medication was permitted between
                                                                                                                                                   Visit 4 and study completion or
                                                                                                                                                   dropout."

                                                                                                                                                   Differences: Table 4 lists 2 patients
                                                                                                                                                   in gabapentin group as having
                                                                                                                                                   received 2700 mg/day as "Final
                                                                                                                                                   Stable Dose".
945-220    Mathew 1998      "This study will consist of a 4-week   "The study consisted of a 1-week       Parallel-groups   16 weeks.              "During the titration phasea dose-
                            single-blind baseline period, and a    screening phase a 4-week single-                         "The study             escalation of gabapentin up to
                            12-week double-blind treatment         blind placebo baseline phase a 4-                        consisted of a 1-      2400mg daily or matching placebo
                            period. During the 4-week baseline     week titration phase and an 8-week                       week screening         was administered."
                            period, the patient will receive       stable dosing phase."                                    phasea 4-week
                            placebo in a single-blind manner                                                                single-blind placebo
                            (only the patient is blinded to the                                                             baseline phasea 4-
                            fact that the first 4 weeks of                                                                  week titration phase
                            treatment are with placebo)."                                                                   and an 8-week
                                                                                                                            stable dosing
                                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 71 of 159




                                                                                                                            phase."


Saturday, August 09, 2008                                                                   Migraine - Table 5                                                                                   Page 2 of 3
 Study Publication            Run-in phase (Protocol)                   Run-in phase (Report)               Trial design       Total length of         Description of intervention             Treatment
number    code                                                                                                                   follow-up                                                    (gabapentin
                                                                                                                                                                                             dose, duration,
                                                                                                                                                                                               frequency)
                                                                                                                                                                                             different from
                                                                                                                                                                                                 protocol

945-220    Mathew 1999      "This study will consist of a 4-week   "The study consisted of a 1-week         Parallel-groups   16 weeks.               "During the titration phase, a dose-
                            single-blind baseline period, and a    screening phase, a 4-week single-                          "The study              escalation of gabapentin up to
                            12-week double-blind treatment         blind placebo baseline phase, a 4-                         consisted of a 1-       2400mg daily or matching placebo
                            period. During the 4-week baseline     week titration phase and an 8-week                         week screening          was administered."
                            period, the patient will receive       stable dosing phase."                                      phase, a 4-week
                            placebo in a single-blind manner                                                                  single-blind placebo
                            (only the patient is blinded to the                                                               baseline phase, a 4-
                            fact that the first 4 weeks of                                                                    week titration phase
                            treatment are with placebo)."                                                                     and an 8-week
                                                                                                                              stable dosing
                                                                                                                              phase."
945-220    Mathew 2001      "This study will consist of a 4-week   "Because of this high placebo            Parallel-groups   16 weeks.               "During the single-blind phase,
                            single-blind baseline period, and a    response, a single-blind placebo                           "After screening,       patients received one placebo
                            12-week double-blind treatment         phase was included in the study in an                      there was a 4-week,     capsule, taken in the evening for 4
                            period. During the 4-week baseline     attempt to diminish the placebo                            single-blind, placebo   weeks."
                            period, the patient will receive       response rate. During the single-blind                     baseline period         "During the 4-week titration phase,
                            placebo in a single-blind manner       phase, patients received one placebo                       followed by a 12-       patients were started on one 300-
                            (only the patient is blinded to the    capsule, taken in the evening for 4                        week, double-blind,     mg capsule of gabapentin or
                            fact that the first 4 weeks of         weeks."                                                    treatment period."      matching placebo."
                            treatment are with placebo)."                                                                                             "Patients were titrated to three
                                                                                                                                                      capsules per day (end of week 1),
                                                                                                                                                      five capsules per day (end of week
                                                                                                                                                      2), seven capsules per day (end of
                                                                                                                                                      week 3), and eight capsules per
                                                                                                                                                      day (end of week 4) in order to
                                                                                                                                                      achieve the 2400 mg/day dose by
                                                                                                                                                      the completion of the titration
                                                                                                                                                      phase."
                                                                                                                                                      "If a patient was unable to tolerate
                                                                                                                                                      the 2400 mg/day dose, the dose
                                                                                                                                                      was reduced to 1800 mg/day."
                                                                                                                                                      "However, the patient had to be
                                                                                                                                                      receiving a stable dose of study
                                                                                                                                                      medication by the end of the
                                                                                                                                                      titration period."
                                                                                                                                                      "Study medication was to be given
                                                                                                                                                      on a three-times-a-day dosing
                                                                                                                                                      regimen."
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 72 of 159




Saturday, August 09, 2008                                                                    Migraine - Table 5                                                                                    Page 3 of 3
                                                                   Migraine
                                                             Table 6 - Risk of Bias
Study Publica- Random Random Method of                      Method of                Conceal-      Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation             allocation               ment of       ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)               (Report)                 allocation    allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                     (Protocol)    (Report)     (Report)

879-201   879-                       "The patient           "Patients were                                      No description of                         No description   No description
          201.RR                     number is              randomized to                                       any attempt to                            on who was       on who was
                                     assigned in            treatment (method:                                  conceal allocation.                       blinded.         blinded.
                                     numerical              permuted blocks)
                                     sequence               with a blocking factor
                                     corresponding to       of 10. Each center
                                     the temporal           was randomized
                                     recruitment of the     separately."
                                     patient in the
                                     treatment phase.
                                     The first patient is
                                     assigned No. 1,
                                     the next patient
                                     recruited is
                                     assigned No. 2,
                                     etc."

                                     "Drop-outs are to
                                     be replaced until
                                     40 evaluable
                                     cases have been
                                     completed."
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 73 of 159




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Study Publica- Random Random Method of                      Method of             Conceal-        Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation             allocation            ment of         ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)               (Report)              allocation      allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                  (Protocol)      (Report)     (Report)

879-201   Wessely                    "The patient           Not mentioned.                                     No description of                         No description   No description
          1987                       number is                                                                 any attempt to                            on who was       on who was
                                     assigned in                                                               conceal allocation.                       blinded.         blinded.
                                     numerical
                                     sequence
                                     corresponding to
                                     the temporal
                                     recruitment of the
                                     patient in the
                                     treatment phase.
                                     The first patient is
                                     assigned No. 1,
                                     the next patient
                                     recruited is
                                     assigned No. 2,
                                     etc."

                                     "Drop-outs are to
                                     be replaced until
                                     40 evaluable
                                     cases have been
                                     completed."

945-217   945-                       Not mentioned.         Not mentioned.                                     No description of                         No description   No description
          217.RR                                                                                               any attempt to                            on who was       on who was
                                                                                                               conceal allocation.                       blinded in       blinded in double-
                                                                                                                                                         double-blind     blind study
                                                                                                                                                         study phase.     phase.

945-220   945-                       Not mentioned.         Not mentioned.                                     No description of                         No description   No description
          220.RR                                                                                               any attempt to                            on who was       on who was
                                                                                                               conceal allocation.                       blinded in       blinded in double-
                                                                                                                                                         double-blind     blind study
                                                                                                                                                         study phase.     phase.

945-220   Mathew                     Not mentioned.         Not mentioned.                                     No description of                         No description   No description
          1998                                                                                                 any attempt to                            on who was       on who was
                                                                                                               conceal allocation.                       blinded in       blinded in double-
                                                                                                                                                         double-blind     blind study
                                                                                                                                                         study phase.     phase.
                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 74 of 159




Saturday, August 09, 2008                                                    Migraine - Table 6                                                                                Page 2 of 3
Study Publica- Random Random Method of                Method of                Conceal-        Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation       allocation               ment of         ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)         (Report)                 allocation      allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                               (Protocol)      (Report)     (Report)

945-220   Mathew                     Not mentioned.   Not mentioned.                                        No description of                         No description   No description
          1999                                                                                              any attempt to                            on who was       on who was
                                                                                                            conceal allocation.                       blinded in       blinded in double-
                                                                                                                                                      double-blind     blind study
                                                                                                                                                      study phase.     phase.

945-220   Mathew                     Not mentioned.   "Each investigator                                    No description of                         No description   "During the
          2001                                        was provided with                                     any attempt to                            on who was       double-blind
                                                      "blinded" medication,                                 conceal allocation.                       blinded in       phase,
                                                      according to a                                                                                  double-blind     investigators,
                                                      computer-generated                                                                              study phase.     patients, study
                                                      randomization                                                                                                    monitors, and
                                                      schedule prepared                                                                                                observers were
                                                      by Parke-Davis                                                                                                   blinded to codes
                                                      before the beginning                                                                                             until after the
                                                      of the trial."                                                                                                   clinical database
                                                                                                                                                                       was locked."
                                                      "Patients were
                                                      randomized in a 2:1
                                                      ratio using a block
                                                      size of six stratified
                                                      by center."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 75 of 159




Saturday, August 09, 2008                                                 Migraine - Table 6                                                                                Page 3 of 3
                                                     Migraine
                             Table 7 - Primary Outcome and Number of Patients Assessed
 Study Publication            Primary outcome                    Primary outcome                   Number               Number          Number       Definitions for study population for
number    code                    (protocol)                         (Report)                    randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                  per group         group - Primary    group for
                                                                                                   (Report)         outcome (Report) safety (Report)

879-201   879-201.RR     "The arithmetic mean of the         "The primary efficacy criterion    44 Gabapentin /     Efficacy analysis: 22   46 Gabapentin /   Eligibility for "Efficacy analysis" or "Evaluable
                         difference between attack           was the reduction of the           43 Placebo.         Gabapentin / 31         43 Placebo.       Patients": "Patients were excluded from
                         frequency at the start of           number of migraine attacks         [Two patients not   Placebo                                   efficacy if they continued taking prophylactic
                         treatment and the end of            from the retrospective 3-month     randomized but                                                migraine medication or did not stop it at least
                         treatment is different in the two   baseline to treatment. To take     treated with        Intention to treat                        one month before start of treatment."
                         groups." [Appendix E]               into account the patients'         gabapentin in an    analysis: 42                              "According to the protocol, treatment should
                                                             varying length of treatment, the   open-label          Gabapentin / 41                           have lasted 12 weeks, but no minimum
                                                             number of attacks was              fashion were        Placebo                                   duration was prescribed. The adopted limit of
                                                             calculated on a 28-day basis."     included for a                                                28 days is somewhat arbitrary, but judged
                                                                                                reported number                                               sufficient to shown an effect if it was present.
                                                                                                of 46 in                                                      (1)"
                                                                                                gabapentin
                                                                                                group.]                                                       Intention to treat analysis patients:
                                                                                                                                                              "In the intent-to-treat analysis all patients were
                                                                                                "All data                                                     included who had received at least a single
                                                                                                collected are                                                 dose of study medication."
                                                                                                presented in the                                              "Two patients in each group were excluded
                                                                                                patient listings                                              from the intent-to-treat analysis because no
                                                                                                and summary                                                   data on the number of attacks are available or
                                                                                                tables, even if                                               because they had never taken the test
                                                                                                the patient had                                               medication which had been handed out to
                                                                                                not been                                                      them."
                                                                                                randomized to
                                                                                                treatment but                                                 Safety analysis: "All patient data were used for
                                                                                                was given                                                     safety evaluations regardless of length of
                                                                                                gabapentin on                                                 treatment and whether or not randomized."
                                                                                                an open label
                                                                                                basis (Patients
                                                                                                92 (879-205) and
                                                                                                93 (879-207))."
                                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 76 of 159




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 Study Publication            Primary outcome                    Primary outcome                 Number              Number          Number       Definitions for study population for
number    code                    (protocol)                         (Report)                  randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                per group        group - Primary    group for
                                                                                                 (Report)        outcome (Report) safety (Report)

879-201   Wessely 1987   "The arithmetic mean of the         "The frequency of migraine       22 Gabapentin /    14 Gabapentin / 19   Not mentioned.   Drop-outs: "..the other patients were drop-outs
                         difference between attack           attacks was reduced from 6.5     23 Placebo.        Placebo                               because of either non-compliance (n=6 for
                         frequency at the start of           to 4.1 per month in the          "Up to February                                          Gabapentin, n=3 for placebo) or side effects
                         treatment and the end of            Gabapentin-group. Especially     1987 45 patients                                         (nausea, tiredness, dizziness) (n=2 for
                         treatment is different in the two   the cumulative distribution of   (5 males, 40                                             Gabapentin, n=1 for placebo)."
                         groups." [Appendix E]               percent reduction of migraine    females, aged
                                                             attacks showed a marked trend    43±10 years)
                                                             in favour of the Gabapentin      have been
                                                             group (see fig. 1)."             investigated."
                                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 77 of 159




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 Study Publication           Primary outcome                    Primary outcome                   Number             Number          Number       Definitions for study population for
number    code                   (protocol)                         (Report)                    randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                 per group       group - Primary    group for
                                                                                                  (Report)       outcome (Report) safety (Report)

945-217   945-217.RR     "Four week migraine headache       "The primary efficacy endpoints    102 Gabapentin / Modified Intention to     95 Gabapentin /   "Modified Intention to Treat Population":
                         rate during Stabilization Period   were the 4-week migraine           55 Placebo       Treat: 76 Gabapentin      55 Placebo.       - "Randomized into the trial,"
                         2 calculated as                    headache rate during                                / 46 Placebo                                - "Completed the titration period,"
                         [(headache count during            stabilization period 2 and                                                                      - "Took at least one dose of study medication
                         Stabilization period) / (# of      change from baseline to                              Efficacy Evaluable: 65                     during stabilization period 2,"
                         Stabilization Period days) -       stabilization period 2 in the 4-                     Gabapentin / 37                            - "Provided complete diary data for at least
                         (number of days in unreliable      week migraine headache rate                          Placebo                                    one day during the baseline period (i.e., the 28
                         intervals)] X 28                   in efficacy evaluable patients."                                                                days prior to baseline visit), and"
                                                                                                                                                            - "Provided complete diary data for at least
                         Unreliable intervals are those                                                                                                     one day during stabilization period 2.
                         for which the patient did not
                         return a diary."                                                                                                                   "Efficacy Evaluable Population":
                                                                                                                                                            - "Included in the MITT population,"
                         "The primary analysis will be                                                                                                      - "Took at least 75% of study medication
                         performed using the evaluable                                                                                                      during participatin in stabilization period 2 or
                         patient population."                                                                                                               discontinued the study during stabilization
                                                                                                                                                            period 2 due to treatment failure,"
                                                                                                                                                            - "Took at least 50% of study medication
                                                                                                                                                            during stabilization period 1,"
                                                                                                                                                            - Did not use concomitant migraine
                                                                                                                                                            prophylactic medication,"
                                                                                                                                                            - "Provided complete diary data for at least
                                                                                                                                                            four days/week during the baseline period (i.e.,
                                                                                                                                                            the 28 days prior to baseline visit),"
                                                                                                                                                            - "Provided complete diary data for at least
                                                                                                                                                            four days/week during stabilization period 2 or
                                                                                                                                                            discontinued due to treatment failure,"
                                                                                                                                                            - "Achieved a stable dose of 1800 mg/day
                                                                                                                                                            during stabilization periods 1 and 2,"
                                                                                                                                                            - "Had a baseline period of at least 25 days on
                                                                                                                                                            placebo, and"
                                                                                                                                                            - "Had at least 25 days in stabilization period 2
                                                                                                                                                            or discontinued due to treatment failure."

                                                                                                                                                            "Safety Evaluable Population":
                                                                                                                                                            - "Took at least one dose of study medication,
                                                                                                                                                            and"
                                                                                                                                                            - "Provided at least one post-baseline
                                                                                                                                                            assessment."
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 78 of 159




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 Study Publication           Primary outcome                    Primary outcome                   Number             Number          Number       Definitions for study population for
number    code                   (protocol)                         (Report)                    randomized         analyzed per    analyzed per             analysis (Report)
                                                                                                 per group       group - Primary    group for
                                                                                                  (Report)       outcome (Report) safety (Report)

945-220   945-220.RR     "Four week migraine headache       "The primary efficacy endpoints    99 Gabapentin /   Modified Intention to    98 Gabapentin /   "Modified Intention to Treat Population":
                         rate during Stabilization Period   were the 4-week migraine           46 Placebo        Treat: 77 Gabapentin     45 Placebo.       - "Randomized into the trial,"
                         2 calculated as                    headache rate during                                 / 36 Placebo                               - "Completed the titration period,"
                         [(headache count during            stabilization period 2 and                                                                      - "Took at least one dose of study medication
                         Stabilization period) / (# of      change from baseline to                              Efficacy Evaluable: 62                     during stabilization period 2,"
                         Stabilization Period days) -       stabilization period 2 in the 4-                     Gabapentin / 33                            - "Provided complete diary data for at least
                         (number of days in unreliable      week migraine headache rate                          Placebo                                    one day during the baseline period (i.e., the 28
                         intervals)] X 28                   in efficacy evaluable patients."                                                                days prior to baseline visit), and"
                                                                                                                                                            - "Provided complete diary data for at least
                         Unreliable intervals are those                                                                                                     one day during stabilization period 2."
                         for which the patient did not
                         return a diary."                                                                                                                   "Efficacy Evaluable Population":
                                                                                                                                                            - "Included in the MITT population,"
                         "The primary analysis will be                                                                                                      - "Took at least 75% of study medication
                         performed using the evaluable                                                                                                      during participatin in stabilization period 2 or
                         patient population."                                                                                                               discontinued the study during stabilization
                                                                                                                                                            period 2 due to treatment failure,"
                                                                                                                                                            - "Took at least 50% of study medication
                                                                                                                                                            during stabilization period 1,"
                                                                                                                                                            - Did not use concomitant migraine
                                                                                                                                                            prophylactic medication,"
                                                                                                                                                            - "Provided complete diary data for at least
                                                                                                                                                            four days/week during the baseline period (i.e.,
                                                                                                                                                            the 28 days prior to baseline visit),"
                                                                                                                                                            - Provided complete diary data for at least four
                                                                                                                                                            days/week during stabilization period 2 or
                                                                                                                                                            discontinued due to treatment failure,"
                                                                                                                                                            - Achieved a stable dose of 1800-2400 mg/day
                                                                                                                                                            during stabilization periods 1 and 2,"
                                                                                                                                                            - Had a baseline period of at least 25 days on
                                                                                                                                                            placebo, and"
                                                                                                                                                            - Had at least 25 days in stabilization period 2
                                                                                                                                                            or discontinued due to treatment failure."

                                                                                                                                                            "Safety Evaluable Population":
                                                                                                                                                            "Patients who met all the following criteria
                                                                                                                                                            were included in the safety evaluable
                                                                                                                                                            population":
                                                                                                                                                            - "Took at least one dose of study medication,
                                                                                                                                                            and"
                                                                                                                                                            - "Provided at least one post-baseline
                                                                                                                                                            assessment."
                                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 79 of 159




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 Study Publication           Primary outcome                    Primary outcome                Number              Number          Number       Definitions for study population for
number    code                   (protocol)                         (Report)                 randomized          analyzed per    analyzed per             analysis (Report)
                                                                                              per group        group - Primary    group for
                                                                                               (Report)        outcome (Report) safety (Report)

945-220   Mathew 1998    "Four week migraine headache       "The primary efficacy            99 Gabapentin /   Not mentioned.    Not mentioned.   No definitions mentioned.
                         rate during Stabilization Period   measurement was the migraine 46 Placebo
                         2 calculated as                    headache rate during the fnal 4-
                         [(headache count during            week stabilization phase (S2)."
                         Stabilization period) / (# of
                         Stabilization Period days) -
                         (number of days in unreliable
                         intervals)] X 28

                         Unreliable intervals are those
                         for which the patient did not
                         return a diary."

                         "The primary analysis will be
                         performed using the evaluable
                         patient population."

945-220   Mathew 1999    "Four week migraine headache       "The primary efficacy            99 Gabapentin /   Not mentioned.    Not mentioned.   No definitions mentioned.
                         rate during Stabilization Period   measurement was the migraine 46 Placebo
                         2 calculated as                    headache rate during the fnal 4-
                         [(headache count during            week stabilization phase (S2)."
                         Stabilization period) / (# of
                         Stabilization Period days) -
                         (number of days in unreliable
                         intervals)] X 28

                         Unreliable intervals are those
                         for which the patient did not
                         return a diary."

                         "The primary analysis will be
                         performed using the evaluable
                         patient population."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 80 of 159




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 Study Publication           Primary outcome                    Primary outcome                 Number             Number          Number       Definitions for study population for
number    code                   (protocol)                         (Report)                  randomized         analyzed per    analyzed per             analysis (Report)
                                                                                               per group       group - Primary    group for
                                                                                                (Report)       outcome (Report) safety (Report)

945-220   Mathew 2001    "Four week migraine headache       "The primary outcome measure     99 Gabapentin /   Modified Intention to   98 Gabapentin /   Modified Intent to Treat: "This population
                         rate during Stabilization Period   was the 4-week migraine rate     46 Placebo        Treat: 56 Gabapentin    45 Placebo.       included any patient who was randomized,
                         2 calculated as                    during stabilization period 2                      / 31 Placebo                              took at least one dose of study medication
                         [(headache count during            ([SP2] the last 4 weeks of the                                                               during SP2, maintained a stable dose of 2400
                         Stabilization period) / (# of      stable-dosing period) for                                                                    mg/day during SP2, had baseline migraine
                         Stabilization Period days) -       patients who had received a                                                                  headache data and at least 1 day of migraine
                         (number of days in unreliable      stable dose of 2400 mg/day."                                                                 headache evaluations during SP2."
                         intervals)] X 28

                         Unreliable intervals are those
                         for which the patient did not
                         return a diary."

                         "The primary analysis will be
                         performed using the evaluable
                         patient population."
                                                                                                                                                                                                        Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 81 of 159




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                                                     Migraine
                         Table 8 - Comparison of Study Reports by Results and Conclusions
  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent  consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

879-201     879-201.RR      Results section of report                           "The percentages of patients with adverse events       Abstract of report: "Gabapentin is
                            (Section 6.2.2.1. Reduction in migraine             are comparable in both treatment groups (20.9% for     well tolerated in patients with
                            attacks from baseline to treatment): "The           placebo, 23.9% for gabapentin)."                       common migraine, but these data
                            reduction in attacks is significantly dependent                                                            are not sufficient to permit
                            on baseline values (p = 0.004). Treatment is        "The four patients who had severe adverse events       conclusions regarding efficacy."
                            not significant (p = 0.72)."                        and two other patients were withdrawn from the
                            (Section 6.2.4. Intent-to-treat Analysis): "In an   study are discussed in section 6.3.1.7., Withdrawals   Discussion section of report: "In
                            intent-to-treat analysis the mean response          Due to Adverse Events." [This section descr bed        conclusion, gabapentin showed
                            ratio was -0.109 for the placebo group and -        each of the 6 patients with the following adverse      marginal efficacy at best as
                            0.242 in the gabapentin group which was             events (treatment group): "moderate nausea"            prophylactic therapy in the
                            statistically significant (p=0.04)."                (placebo); "mild headache" (gabapentin); "modest       treatment of common migraine in
                                                                                gastric pain" (gabapentin); "mild nausea, but severe   this study."
                            "The mean of the placebo group is close to          gait problems, dizziness, concentration impairment
                            the mean of the efficacy sample (-0.093),           and tinnitus" (gabapentin); "severe muscle spasm       Conclusions section of report:
                            while there is some difference between the          and muscle twitching" (gabapentin); "severe gastric    "Gabapentin is well tolerated in
                            two means in the gabapentin group (efficacy:        pain" (gabapentin); "severe hyperthyroid state"        patients with common migraine, but
                            mean -0.170). The difference is due to the          (gabapentin).                                          these data are not sufficient to
                            exclusion of gabapentin patients whose                                                                     permit conclusions regarding
                            reduction in the number of attacks was above        Table 14 lists adverse events (percentages in          efficacy."
                            average (see 6.2.2.4)."                             parentheses for gabapentin / placebo): "Weight
                                                                                Increase" (0/2.3); "Fatigue" (2.2/4.7); "Headache"
                            Abstract of report: "There was no statistically     (2.2/2.3); "Dyspepsia" (0/2.3); Nausea &/or Vomiting
                            significant difference in the adjusted mean         (8.7/7.0); "Flatulence" (2.2/0); "Abdominal Pain"
                            reduction in migraine attack frequency              (4.3/2.3); "Hyperthyroid" (2.2/0); "Hypertonia"
                            between the placebo (0.7) and gabapentin            (2.2/0); "Ataxia" (2.2/0); "Confusion" (2.2/0);
                            (1.4) treatment groups, or in the response          "Dizziness" (13/4.7); "Tremor" (2.2/0);
                            ratio (difference in attack frequency from a        "Hyperkinesia" (0/2.3); "Twitching" (2.2/0);
                            retrospective three-month baseline to               "Paresthesia" (0/2.3); "Thinking Abnormal" (4.3/0);
                            treatment divided by the sum of attacks             "Rash" (0/2.3); "Tinnitus" (2.2/0).
                            during baseline and treatment) between the
                            placebo (-0.093) and gabapentin (-0.170)
                            groups."
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 82 of 159




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  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent  consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

879-201     Wessely 1987    "The frequency of migraine attacks was        "33 patients were analysed (n= 14 for Gabapentin,       Abstract of report: The report had
                            reduced from 6.5 to 4.1 per month in the      n= 19 for placebo), the other patients were drop-outs   no abstract.
                            Gabapentin-group and from 4.3 to 4.0 in the   because of either non-compliance (n=6 for
                            placebo group."                               Gabapentin, n=3 for placebo) or side effects            Text of report [There was no
                                                                          (nausea, tiredness, dizziness) (n=2 for Gabapentin,     distinction between results,
                                                                          n=1 for placebo)."                                      discussion and conclusions
                                                                                                                                  sections]: "Further investigations
                                                                                                                                  are needed to get more conclusive
                                                                                                                                  results."
                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 83 of 159




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  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent  consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

945-217     945-217.RR      Results section of report (Section 6.1.1. Four-   "Treatment-emergent adverse events led to               Abstract of report: The report had
                            Week Migraine Headache Rate): "As shown           premature discontinuation in 13% (7/55) of patients     no abstract.
                            in Table 11, the median 4-week migraine           in the placebo group and 17% (16/95) of patients in
                            headache rate at baseline was 5.0 for the         the Neurontin® group (p=0.64)."                         Discussion section of report: "This
                            efficacy evaluable patients in both the                                                                   study did not conclusively show
                            placebo group and the Neurontin® group            "The most frequently reported adverse events were       improvements in migraine
                            (p=0.579)."                                       asthenia, somnolence, infection and dizziness.          headache rate or in the quality of
                            "At stabilization period 2, the median rates      Asthenia was reported by 11% (6/55) and 8% (8/95)       life with Neurontin treatment among
                            were 3.0 and 3.7 (p=0.432) and the median         of patients in the placebo and Neurontin® groups,       the efficacy evaluable patients."
                            changes from baseline were -1.7 and -1.4 for      respectively (p=0.772)."
                            the placebo and the Neurontin® groups,            "Somnolence was reported by 5% (3/55) of placebo        Conclusions section of report: "In
                            respectively (p=0.583)."                          patients and 15% (14/95) of Neurontin® patients         the efficacy evaluable population,
                            "No statistically significant treatment           (p=0.110)."                                             no statistically significant
                            differences were observed at any study            "Thirteen percent (7/55) of patients in the placebo     differences were seen at any study
                            period (p!0.081)."                                group and no patients in the Neurontin® group           period between the placebo and
                                                                              reported infection (p<0.001)."                          Neurontin® groups with respect to
                                                                              "Dizziness occurred in a significantly (p=0.001)        4-week migraine headache rates;"
                                                                              higher proportion of patients treated with Neurontin®   "In the MITT population, a
                                                                              (24%; 23/95) than in those treated with placebo (4%;    statistically significant difference
                                                                              2/55)."                                                 favoring the Neurontin® group was
                                                                              "Thinking abnormal was reported for 7% (7/95) of        seen during the stabilization period
                                                                              patients in the Neurontin® group and no patient in      1 for median and median change
                                                                              the placebo group (p=0.048)."                           from baseline with respect to 4-
                                                                                                                                      week migraine headache rates
                                                                              There were no other significant differences between     (p"0.034);"
                                                                              the two treatment groups with respect to the
                                                                              frequency of the occurrence of individual adverse
                                                                              events."

                                                                              "Significantly (p<0.001) more patients in the
                                                                              Neurontin® group (47% [45/95]) experienced
                                                                              adverse events affecting the nervous system
                                                                              compared with placebo patients (20% [11/55])."
                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 84 of 159




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  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent  consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

945-220     945-220.RR      Results section of report (Section 6.1.1. Four-"The most frequently reported adverse events were    Abstract of report: The report had
                            Week Migraine Headache Rate): "Pooling of      asthenia, infection, dizziness, and somnolence.      no abstract.
                            centers was performed for Centers 5 and 7      Asthenia was reported for 27% (12/45) and 22%
                            for the efficacy evaluable analysis and the    (22/98) of patients in the placebo and Neurontin®    Discussion section of report: "This
                            MITT [Modified Intention to Treat] analysis."  groups, respectively (p=0.673); infection was        study did not conclusively show
                                                                           reported for 24% (p=0.049)."                         improvements in migraine
                            "As shown in Table 11, the median baseline 4- "Both dizziness and somnolence occurred more          headache rate or in the quality of
                            week migraine headache rates were 4.3 and      frequently in patients treated with Neurontin®:      life with Neurontin treatment among
                            4.6, respectively, for the efficacy evaluable  dizziness was reported for 11% (5/45) of placebo     the efficacy evaluable patients."
                            patients in the placebo and the Neurontin®     patients and 26% placebo patients and 24% (24/98)
                            groups (p=0.277)."                             of Neurontin® patients (p=0.075)."                   Conclusions section of report: "In
                                                                           "No adverse event occurred in a statistically        the efficacy evaluable population,
                            "At stabilization period 2, the median rates   significantly higher proportion of patients in the   no statistically significant
                            were 3.4 and 2.7 (p=0.171) and the median      Neurontin® group than in the placebo group."         differences were seen at any study
                            changes from baseline were -1.0 and -1.6                                                            period between the placebo and
                            (p=0.332), respectively for the placebo and    "A significantly (p=0.043) higher percentage of      Neurontin® groups with respect to
                            the Neurontin® groups."                        patients in the Neurontin® group (67%; 66/98)        4-week migraine headache rates;"
                                                                           experienced treatment-emergent associated            "A statistically significant (p=0.045)
                            "No statistically significant treatment        adverse events than in the placebo group (49%;       lower median migraine headache
                            differences were observed at any study         22/45)."                                             rate was seen in the Neurontin®
                            period (p!0.171)."                                                                                  group compared to the placebo
                                                                           "The percentage of patients who experienced          group in the MITT [Modified
                            "As shown in Table 12, among the MITT          associated adverse events within the nervous         Intention to Treat] population during
                            patients, the median baseline rates were 4.3   system was significantly higher (p=0.031) in the     stabilization period 2."
                            and 4.1, respectively, for the placebo and the Neurontin® group (51%; 50/98) than in the placebo
                            Neurontin® groups (p=0.474). At stabilization group (31%; 14/45)."
                            period 2, the median rates were statistically
                            significantly lower for the Neurontin® group
                            (2.7) compared to the placebo group (3.4,
                            p=0.045).

                            "The median changes from baseline at
                            stabilization period 2 were -0.9 and -1.7
                            (p=0.113), respectively, for the placebo and
                            Neurontin® groups."

945-220     Mathew 1998     Conference abstract: "Preliminary results      "The two treatment groups were comparable with       Conference abstract:
                            indicate that during S2subjects receiving      respect to treatment-limiting adverse events."       "Thusgabapentin [sic] is
                            gabapentin had a median headache rate of                                                            demonstrated to be an effective
                            2.7 versus 3.3 in the placebo group (P=0.03)."                                                      and safe prophylactic treatment for
                                                                                                                                migraine headaches."
                                                                                                                                                                                       Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 85 of 159




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  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent  consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

945-220     Mathew 1999     Conference abstract: Preliminary results          "The two treatment groups were comparable with           Conference abstract: "Thus,
                            indicate that during S2, subjects receiving       respect to treatment-limiting adverse events."           gabapentin is demonstrated to be
                            gabapentin had a median headache rate of                                                                   an effective and safe prophylactic
                            3.1 versus 3.6 in the placebo group (p<0.05)."                                                             treatment for migraine headaches."




945-220     Mathew 2001     Results section of report: "The migraine          "Adverse events occurring in more than 10% of the        Abstract of report: "Gabapentin is
                            headache rate during the second 4 weeks of        gabapentin-treated patients are presented in Table       an effective prophylactic agent for
                            the SP2 [stabilization phase 2] for patients      4."                                                      patients with migraine."
                            maintaining a stable dose of 2400 mg/day                                                                   "In addition, gabapentin appears
                            gabapentin is presented in Table 3 for the        Table 4 lists (percentages in parentheses for            generally well tolerated with mild to
                            placebo- and gabapentin-treated groups."          Gabapentin / Placebo): dizziness (25.5/11.1);            moderate somnolence and
                            "There was a statistically significant            somnolence (24.5/11.1); asthenia (22.4/26.7);            dizziness."
                            difference (P = 0.006) between treatment          infection (11.2/24.4).
                            groups at the end of the SP2 for the primary                                                               "Comments" section of report: "This
                            efficacy parameter."                              "Adverse events considered to be associated with         controlled clinical trial
                                                                              drug treatment resulted in patient withdrawal in 13 of   demonstrated that gabapentin was
                            Abstract of report: "At the end of the 12-week    98 (13.3%) gabapentin-treated patients and 3 of 45       effective as a prophylactic agent in
                            treatment phase, the median 4-week                (6.7%) placebo-treated patients."                        reducing the frequency of
                            migraine rate was 2.7 for the gabapentin-                                                                  headaches in patients with
                            treated patients maintained on a stable dose      "Among gabapentin-treated patients, asthenia,            migraine."
                            of 2400 mg/day and 3.5 for placebo-treated        dizziness, and somnolence were the only adverse          "Given the efficacy of gabapentin in
                            patients (P=0.006), compared with 4.2 and         events that resulted in study withdrawal in more than    migraine prophylaxis and its good
                            4.1, respectively, during the baseline period."   one patient."                                            tolerability profile, it should be
                                                                                                                                       considered an important addition in
                            "The median change in 4-week headache                                                                      the management of patients who
                            rate was statistically significant as well                                                                 are candidates for migraine
                            (P=0.013)."                                                                                                prophylaxis."
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 86 of 159




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                                                      Psychiatric Disorders
                                                    Table 1 - Table of Citations
Study Number           Publication code               Type of report                   Citation (Report)
945-209

                       945-209.RR                     Research report                   Research report number RR 720-04174.


                       Pande 2000b                    Full-paper                        Pande AC, Crockatt JG, Janney CA, Werth JL, Tsaroucha G., Gabapentin
                                                                                        Bipolar Disorder Study Group. Gabapentin in bipolar disorder: a placebo-
                                                                                        controlled trial of adjunctive therapy. Bipolar Disorders. 2000; 2: 249-255.


945-250

                       Wang 2002                      Full-paper                        Wang PW, Santosa C, Schumacher M, Winsberg ME, Strong C, Ketter TA.
                                                                                        Gabapentin augmentation therapy in bipolar depression. Bipolar Disorders. 2002;
                                                                                        4: 296-301.


945-291

                       945-291.Final Study Report     Research report                   Final Study Report 945-291.


                       Vieta 2006                     Full-paper                        Vieta E, Goikolea JM, Martinez-Aran A, Comes M, Verger K, Masramon X,
                                                                                        Sanchez-Moreno J, Colom F. A double-blind, randomized, placebo-controlled,
                                                                                        prophylaxis study of adjunctive gabapentin for bipolar disorder. Journal of Clinical
                                                                                        Psychiatry. 2006; 67(3): 473-477.
                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 87 of 159




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                                                                         Psychiatric Disorders
                                                                Table 2 - Summary of Reporting Biases
Study Publica- Protocol Date of                    Date of last  Type of      Location   Results of     Secondary          Reported      Publication     Conclusions of      Conclusions of
number tion code avail- research                   enrollment or results      of         primary        outcome            analyses on    bias           efficacy            safety
                 able   report                     end date for               publica-   analysis       (protocol)         selective     (negative       consistent with     consistent with
                        (internal)                 "Period(s)                 tion       per            reported as        populations   results and     primary             analysis of
                                                   covered" per                          research       primary            as primary    no              analysis result     adverse events
                                                   research                              report         outcome            analysis      publication     (Conclusions        (Conclusions
                                                   report                                               (report)                         final result)   section - report)   section - report)



945-209    Pande                      March 26,    July 1997.       Final     Journal    "Negative"    No              Yes                               Yes                 Yes
           2000b                      1999.                         results   article




945-250    Wang 2002                  Not          Not available.   Final     Journal    "Positive"    No              No                                Yes                 Yes
                                      available.                    results   article




945-291    Vieta 2006                 June 22,     February 2004.   Final     Journal    "Negative"    NA¹             Unclear²                          No                  Yes
                                      2004.                         results   article
                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 88 of 159




1 NA = Not Applicable; no protocol available                                             Psychiatric Disorders - Table 2                                              Saturday, August 09, 2008
2 Unclear: Analysis population not
mentioned or was unclear                                                                                                                                                            Page 1 of 1
                                      Psychiatric Disorders
              Table 3 - Comparison of Study Reports by Authors and Funding Source
  Study       Publication    Year   Type of            Citation                  Authors/               Authors/                Authors/ investigators           Funding source
 number          code                report                                    investigators          investigators               locations (Report)                (Report)
                                                                                 (Protocol)             (Report)

945-209      945-209.RR     1999    Research   Research report number RR   Principal Investigator:   PD Authors:             Appendix A.1 lists the following:   Not applicable.
                                    report     720-04174.                  Lori Altshuler            Crockatt J              1 & 15. "VA Med Ctr, West LA, Los   Research report.
                                                                                                     Janney C                Angeles, CA".
                                                                           Coinvestigator:           Pande AC                2. VA Medical Center, Providence
                                                                           Robert Gerner             Werth JL                RI.
                                                                                                                             3 & 16. "Univ of Texas Health
                                                                           Parke-Davis Clinical      Investigators [listed   Science Center", San Antonio, TX.
                                                                           Monitors:                 on the title page of    4 & 17. "Mood Disorder Program",
                                                                           Atul C. Pande             report]:                Cleveland, OH.
                                                                           Jerri G. Crockatt         1. L. Altshuler         5 & 18. University of Washington
                                                                           Lisa Greek-Donnellan      2. G. B. Kaplan         Medical Center, Seattle, WA.
                                                                                                     3. C. L. Bowden         6. University of Pennsylvania
                                                                           Parke-Davis               4. J. R. Calabrese      Medical Center, Philadelphia, PA.
                                                                           Biometrician:             5. D. L. Dunner         7. University of Texas Medical
                                                                           Noel Mohberg              6. L. Gyulai            Branch, Galveston, TX.
                                                                                                     7. R. Hirschfeld        8 & 19. Biological Psychiatry
                                                                                                     8. S. L. McElroy        Program, College of Medicine,
                                                                                                     9. T. Ketter            Cincinnati, OH.
                                                                                                     10. G. Sachs            9. Stanford School of Medicine,
                                                                                                     11. P. Suppes           Stanford, CA.
                                                                                                     12. C. Zarate           10. Massachusetts General
                                                                                                     13. J. Zajecka          Hospital, Boston, MA.
                                                                                                     14. R. B. Lydiard       11. UT Southwest Medical Center,
                                                                                                                             Dallas TX.
                                                                                                     [Additional             12. McLean Hospital, Belmont, MA.
                                                                                                     investigators listed    13. Women's Board Depression
                                                                                                     in Appendix A.1 but     Treatment & Research Center,
                                                                                                     not the title page of   Chicago, IL.
                                                                                                     report]:                14. Department of Psychiatry &
                                                                                                     15. Gerner R            Behavioral Sciences, Clinical
                                                                                                     16. Rhodes L            Research Section, Charleston, SC.
                                                                                                     17. Shelton M
                                                                                                     18. Hendrickson H
                                                                                                     19. Keck PE
                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 89 of 159




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  Study       Publication    Year   Type of                Citation                     Authors/               Authors/               Authors/ investigators         Funding source
 number          code                report                                           investigators          investigators              locations (Report)              (Report)
                                                                                        (Protocol)             (Report)

945-209      Pande 2000b    2000    Full-paper   Pande AC, Crockatt JG,           Principal Investigator:   1. Atul C Pande       "Atul C Pande, Jerri G Crockatt,   "This study was
                                                 Janney CA, Werth JL,             Lori Altshuler            2. Jerri G Crockatt   Carol A Janney, John L Werth,      funded by the Parke-
                                                 Tsaroucha G., Gabapentin                                   3. Carol A Janney     Georgia Tsaroucha and Gabapentin   Davis Research
                                                 Bipolar Disorder Study           Coinvestigator:           4. John L Werth       Bipolar Disorder Study             Division of Warner-
                                                 Group. Gabapentin in bipolar     Robert Gerner             5. Georgia            Group2[superscript]                Lambert Company."
                                                 disorder: a placebo-                                       Tsaroucha             Parke-Davis Pharmaceutical
                                                 controlled trial of adjunctive   Parke-Davis Clinical      6. Gabapentin         Research, Division of Warner-
                                                 therapy. Bipolar Disorders.      Monitors:                 Bipolar Disorder      Lambert Company, Ann Arbor, MI
                                                 2000; 2: 249-255.                Atul C. Pande             Study Group           48105, USA"
                                                                                  Jerri G. Crockatt         [Footnote]:
                                                                                  Lisa Greek-Donnellan      "The following are    7 & 8. Los Angeles, CA
                                                                                                            members of the        9 & 10. San Antonio, TX
                                                                                  Parke-Davis               Gabapentin Bipolar    11 & 12. Cleveland, OH
                                                                                  Biometrician:             Disorder Study        13 & 14. Seattle, WA
                                                                                  Noel Mohberg              Group:                15. Philadelphia, PA
                                                                                                            7. L. Altshuler       16. Galveston, TX
                                                                                                            8. R. Gerner          17. Providence, RI
                                                                                                            9. C.L. Bowden        18. Stanford, CA
                                                                                                            10. L. Rhodes         19. Charleston, SC
                                                                                                            11. J.R. Calabrese    20 & 21. Cincinnati, OH
                                                                                                            12. M. Shelton        22. Boston, MA
                                                                                                            13. D.L. Dunner       23. Dallas, TX
                                                                                                            14. H. Hendrickson    24. Chicago, IL
                                                                                                            15. L. Gyulai         25. Belmont, MA
                                                                                                            16. R. Hirschfeld
                                                                                                            17. G.B. Kaplan
                                                                                                            18. T. Ketter
                                                                                                            19. R.B. Lydiard
                                                                                                            20. S.L. McElroy
                                                                                                            21. P.E. Keck, Jr
                                                                                                            22. G. Sachs
                                                                                                            23. P. Suppes
                                                                                                            24. J. Zajecka
                                                                                                            25. C. Zarate
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 90 of 159




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  Study       Publication     Year     Type of               Citation                    Authors/               Authors/            Authors/ investigators       Funding source
 number          code                   report                                         investigators          investigators           locations (Report)            (Report)
                                                                                         (Protocol)             (Report)

945-250      Wang 2002       2002      Full-paper   Wang PW, Santosa C,            Principal Investigator:   1. Wang PW         All authors:                     "This study was
                                                    Schumacher M, Winsberg         1. Terence A. Ketter      2. Santosa C       Department of Psychiatry and     supported by a
                                                    ME, Strong C, Ketter TA.                                 3. Schumacher M    Behavioral Sciences, Stanford    research grant from
                                                    Gabapentin augmentation        Co-investigator(s):       4. Winsberg ME     University School of Medicine,   Pfizer, Inc."
                                                    therapy in bipolar             2. Mirene E. Winsberg     5. Strong C        Stanford, CA, USA
                                                    depression. Bipolar            3. Sallie G. DeGolia      6. Ketter TA
                                                    Disorders. 2002; 4: 296-301.   4. Magdolna Dunai
                                                                                   5. Colleen O'Meara
                                                                                   6. Debbie L. Tate
                                                                                   7. Connie M. Strong

                                                                                   Parke-Davis Contact:
                                                                                   8. Diana Ryan




945-291      945-291.Final   Not       Research     Final Study Report 945-291.    Protocol not available.   Not mentioned in   Not mentioned in available       Not applicable.
             Study Report    mentio-   report                                                                available          documents.                       Research report
                             ned.                                                                            documents.                                          (Final Study Report).
                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 91 of 159




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  Study       Publication    Year   Type of                Citation                    Authors/               Authors/               Authors/ investigators             Funding source
 number          code                report                                          investigators          investigators              locations (Report)                  (Report)
                                                                                       (Protocol)             (Report)

945-291      Vieta 2006     2006    Full-paper   Vieta E, Go kolea JM,           Protocol not available.   1. Eduard Vieta       1, 2, 3, 4, 7 & 8. Bipolar Disorders   "This study was
                                                 Martinez-Aran A, Comes M,                                 2. Jose Manuel        Program, Institute of Neuroscience,    supported by Pfizer
                                                 Verger K, Masramon X,                                     Goikolea              Hospital Clinic, University of         S.A., Madrid, Spain."
                                                 Sanchez-Moreno J, Colom                                   3. Anabel Martinez-   Barcelona, IDIBAPS, Barcelona,         "we thank the
                                                 F. A double-blind,                                        Aran                  Spain                                  Spanish collaborative
                                                 randomized, placebo-                                      4. Merce Comes        5. Investigation, Development, and     group of the Pfizer
                                                 controlled, prophylaxis study                             5. Katia Verger       Innovation Department, Pfizer S.A.     S.A. study #0945-
                                                 of adjunctive gabapentin for                              6. Xavier Masramon    6. Euroclin Institute, Barcelona,      421-291."
                                                 bipolar disorder. Journal of                              7. Jose Sanchez-      Spain.
                                                 Clinical Psychiatry. 2006;                                Moreno                7. Department of Psychiatry,
                                                 67(3): 473-477.                                           8. Francesc Colom     Autonomous University of Madrid,
                                                                                                                                 Madrid, Spain.
                                                                                                                                 8. Department of Psychological
                                                                                                                                 Medicine, Institute of Psychiatry,
                                                                                                                                 London, England.
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 92 of 159




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                                              Psychiatric Disorders
                 Table 4 - Comparison of Study Reports by Participant Inclusion/Exclusion Criteria
 Study       Publication      Type of   Participant inclusion criteria (Protocol)               Participant inclusion criteria (Report)              Enrollment Enrollment Number
number          code           report                                                                                                                 start date end date   of sites

945-209      945-209.RR     Research    "Participants will meet the following criteria to be   [Synopsis of report]: "patients must have scored      March 1996.   July 1997.      "14
                            report      eligible to participate in the study:                  !12 on the Young Mania Rating Scale (YMRS) at                                    Centers in
                                        - Diagnosis of Bipolar I disorder (DSM-IV) with        visit V1 and must have scored !8 at V2 and V3."                                   the US"
                                        manic/hypomanic or mixed symptomatology
                                        despite adequate ongoing therapy with lithium,         The research report consisted of a synopsis, letter
                                        valproate, or lithium plus valproate in combination;   to investigators and appendices.
                                        - YMRS score !8 at B1, B2, and DBR;
                                        - Aged 16 years or older;
                                        - Males; or nonpregnant, nonlactating females who
                                        are postmenopausal, surgically sterilized, or using
                                        a barrier or hormonal method of contraception and
                                        have a negative pregnancy test;
                                        - Able to understand and cooperate with study
                                        procedures; and
                                        - Have signed a written informed consent prior to
                                        entering the study."
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 93 of 159




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 Study       Publication       Type of   Participant inclusion criteria (Protocol)                 Participant inclusion criteria (Report)                  Enrollment Enrollment Number
number          code            report                                                                                                                       start date end date   of sites

945-209      Pande 2000b    Full-paper   "Participants will meet the following criteria to be     "The study sample consisted of outpatients (n =           Not mentioned. Not mentioned.     "..14
                                         eligible to participate in the study:                    117) of either gender, aged 16 years or older.                                            centers in
                                         - Diagnosis of Bipolar I disorder (DSM-IV) with          Patients were required to have a diagnosis of                                             the USA."
                                         manic/hypomanic or mixed symptomatology                  bipolar I disorder based on DSM-IV criteria with
                                         despite adequate ongoing therapy with lithium,           manic/hypomanic or mixed symptoms. A
                                         valproate, or lithium plus valproate in combination;     structured clinical interveiw was not required for
                                         - YMRS score !8 at B1, B2, and DBR;                      diagnosis."
                                         - Aged 16 years or older;
                                         - Males; or nonpregnant, nonlactating females who        "To be included in this study, patients had to meet
                                         are postmenopausal, surgically sterilized, or using      criteria for a lifetime diagnosis of bipolar disorder
                                         a barrier or hormonal method of contraception and        (type I) and score ! 12 on the Young Mania Rating
                                         have a negative pregnancy test;                          Scale at the initial clinic visit, despite ongoing
                                         - Able to understand and cooperate with study            therapy with lithium, valproate or lithium and
                                         procedures; and                                          valproate in combination."
                                         - Have signed a written informed consent prior to
                                         entering the study."                                     "Patients were required to have a plasma lithium
                                                                                                  level of ! 0.5 mEq/L, or a plasma valproate
                                                                                                  concentration of ! 50 "g/mL."




945-250      Wang 2002      Full-paper   "1. Males or nonpregnant, nonlactating females           "Twenty-three outpatients meeting DSM-IV criteria         Not mentioned. Not mentioned.       1
                                         who are postmenopausal, surgically sterilized, or        for bipolar I or II disorder by semistructured clinical
                                         using a barrier or hormonal method of                    interview were seen in the Bipolar Disorders Clinic
                                         contraception and have a negative pregnancy test,        at Stanford University."
                                         age 16 years or older, no weight restriction
                                         2. A verified diagnosis of Bipolar Disorders (BPI,       "All met DSM-IV criteria for major depressive
                                         BPII, or BPNOS by DSM-IV) with depressed                 episode with a 28-item HDRS [Hamilton
                                         symptomatology despite ongoing therapy with              Depression Rating Scale] > 18 at screening, and
                                         mood stabilizer(s).                                      at baseline, 1 week later."
                                         3. HAM-D score of at least 16 at B1 and OTC
                                         (Open Treatment Commencement); Able to
                                         understand and cooperate with study procedures;
                                         and prior to participation in this study, each subject
                                         must sign an informed consent."
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 94 of 159




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 Study       Publication        Type of   Participant inclusion criteria (Protocol)    Participant inclusion criteria (Report)               Enrollment Enrollment Number
number          code             report                                                                                                       start date end date   of sites

945-291      945-291.Final   Research     Protocol not available.                     Not mentioned in available documents.                  May 14, 1999.   February 26,       Not
             Study Report    report                                                                                                                          2004.            mentioned.




945-291      Vieta 2006      Full-paper   Protocol not available.                     "Twenty-five subjects aged from 18 to 75 years         May 1999.       February 2004.       7
                                                                                      with a diagnosis of bipolar I or II disorder
                                                                                      (according to DSM-IV criteria) treated with any
                                                                                      standard mood stabilizer like lithium, valproate,
                                                                                      carbamazepine, or any combination during the last
                                                                                      year were recruited."

                                                                                      "Other inclusion criteria were as follows: 2 bipolar
                                                                                      episodes or more during the last year, Clinical
                                                                                      Global Impressions scale for Bipolar Illness,
                                                                                      Modified (CGI-BP-M) score ! 4, last episode
                                                                                      having occurred within 6 months prior to
                                                                                      randomization, and, if the subject was treated with
                                                                                      thyroxine, stable treatment during the last year."

                                                                                      "Importantly, the patients had to be euthymic at
                                                                                      randomization, defined as a score of 8 or less on
                                                                                      the Hamilton Rating Scale for Depression (HAM-D)
                                                                                      and 4 or less on the Young Mania Rating Scale
                                                                                      (YMRS)."

                                                                                      "Therefore, patients had to be in clinical remission
                                                                                      at study entry, allowing the assessment of the
                                                                                      actual prophylactic effects of the therapy. Indeed,
                                                                                      this rather unusual design caused a number of
                                                                                      protocol violations, as some patients who were
                                                                                      initially enrolled had to be excluded because they
                                                                                      were not in remission at study entry."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 95 of 159




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                                                                 Psychiatric Disorders
                                                      Table 5 - Interventions and Run-in Phase
  Study Publication           Run-in phase (Protocol)                   Run-in phase (Report)              Trial design       Total length of         Description of intervention              Treatment
 number    code                                                                                                                 follow-up                       (Report)                      (gabapentin
                                                                                                                                                                                             dose, duration,
                                                                                                                                                                                               frequency)
                                                                                                                                                                                             different from
                                                                                                                                                                                                 protocol

945-209    945-209.RR       "Following the 2-week, single-blind,   [Synopsis of report]: "Following a 2-   Parallel-groups   10 weeks.                [Synopsis of report]: "Gabapentin
                            placebo baseline period, double-       week, single-blind placebo lead-in                        [Synopsis of report]:    (or matching placebo) was given at
                            blind study drug is added-on to        and stabilization phase, patients                         "Following a 2-week,     a dose of 600 to 3600 mg/day
                            patients' existing therapy as          were randomized to receive either                         single-blind placebo     divided into 3 times daily (TID)
                            gabapentin 600 to 3600 mg/day or       placebo or gabapentin in a 10-week,                       lead-in and              dosing. The design called for study
                            matching placebo administered          double-blind, flexible-dose, parallel                     stabilization phase,     medication dosing to increase in up
                            orally BID or TID for 10 weeks."       group, multicenter study."                                patients were            to 600-mg increments (!2
                                                                                                                             randomized to            capsules) per day to a maximum
                                                                                                                             receive either           daily dosage of 3600 mg/day."
                                                                                                                             placebo or               "Dosing adjustments were made at
                                                                                                                             gabapentin in a 10-      the discretion of the investigator
                                                                                                                             week, double-blind,      according to the clinical status of
                                                                                                                             flexible-dose,           the patient."
                                                                                                                             parallel group,          "At the end of the 10-week double-
                                                                                                                             multicenter study."      blind treatment phase, study
                                                                                                                                                      medication dose was decrease by
                                                                                                                                                      2 capsules/day."

945-209    Pande 2000b      "Following the 2-week, single-blind,   "The study began with a 2-week,         Parallel-groups   10 weeks.                "If patients continued to meet entry
                            placebo baseline period, double-       single-blind, placebo lead-in, during                     "Patients were           criteria at the end of the placebo
                            blind study drug is added-on to        which the doses of lithium and/or                         evaluated at weekly      lead-in, they were randomized to
                            patients' existing therapy as          valproate could be adjusted to the                        visits for the first 4   double-blind treatment with either
                            gabapentin 600 to 3600 mg/day or       clinician's satisfaction and the                          weeks after              gabapentin (dosed flexibly between
                            matching placebo administered          minimum threshold concentrations                          randomization, and       600 and 3600 mg/day, given t.i.d)
                            orally BID or TID for 10 weeks."       mentioned above could be obtained."                       biweekly for the next    or placebo for 10 weeks."
                                                                                                                             6 weeks."                "After randomization, the doses of
                                                                                                                                                      lithium and valproate were required
                                                                                                                                                      to be held steady unless dose
                                                                                                                                                      changes were required to ensure
                                                                                                                                                      patient safety."
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 96 of 159




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  Study Publication           Run-in phase (Protocol)               Run-in phase (Report)             Trial design       Total length of       Description of intervention              Treatment
 number    code                                                                                                            follow-up                     (Report)                      (gabapentin
                                                                                                                                                                                      dose, duration,
                                                                                                                                                                                        frequency)
                                                                                                                                                                                      different from
                                                                                                                                                                                          protocol

945-250    Wang 2002        "This study comprises 2 periods:    Not mentioned.                        Not applicable    "12-week open trial"   Gabapentin.
                            open baseline evaluation and open                                                                                  "Patients received a 12-week open
                            treatment (Appendix C)."                                                                                           trial of GBP [gabapentin] added to
                                                                                                                                               current stable psychotropic
                                                                                                                                               regimen."
                                                                                                                                               "GBP was initiated at 300 mg at
                                                                                                                                               bedtime and increased by 300 mg
                                                                                                                                               every four nights until symptom
                                                                                                                                               relief or adverse effects were
                                                                                                                                               noted."
                                                                                                                                               "Final GBP dose was clinically
                                                                                                                                               determined, but did not exceed
                                                                                                                                               3600 mg per day in divided doses
                                                                                                                                               (range 600-3300 mg)."
                                                                                                                                               "GBP was given as a single
                                                                                                                                               evening dose up to 1200 mg; and
                                                                                                                                               above this in divided doses, as a
                                                                                                                                               result of saturable gastrointestinal
                                                                                                                                               absorption."

945-291    945-291.Final    Protocol not available.             Not mentioned in available            Parallel-groups   Not mentioned in       "The patients were randomized to 2
           Study Report                                         documents.                                              available documents.   parallels groups, inititated the
                                                                                                                                               titration during 1 week received
                                                                                                                                               Gabapentin or Placebo added to
                                                                                                                                               previous treatment (Lithium,
                                                                                                                                               Valproate, Carbamazepine or any
                                                                                                                                               combination) and no treatment with
                                                                                                                                               antipsychotics and
                                                                                                                                               antidepressants."

                                                                                                                                               "The patients who received
                                                                                                                                               Gabapentin were taken an initial
                                                                                                                                               dosage of 1200 mg/ day, this
                                                                                                                                               dosage was maintained until the
                                                                                                                                               end of the study. In the presence of
                                                                                                                                               a new episode, the dosage could
                                                                                                                                               was increased until 2400 mg/ day
                                                                                                                                               and in the presence of drug related
                                                                                                                                               adverse event, the dosage could
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 97 of 159




                                                                                                                                               was reduced until 900 mg/ day."


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  Study Publication           Run-in phase (Protocol)       Run-in phase (Report)              Trial design       Total length of      Description of intervention             Treatment
 number    code                                                                                                     follow-up                    (Report)                     (gabapentin
                                                                                                                                                                             dose, duration,
                                                                                                                                                                               frequency)
                                                                                                                                                                             different from
                                                                                                                                                                                 protocol

945-291    Vieta 2006       Protocol not available.     "Randomly assigned patients were       Parallel-groups   "The trial duration   Gabapentin.
                                                        titrated during 1 week, and they                         was 1 year."          "Randomly assigned patients were
                                                        received gabapentin or placebo                                                 titrated during 1 week, and they
                                                        added to the previous treatment..."                                            received gabapentin or placebo
                                                                                                                                       added to the previous treatment
                                                                                                                                       (lithium, valproate, carbamazepine,
                                                                                                                                       or any combination) and no
                                                                                                                                       treatment with antipsychotics and
                                                                                                                                       antidepressants."
                                                                                                                                       "Patients who received gabapentin
                                                                                                                                       started with an initial dosage of
                                                                                                                                       1200 mg/day; this dosage was
                                                                                                                                       maintained until the end of the
                                                                                                                                       study."
                                                                                                                                       "In the presence of emerging
                                                                                                                                       symptoms, the dosage could be
                                                                                                                                       increased up to 2400 mg/day in
                                                                                                                                       either arm, and, in the presence of
                                                                                                                                       a drug-related adverse event, the
                                                                                                                                       dosage could be reduced to 900
                                                                                                                                       mg/day."
                                                                                                                                       "The drug was taken 3 times a day."
                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 98 of 159




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                                                                 Psychiatric Disorders
                                                                 Table 6 - Risk of Bias
Study       Publica- Random Random Method of                     Method of                 Conceal-     Conceal-     Method of             Double- Double- Blinding:            Blinding:
number       tion    allocation allocation allocation            allocation                ment of      ment of      allocation            blind      blind    Notes            Notes
            code     (Protocol) (Report) (Protocol)              (Report)                  allocation   allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                           (Protocol)    (Report)    (Report)

945-209     945-                           "To ensure a          [Synopsis of report]:                               No description of                         No description   No description
            209.RR                         balance in study      "Following a 2-week,                                any attempt to                            on who was       on who was
                                           treatment             single-blind placebo                                conceal allocation.                       blinded in       blinded in single-
                                           assignment within     lead-in and                                                                                   single-blind     blind and double-
                                           these ongoing         stabilization phase,                                                                          and double-      blind phases of
                                           therapy               patients were                                                                                 blind phases     the study.
                                           categories, the       randomized to                                                                                 of the study.
                                           study medication      receive either
                                           will be randomly      placebo or
                                           assigned within       gabapentin in a 10-
                                           the lithium,          week, double-blind,
                                           valproate, or         flexible-dose, parallel
                                           lithium plus          group, multicenter
                                           valproate strata in   study."
                                           each center."

945-209     Pande                          "To ensure a          "If patients continued                              No description of                         No description   No description
            2000b                          balance in study      to meet entry criteria                              any attempt to                            on who was       on who was
                                           treatment             at the end of the                                   conceal allocation.                       blinded in       blinded in single-
                                           assignment within     placebo lead-in, they                                                                         single-blind     blind and double-
                                           these ongoing         were randomized to                                                                            and double-      blind phases of
                                           therapy               double-blind                                                                                  blind phases     the study.
                                           categories, the       treatment with either                                                                         of the study.
                                           study medication      gabapentin (dosed
                                           will be randomly      flexibly between 600
                                           assigned within       and 3600 mg/day,
                                           the lithium,          given t.i.d) or
                                           valproate, or         placebo for 10
                                           lithium plus          weeks."
                                           valproate strata in
                                           each center."
                                                                                                                                                                                                     Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 99 of 159




Saturday, August 09, 2008                                                 Psychiatric Disorders - Table 6                                                                         Page 1 of 2
Study       Publica- Random Random Method of                  Method of                  Conceal-     Conceal-     Method of             Double- Double- Blinding:           Blinding:
number       tion    allocation allocation allocation         allocation                 ment of      ment of      allocation            blind      blind    Notes           Notes
            code     (Protocol) (Report) (Protocol)           (Report)                   allocation   allocation   concealment           (Protocol) (Report) (Protocol)      (Report)
                                                                                         (Protocol)    (Report)    (Report)

945-250     Wang                           "This study will   "Twenty-three                                        Not applicable.                           Not applicable. Not applicable.
            2002                           have an open,      outpatients meeting
                                           uncontrolled       DSM-IV criteria for
                                           design."           bipolar I or II disorder
                                                              by semistructured
                                                              clinical interview
                                                              were seen in the
                                                              Bipolar Disorders
                                                              Clinic at Stanford
                                                              University."

945-291     945-                           Protocol not       Not mentioned in                                     No description of                         Protocol not    No description
            291.Final                      available.         available documents.                                 any attempt to                            available.      on who was
            Study                                                                                                  conceal allocation                                        blinded.
            Report                                                                                                 in available
                                                                                                                   documents.

945-291     Vieta                          Protocol not       "The randomization                                   No description of                         Protocol not    "Both subjects
            2006                           available.         was generated                                        any attempt to                            available.      and clinicians
                                                              confidentially by the                                conceal allocation.                                       were blinded
                                                              sponsor (K.V. and                                                                                              regarding
                                                              X.M. Pfizer S.A.,                                                                                              gabapentin/place
                                                              Spain) prior to the                                                                                            bo assignment."
                                                              study using the SAS
                                                              Statistical Package
                                                              (SAS Institute, Inc.;
                                                              Cary, N.C.) for the
                                                              computer."
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 100 of 159




Saturday, August 09, 2008                                               Psychiatric Disorders - Table 6                                                                         Page 2 of 2
                                                   Pscyhiatric Disorders
                                Table 7 - Primary Outcome and Number of Patients Assessed
  Study      Publica-           Primary outcome                    Primary outcome                 Number                 Number          Number                  Definitions for study population
 number      tion code              (protocol)                         (Report)                  randomized             analyzed per    analyzed per                    for analysis (Report)
                                                                                                  per group           group - Primary    group for
                                                                                                   (Report)           outcome (Report) safety (Report)

945-209     945-209.RR "The primary efficacy                   "The primary efficacy           [Synopsis of           [Synopsis of report]:    58 Gabapentin /   Intent-to-treat population (Letter to
                       measures will be baseline to            measures were the baseline to   report]: Not           "Week 1 Completers":     59 Placebo        Investigators): "The intent-to-treat
                       end point change in the HAM-D           end point change in YMRS        mentioned.             52 Gabapentin / 59       (Appendix C.45)   population for this study consisted of 117
                       [Hamilton Depression Rating             score and the baseline to end   [Letter to             Placebo                                    patients randomized, of whom 114 had a
                       Scale] total score; baseline to         point change in HAM-D score."   Investigators]: "The   "Intent to Treat (ITT)                     post-randomization observation on either
                       end point change in the YMRS            "The YMRS and HAM-D             intent-to-treat        population": 58                            placebo (n = 59) or gabapentin (n = 55)."
                       [Young Mania Rating Scale]              change scores were each         population for this    Gabapentin / 59
                       score; and percent of patients          analyzed using analysis of      study consisted of     Placebo                                    Week one Completers (Synopsis of report):
                       in each treatment group who             covariance (ANCOVA) for the     117 patients                                                      "Week One Completers were defined as
                       are responders on the ISS               Week 1 Completers population.   randomized, of                                                    patients who completed at least 7 days of
                       [Internal States Scale]."                                               whom 114 had a                                                    double-blind treatment at 600 or more
                                                                                               post-randomization                                                mg/day, and had a baseline (Visit 1, 2, or 3)
                            "The primary population will be                                    observation on                                                    and at least 1 post randomization
                            all patients randomized to                                         either placebo (n =                                               observation on or after study Day 6. Week 1
                            treatment who complete at                                          59) or gabapentin                                                 Completers were defined for each efficacy
                            least 7 days of double-blind                                       (n = 55)."                                                        parameter."
                            treatment at 600 or more
                            mg/day, have assessments at
                            baseline (visit DBR) and at
                            Week 1 or later, and who are
                            not excluded because of
                            protocol violations or
                            variations."

                            "A secondary population will be
                            the Intent-to-Treat population
                            which is defined as all patients
                            randomized to treatment and
                            who have at least 1
                            postrandomization visit."
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 101 of 159




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  Study      Publica-           Primary outcome                      Primary outcome                     Number                Number          Number                 Definitions for study population
 number      tion code              (protocol)                           (Report)                      randomized            analyzed per    analyzed per                   for analysis (Report)
                                                                                                        per group          group - Primary    group for
                                                                                                         (Report)          outcome (Report) safety (Report)

945-209     Pande           "The primary efficacy               "The efficacy assessments            Not mentioned.        58 Gabapentin / 59      58 Gabapentin /   Intent to treat population: "The efficacy
            2000b           measures will be baseline to        included the YMRS (10),              "The ITT population   Placebo                 59 Placebo        analyses were carried out on the intent-to-
                            end point change in the HAM-D       Hamilton Depression Rating           for this study                                                  treat (ITT) population that included all
                            [Hamilton Depression Rating         Scale (11) (HAM-D), Hamilton         comprised of 117                                                randomized patients who received at least
                            Scale] total score; baseline to     Anxiety Rating Scale (12)            patients                                                        one dose of study medication."
                            end point change in the YMRS        (HAM-A), Clinical Global             randomized, 114 of
                            [Young Mania Rating Scale]          Impression of Severity (CGIS)        whom had a post-                                                Week 1 Completers: Not mentioned.
                            score; and percent of patients      and Clinical Global Impression       randomization
                            in each treatment group who         of Change (CGIC)."                   observation on
                            are responders on the ISS           "The efficacy analyses were          either placebo (n =
                            [Internal States Scale]."           carried out on the intent-to-treat   59) or gabapentin
                                                                (ITT) population that included       (n = 55)."
                            "The primary population will be     all randomized patients who
                            all patients randomized to          received at least one dose of
                            treatment who complete at           study medication."
                            least 7 days of double-blind        "For all analyses, endpoint was
                            treatment at 600 or more            defined as the week-10
                            mg/day, have assessments at         (termination visit) score for
                            baseline (visit DBR) and at         patients who completed
                            Week 1 or later, and who are        treatment or the last available
                            not excluded because of             post-randomization score (last
                            protocol violations or              observation carried forward,
                            variations."                        LOCF) for patients who
                                                                withdrew from the study."
                            "A secondary population will be
                            the Intent-to-Treat population
                            which is defined as all patients
                            randomized to treatment and
                            who have at least 1
                            postrandomization visit."

945-250     Wang 2002       "The primary efficacy               "The primary outcome measure         Open-label,           22.                     22.               No definitions mentioned.
                            measures in this analysis will      was decreased in HDRS                uncontrolled study:   "One patient was lost
                            be Hamilton Depression (HAM-        [Hamilton Depression Rating          23 patients were      to follow-up early in
                            D) total score adjusted for         Scale] from baseline."               enrolled.             the study without
                            baseline score and the percent                                                                 evaluable data, and
                            of patients group who are                                                                      thus was not included
                            determined to be "responders"                                                                  in subsequent
                            according to the criterion of the                                                              analyses."
                            final HAM-D being at least fifty
                            percent less than the initial
                            HAM-D."
                                                                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 102 of 159




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  Study      Publica-           Primary outcome           Primary outcome                    Number                Number          Number               Definitions for study population
 number      tion code              (protocol)                (Report)                     randomized            analyzed per    analyzed per                 for analysis (Report)
                                                                                            per group          group - Primary    group for
                                                                                             (Report)          outcome (Report) safety (Report)

945-291     945-            Protocol not available.   "The primary efficacy              20 Gabapentin / 22    Intent-to-treat: 20   20 Gabapentin /   Intent-to-treat population:
            291.Final                                 parameter main was the             Placebo.              Gabapentin / 21       22 Placebo.       "Subjects were included in the Intent-to-
            Study                                     Clinical Global Impression of                            Placebo.                                Treat (ITT) Population if the subjects were
            Report                                    Severity (CGIS) of the disorder,                         Per Protocol: 13                        randomized, received at least one dose of
                                                      was assessed at all visits ot be                         Gabapentin / 12                         study medication, and had at least one post-
                                                      performed during the study by                            Placebo.                                baseline data for at least one of the efficacy
                                                      the CGIS."                                                                                       variables."

                                                      "The primary efficacy                                                                            Per Protocol population:
                                                      parameter was defined as the                                                                     "Subjects were included in the Per Protocol
                                                      change at month 12 from                                                                          (PP) population if the subjects were
                                                      baseline in the Clinical Global                                                                  included in the ITT population and met the
                                                      Impression of Severity (CGIS)."                                                                  following additional criteria:
                                                                                                                                                       - Subject between 18 and 75 years old;
                                                                                                                                                       - With more than 1 (! 2) episodes in the last
                                                                                                                                                       year and CGI score ! 4 at visit 1;
                                                                                                                                                       - HAM-D score " 8 or YMRS score " 4 at
                                                                                                                                                       visit 1;
                                                                                                                                                       - Had received concomitant permitted
                                                                                                                                                       medication only in the presence of an
                                                                                                                                                       episode during the study (see sections 5.3
                                                                                                                                                       and 7.6 of the protocol); and
                                                                                                                                                       - Had adequate treatment compliance rate
                                                                                                                                                       of 80% and 120% during study period."
                                                                                                                                                                                                        Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 103 of 159




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  Study      Publica-           Primary outcome           Primary outcome                   Number                 Number          Number                  Definitions for study population
 number      tion code              (protocol)                (Report)                    randomized             analyzed per    analyzed per                    for analysis (Report)
                                                                                           per group           group - Primary    group for
                                                                                            (Report)           outcome (Report) safety (Report)

945-291     Vieta 2006      Protocol not available.   "The primary efficacy               13 Gabapentin / 12   13 Gabapentin / 12       13 Gabapentin /   No definitions mentioned.
                                                      parameter was the CGI-BP-M          Placebo              Placebo.                 12 Placebo.
                                                      [Clinical Global Impressions                             "The reasons for                           "All statistical analyses were done by
                                                      scale for Bipolar Illness,                               discontinuation in the                     intention to treat and last observation
                                                      Modified], which was assessed                            gabapentin group                           carried forward."
                                                      at all study visits."                                    were as follows: 2
                                                      "This clinician-rated instrument                         subjects (15%) no
                                                      measures the severity of                                 longer wanted to
                                                      symptoms (subscales for                                  participate in the
                                                      manic and for depressive                                 study, 2 subjects
                                                      symptoms) and the severity of                            (15%) had lack of
                                                      the disorder (primary outcome                            efficacy, 1 subject
                                                      of this trial on a 7-point scale                         (8%) had adverse
                                                      ranging from 1 [not at all] to 7                         events, and 1 subject
                                                      [the most extremely ill patient])."                      (8%) had other
                                                                                                               reasons."
                                                                                                               "The reasons for
                                                                                                               discontinuation in the
                                                                                                               placebo group were
                                                                                                               as follows: 3 patients
                                                                                                               (25%) no longer
                                                                                                               wanted to participate
                                                                                                               in the study 1 subject
                                                                                                               (8%) had lack of
                                                                                                               efficacy, 1 subject
                                                                                                               (8%) had adverse
                                                                                                               events, and 1 subject
                                                                                                               (8%) had other
                                                                                                               reasons."
                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 104 of 159




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                                             Psychiatric Disorders
                        Table 8 - Comparison of Study Reports by Results and Conclusions
   Study       Publica- Results of primary analysis (Report)                              Adverse events (Report)                     Conclusions in abstract & Conclusions Conclusions
  number       tion code                                                                                                             discussion sections (Report) consistent    consistent
                                                                                                                                                                   with results with results
                                                                                                                                                                  in discussion in abstract
                                                                                                                                                                     (Report)     (Report)

945-209        945-209.RR Synopsis of report: "Baseline to endpoint            "Most adverse events were consistent with known       Synopsis of report: "The results
                          change in YMRS and HAM-D scores did not              side-effects of gabapentin, the most common being     from this study do not indicate that
                          favor the gabapentin group."                         somnolence and dizziness."                            gabapentin is effective as
                                                                               "Thirteen patients (6 of whom were receiving          adjunctive therapy. However, there
                            Letter to Investigators: "Table 1 shows the        gabapentin) experienced a serious adverse event."     was no evidence that gabapentin
                            baseline to end point changes by treatment in      "Five placebo-treated patients and 7 gabapentin-      caused a worsening of symptoms.
                            the YMRS and HAM-D. Neither scale favored          treated patients withdrew due to adverse events."     A lack of patient compliance may
                            gabapentin. To the contrary, placebo patients      "There were no deaths during the study. One patient   have biased the outcome as
                            showed a greater decrease in the total YMRS        died 10 months after discontinuing from the study."   gabapentin plasma concentrations
                            score than the gabapentin patients."                                                                     suggested that several patients had
                                                                                                                                     not taken study drug as prescribed."
                            [Table 1 of the letter provides the following
                            values for "Change" in YMRS and HAM-D                                                                    Letter to Investigators: "Given that
                            scores.                                                                                                  gabapentin is being used by many
                            For YMRS scores, the change values                                                                       clinicians with apparent success, it
                            reported were: -5.8 for gabapentin and -8.9                                                              seems likely the results of study
                            for placebo with an asterisk indicating "p<.05"                                                          945-209 are not entirely reliable.
                            in a footnote.                                                                                           While it cannot be asserted that
                            For HAM-D scores, the change values                                                                      gabapentin is effective in bipolar
                            reported were: -0.1 for gabapentin and -1.5                                                              disorder, the results of this study
                            for placebo."]                                                                                           also do not permit the conclusion
                                                                                                                                     that it is not. There was no
                            "When all patients who had a change in                                                                   evidence of patients on gabapentin
                            lithium doses (n = 16) are removed from the                                                              showing a worsening of symptoms
                            efficacy analysis, the YMRS treatment                                                                    either."
                            difference still favors placebo but is no longer
                            statistically significant."

                            "Another potential confound may have been
                            treatment non-compliance. Several patients
                            in the gabapentin group had plasma drug
                            levels below the limit of detection, suggesting
                            some of them may not have taken the drug
                            as prescribed."
                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 105 of 159




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   Study       Publica- Results of primary analysis (Report)                             Adverse events (Report)                      Conclusions in abstract & Conclusions Conclusions
  number       tion code                                                                                                             discussion sections (Report) consistent    consistent
                                                                                                                                                                   with results with results
                                                                                                                                                                  in discussion in abstract
                                                                                                                                                                     (Report)     (Report)

945-209        Pande        Results section of report: "However,             Table 5 lists adverse events and percentages            Discussion section of report: "The
               2000b        comparison of YMRS change scores from            (Gabapentin / Placebo): Somnolence (24.1/11.9);         findings of this study did not
                            baseline to endpoint (LOCF) by ANCOVA            dizziness (19/5.1); diarrhea (15.5/11.9); headache      demonstrate that gabapentin is an
                            revealed a significant difference that favored   (10.3/11.9); amnesia (10.3/3.4).                        effective adjunctive treatment when
                            placebo treatment."                              Table 6 lists "serious adverse events": Pericarditis;   adminsitered to patients with
                                                                             manic depressive reaction; manic reaction; cervix       bipolar disorder who have
                            [Table 2 of the report provides the following    carcinoma; psychosis.                                   moderate to severe symptoms that
                            values for "Adjusted means" for YMRS and                                                                 are persisting despite treatment
                            HAM-D scores.                                                                                            with lithium and/or valproate."
                            For YMRS scores, the "Adjusted means"                                                                    "When all patients who had a
                            reported were -6.5 for gabapentin and -9.9 for                                                           change in lithium doses are
                            placebo.                                                                                                 removed from the efficacy analysis,
                            For HAM-D scores, the "Adjusted means"                                                                   the YMRS treatment difference
                            reported were 0.01 for gabapentin and -1.3                                                               numerically favors placebo, but is
                            for placebo.]                                                                                            no longer statistically significant.
                                                                                                                                     This suggests that the patients
                                                                                                                                     whose lithium dose was adjusted
                                                                                                                                     during the baseline period have a
                                                                                                                                     disproportionately large influence
                                                                                                                                     on the overall results."
                                                                                                                                     "Another potential factor that may
                                                                                                                                     influence outcome in patients with
                                                                                                                                     bipolar disorder is treatment non-
                                                                                                                                     compliance. No gabapentin was
                                                                                                                                     detected in the plasma of some
                                                                                                                                     patients assigned to that treatment
                                                                                                                                     arm, suggesting poor compliance."
                                                                                                                                     "This study included a
                                                                                                                                     heterogeneous patient population
                                                                                                                                     who, despite being 'refractory' to
                                                                                                                                     mood-stabilizing treatments,
                                                                                                                                     showed a robust response to
                                                                                                                                     placebo."
                                                                                                                                     "Although gabapentin was not
                                                                                                                                     superior to placebo in this study,
                                                                                                                                     there was no evidence of patients
                                                                                                                                     on gabapentin showing a
                                                                                                                                     worsening of symptoms earlier."
                                                                                                                                     "Because we had no hint that
                                                                                                                                     gabapentin would have significant
                                                                                                                                     antidepressant effects, we
                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 106 of 159




                                                                                                                                     excluded those patients whose

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  number       tion code                                                                         discussion sections (Report) consistent    consistent
                                                                                                                               with results with results
                                                                                                                              in discussion in abstract
                                                                                                                                 (Report)     (Report)

                                                                                                 symptoms consisted only of
                                                                                                 depression at the time of entry into
                                                                                                 the study. This may have been an
                                                                                                 erroneous assumption and we may
                                                                                                 have excluded patients who could
                                                                                                 potentially be treatment
                                                                                                 responders."

                                                                                                 Abstract of report: "The findings of
                                                                                                 this study did not demonstrate that
                                                                                                 gabapentin is an effective
                                                                                                 adjunctive treatment when
                                                                                                 administered to outpatients with
                                                                                                 bipolar disorder."
                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 107 of 159




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   Study       Publica- Results of primary analysis (Report)                             Adverse events (Report)                       Conclusions in abstract & Conclusions Conclusions
  number       tion code                                                                                                              discussion sections (Report) consistent    consistent
                                                                                                                                                                    with results with results
                                                                                                                                                                   in discussion in abstract
                                                                                                                                                                      (Report)     (Report)

945-250        Wang 2002    Results section of report: "In the entire group   "Mild sedation was the most common adverse              Discussion section of the report:
                            of 22 patients, GBP [gabapentin]                  effect, noted in seven of 22 patients (32%)."           "These data suggest that
                            augmentation (mean final dose = 1725 ± 726                                                                adjunctive GBP [gabapentin] is
                            mg, range = 600-3300 mg) yielded a 53%            "Mean weight gain was 2.0 ± 6.9 pounds (p = ns          effective in bipolar depression."
                            mean decrease in HDRS [Hamilton                   [non-significant]), and was not related to GBP          "Thus, adjunctive GBP may be an
                            Depression Rating Scale] ratings from 32.5 ±      [gabapentin] dose."                                     important option for bipolar patients
                            7.7-16.5 ± 12.8 (t = 8.1, df = 21, p < 0.0001)                                                            with suboptimal antidepressant
                            (Table 2, Fig. 1)."                               "One patient, concurrently on DVPX [divalproex]         responses to standard mood
                                                                              (dose = 500 mg per day), discontinued GBP               stabilizers."
                                                                              because of impaired cognition, despite being a          "However, the significance and
                                                                              responder and remitter."                                generalizability of our findings to
                                                                                                                                      other patients are limited by the
                                                                              "Two subjects (one female BP II subject, with history   small sample size, open treatment
                                                                              of rapid cycling and antidepressant-induced             design, and lack of a randomized,
                                                                              hypomania and one male BP I subject, without            parallel control group."
                                                                              history of rapid cycling or antidepressant-induced      "However, such open designs
                                                                              hypomania) developed 3 days of hypomanic                suggest the need for formal,
                                                                              symptoms, which spontaneously remitted."                controlled studies."
                                                                                                                                      "Further studies with larger
                                                                              "One female BP II subject, with history of rapid        samples and blinded, randomized
                                                                              cycling and antidepressant-induced hypomania,           controlled methodology are
                                                                              became hypomanic, necessitating study                   required to further assess the
                                                                              discontinuation."                                       efficacy of this treatment strategy."

                                                                                                                                      Abstract of the report: "Open
                                                                                                                                      adjunctive GBP was effective and
                                                                                                                                      well tolerated in patients with mild
                                                                                                                                      to moderate bipolar depression."
                                                                                                                                      "This open pilot study must be
                                                                                                                                      viewed with caution, and
                                                                                                                                      randomized controlled studies are
                                                                                                                                      warranted."
                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 108 of 159




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   Study       Publica- Results of primary analysis (Report)                              Adverse events (Report)                     Conclusions in abstract & Conclusions Conclusions
  number       tion code                                                                                                             discussion sections (Report) consistent    consistent
                                                                                                                                                                   with results with results
                                                                                                                                                                  in discussion in abstract
                                                                                                                                                                     (Report)     (Report)

945-291        945-         "Primary efficacy results of the CGIS in the       "The most frequent adverse events in Gabapentin       "SUMMARY
               291.Final    ITT population were not statistically              group were: Constipation, 4 subjects, 20%;
               Study        significant (p=0,3952). Statistical Power of       insomnia, 3 subjects, 15%; headache, 3 subjects,      The adverse events profile of
               Report       the difference (0,4) was 14%."                     15 %; nausea 3 subjects, 15 %."                       Gabapentin in the study was
                                                                               "The most frequent adverse events in placebo group    consistent with the labeled adverse
                            "Change at month 12 vs baseline in                 were: Insomnia, 4 subjects, 18%; headache, 2          events for this product. This trial
                            Gabapentin group was -1,9 (±1,3) statistically     subjects, 9%; Diarrhea, 2 subject, 9%."               demonstrate that gabapentin is well
                            significant (p<0,05) and in Placebo group -0,8                                                           tolerated as add-on treatment in
                            (±1,4) was not statistically significant. Change   "One subject, who received Gabapentin,                patients with bipolar disorder.
                            at month 12 of Gabapentin vs Placebo was           discontinued due to a serious adverse event, it was
                            statically significant (p < 0,05)."                a myocardial infarction, 5,0% No subjects of the      The results of the primary and
                                                                               placebo group discontinued due to a serious           secondary efficacy parameter did
                                                                               adverse event."                                       not show statistically differences
                                                                                                                                     between Gabapentin and Placebo."
                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 109 of 159




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   Study       Publica- Results of primary analysis (Report)                            Adverse events (Report)                      Conclusions in abstract & Conclusions Conclusions
  number       tion code                                                                                                            discussion sections (Report) consistent    consistent
                                                                                                                                                                  with results with results
                                                                                                                                                                 in discussion in abstract
                                                                                                                                                                    (Report)     (Report)

945-291        Vieta 2006   Results section of report: "The change in CGI-   "Ten patients (77%) in the gabapentin group and 7      Discussion section of the report:
                            BP-M [Clinical Global Impressions scale for      taking placebo (58%) reported adverse events,          "Whereas there is no indication that
                            Bipolar Illness, Modified] score between         mostly mild."                                          gabapentin may have acute
                            groups was statistically significant                                                                    antimanic or antidepressant effects,
                            (gabapentin -2.1, placebo -0.6, p = 0.0046)."    "The most frequent ones, involving more than 10%       this trial suggests that gabapentin
                                                                             of patients in the gabapentin group were               may still carry some benefits on the
                                                                             constipation, N = 4 (31%); headache, N = 3 (23%);      long-term outcome."
                                                                             nausea, N = 3 (23%); dizziness, N = 2 (15%);
                                                                             insomnia, N = 2 (15%); and tremor, N = 2 (15%)."       "Besides, in this trial, there was no
                                                                                                                                    sign of destabilization of mood and
                                                                             "Only 1 patient in each group discontinued the study   there were few side effects."
                                                                             owing to an adverse event, including a patient who
                                                                             was randomly assigned to gabapentin and suffered       "However, the specific nature of the
                                                                             a myocardial infarction that was not considered to     long-term benefits is a bit unclear,
                                                                             be related to the treatment."                          because improvements were only
                                                                                                                                    significant in the CGI-BP-M [Clinical
                                                                                                                                    Global Impressions scale for
                                                                                                                                    Bipolar Illness, Modified] long-term
                                                                                                                                    outcome subscale (primary
                                                                                                                                    outcome measure) and the PSQI-6
                                                                                                                                    subscale."

                                                                                                                                    "The main reason for the absence
                                                                                                                                    of positive findings in survival
                                                                                                                                    analysis is likely to be the
                                                                                                                                    extremely high number of previous
                                                                                                                                    episodes in the gabapentin arm. It
                                                                                                                                    seems that randomization failed to
                                                                                                                                    balance such variables, particularly
                                                                                                                                    the number of previous depressive
                                                                                                                                    episodes, which was 19 in the
                                                                                                                                    gabapentin arm as compared to 8
                                                                                                                                    in the placebo arm at baseline."

                                                                                                                                    "In conclusion, despite the
                                                                                                                                    apparent lack of acute efficacy of
                                                                                                                                    gabapentin, this study suggests
                                                                                                                                    that this drug is likely to provide
                                                                                                                                    some benefits on the long-term
                                                                                                                                    outcome of the disorder, confirming
                                                                                                                                    what some clinicians and open-
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 110 of 159




                                                                                                                                    label studies have suggested

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  number       tion code                                                                         discussion sections (Report) consistent    consistent
                                                                                                                               with results with results
                                                                                                                              in discussion in abstract
                                                                                                                                 (Report)     (Report)

                                                                                                 before."

                                                                                                 "Despite some limitations, this
                                                                                                 study also provides some indirect
                                                                                                 support to the notion that some
                                                                                                 drugs might possess mood-
                                                                                                 stabilizing properties regardless of
                                                                                                 their lack of efficacy for the acute
                                                                                                 treatment of manic or depressive
                                                                                                 episodes."

                                                                                                 Abstract of the report: "This small,
                                                                                                 randomized clinical trial comparing
                                                                                                 the prophylactic efficacy of
                                                                                                 adjunctive gabapentin to placebo
                                                                                                 suggests that, despite lack of acute
                                                                                                 efficacy, treatment with gabapentin
                                                                                                 might provide some benefit on the
                                                                                                 long-term outcome of bipolar
                                                                                                 disorder."
                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 111 of 159




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                                                    Nociceptive Pain
                                               Table 1 - Table of Citations
Study Number           Publication code          Type of report                 Citation (Report)
1032-001

                       1032-001.RR               Research report                 Research report number RR 720-04378

1032-002

                       1032-002.RR               Research report                 Research report number RR 720-04479.

1032-003

                       1032-003.RR               Research report                 Research report number RR 720-30044.

1032-004

                       1032-004.RR               Research report                 Research report number RR 720-04481.

1035-001

                       1035-001.RR               Research report                 Research report number RR 720-04455.

1035-001. Addndm-B

                       1035-001. Addndm-B.RR     Research report                 Research report number RR 720-04483.

1035-002

                       1035-002.RR               Research report                 Research report number RR 720-04471.
                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 112 of 159




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                                                               Nociceptive Pain
                                                    Table 2 - Summary of Reporting Biases
Study Publica- Protocol Date of         Date of last  Type of            Location Results of         Secondary     Reported      Publication     Conclusions of      Conclusions of
number tion code avail- research        enrollment or results            of       primary            outcome       analyses on    bias           efficacy            safety
                 able   report          end date for                     publica- analysis           (protocol)    selective     (negative       consistent with     consistent with
                        (internal)      "Period(s)                       tion                        reported as   populations   results and     primary             analysis of
                                        covered" per                                                 primary       as primary    no              analysis result     adverse events
                                        research                                                     outcome       analysis      publication     (Conclusions        (Conclusions
                                        report                                                       (report)                    final result)   section - report)   section - report)



1032-001    No            February      August 2, 1999.    No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
            publication   17, 2000.                        publication   publication


1032-002    No            October 31,   June 19, 2000.     No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
            publication   2000.                            publication   publication


1032-003    No            September     September 22,      No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
            publication   27, 2001.     2000.              publication   publication


1032-004    No            August 16,    April 12, 2000.    No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
            publication   2000.                            publication   publication


1035-001    No            June 28,      February 23,       No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
            publication   2000.         2000.              publication   publication


1035-001.   No            October 31,   March 15, 2000.    No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
Addndm-     publication   2000.                            publication   publication
B

1035-002    No            December      August 25, 2000.   No            No            "Negative"   NA¹            NA¹                           NA¹                 NA¹
            publication   20, 2000.                        publication   publication
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 113 of 159




* NA = Not Applicable                                                        Nociceptive Pain - Table 2                                                       Saturday, August 09, 2008
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      Table 3 - Comparison of Study Reports by Authors and Funding Source
 Study Publication            Year     Type of          Citation               Authors/                 Authors/              Authors/                Funding source
number    code                          report                               investigators            investigators         investigators                (Report)
                                                                               (Protocol)               (Report)          locations (Report)

1032-001   1032-001.RR      April 4,   Research Research report number   Principal Investigator:     PD Author(s):       "Study 1032-001 was          Not applicable.
                            2000       report   RR 720-04378             Paul Desjardins             Giordani AB         conducted under the          Research report.
                                                                                                     Buroker Kilgore M   direction of the Principal
                                                                         Coinvestigator:             Mundel T            Investigators, Stephen
                                                                         Stephen Daniels             Yan C               Daniels, DO, and Paul
                                                                                                                         Desjardins, DMD, PhD,
                                                                         Parke-Davis              Investigator(s):       at the Austin, Texas,
                                                                         Clinical/Medical         Daniels S              Clinical Research Center
                                                                         Colleagues:              Desjardins P           of Scirex Corporation and
                                                                         Michelle Buroker Kilgore                        monitored by Parke-
                                                                         Trevor Mundel                                   Davis personnel."

                                                                         Parke-Davis Statistician:
                                                                         Noel Mohberg

                                                                         Subinvestigator(s):
                                                                         R. Dean Jasper
                                                                         Steven J. Perkins
                                                                         Franklin Bonnasso
                                                                         Donald Steed
                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 114 of 159




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 Study Publication            Year     Type of          Citation              Authors/                 Authors/              Authors/             Funding source
number    code                          report                              investigators            investigators         investigators             (Report)
                                                                              (Protocol)               (Report)          locations (Report)

1032-002   1032-002.RR      October    Research Research report number   Parke-Davis               PGRD [Pfizer         7. University of         Not applicable.
                            31, 2000   report   RR 720-04479.            Clinical/Medical          Global Research &    Cleveland, Cleveland, OH Research report.
                                                                         Colleagues:               Development]         8. Analgesic
                                                                         Michelle Buroker Kilgore  Author(s):           Development, Ltd, New
                                                                         Trevor Mundel             1. Buroker Kilgore   York, NY
                                                                                                   M                    9. Northwestern
                                                                         Parke-Davis Statistician: 2. Diaz F            University, Chicago, IL
                                                                         Chongqing Yan             3. Giordani AB       10. Midwest Arthritis
                                                                                                   4. Mundel T          Center, Kalamazoo, MI
                                                                                                   5. Sesti AM          11. Altoona Center for
                                                                                                   6. Ventura AY        Clinical Research,
                                                                                                                        Duncansville, PA
                                                                                                    Investigator(s):    12 & 13. NTouch
                                                                                                    7. Roland           Research Corporation,
                                                                                                    Moskowitz           Decatur, GA
                                                                                                    8. Abraham          14. Advances in
                                                                                                    Sunshine            Medicine, Rancho
                                                                                                    9. Thomas           Mirage, CA
                                                                                                    Schnitzer           15. Halifax Clinical
                                                                                                    10. James Taborn    Research Institute,
                                                                                                    11. Alan Kivitz     Daytona Beach, FL
                                                                                                    12. David Coval     16 & 17. Metroplex
                                                                                                    13. Bobon Beningno Clinical Research Center,
                                                                                                    14. Maria           Dallas, TX
                                                                                                    Greenwald           18. Center for
                                                                                                    15. Jaques Caldwell Pharmaceutical
                                                                                                    16. Stanley Cohen   Research, Kansas City,
                                                                                                    17. Roy             MO
                                                                                                    Fleischmann         19. Tampa Bay Medical
                                                                                                    18. John Ervin      Research Inc,
                                                                                                    19. Robert Levin    Clearwater, FL
                                                                                                    20. Walter Chase    20. Private Practice,
                                                                                                    21. Charles Birbara Austin, TX
                                                                                                                        21. Clinical
                                                                                                                        Pharmacology Study
                                                                                                                        Group, Worcester, MA
                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 115 of 159




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 Study Publication            Year     Type of          Citation              Authors/                 Authors/              Authors/              Funding source
number    code                          report                              investigators            investigators         investigators              (Report)
                                                                              (Protocol)               (Report)          locations (Report)

1032-003   1032-003.RR      September Research Research report number    Parke-Davis               PGRD [Pfizer         7. University of          Not applicable.
                            27, 2001  report   RR 720-30044.             Clinical/Medical          Global Research &    Cleveland, Cleveland, OH Research report.
                                                                         Colleagues:               Development]         8. Northwestern
                                                                         Michelle Buroker Kilgore  Author(s):           University, Chicago, IL
                                                                         Trevor Mundel             1. Buroker Kilgore   9. Midwest Arthritis
                                                                                                   M                    Center, Kalamazoo, MI
                                                                         Parke-Davis Statistician: 2. Giordani AB       10. Altoona Center for
                                                                         Chongqing Yan             3. Mundel T          Clinical Research,
                                                                                                   4. Sesti AM          Duncansville, PA
                                                                                                   5. Ventura AY        11 & 12. NTouch
                                                                                                   6. Yan C             Research Corporation
                                                                                                                        13. Advances in
                                                                                                    Investigator(s);    Medicine, Rancho
                                                                                                    7. Roland           Mirage, CA
                                                                                                    Moskowitz           14. Halifax Clinical
                                                                                                    8. Thomas           Research Institute,
                                                                                                    Schnitzer           Daytona Beach, FL
                                                                                                    9. James Taborn     15 & 16. Metroplex
                                                                                                    10. Alan Kivitz     Clinical Research Center,
                                                                                                    11. David Coval     Dallas, TX
                                                                                                    12. Bobon Beningno 17. Center for
                                                                                                    13. Maria           Pharmaceutical
                                                                                                    Greenwald           Research, Kansas City,
                                                                                                    14. Jacques         MO
                                                                                                    Caldwell            18. Ractice, Austin, TX
                                                                                                    15. Stanley Cohen   19. Clinical
                                                                                                    16. Roy             Pharmacology Study
                                                                                                    Fleischmann         Group, Worcester, MA
                                                                                                    17. John Ervin
                                                                                                    18. Walter Chase
                                                                                                    19. Charles Birbara

1032-004   1032-004.RR      August     Research Research report number   Parke-Davis                PD Authors:         6. Houston Institute for   Not applicable.
                            16, 2000   report   RR 720-04481.            Clinical/Medical           1. Giordani AB      Clinical Research,         Research report.
                                                                         Colleagues:                2. Hotary L         Houston, Texas.
                                                                         Marykay Hes                3. Jaffe M
                                                                         Michael Jaffe              4. Nelson D
                                                                         Jean-Louis Abitbol         5. Sesti AM
                                                                         R. Michael Poole
                                                                                                   Investigator(s):
                                                                         Parke-Davis Statistician: 6. Lanza FL
                                                                         Chongqing Yan
                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 116 of 159




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 Study Publication            Year     Type of          Citation               Authors/                Authors/             Authors/            Funding source
number    code                          report                               investigators           investigators        investigators            (Report)
                                                                               (Protocol)              (Report)         locations (Report)

1035-001   1035-001.RR      June 28,   Research Research report number   Parke-Davis                PD Author(s):      5. SCIREX Corporation,   Not applicable.
                            2000       report   RR 720-04455.            Clinical/Medical           1. Diaz F          Austin, TX.              Research report.
                                                                         Colleagues:                2. Dougherty KM
                                                                         Author:                    3. Henry GC
                                                                         Michelle Buroker Kilgore   4. Mundel T

                                                                         Study Manager:             Investigator(s):
                                                                         Gregory C. Henry           5. Desjardins P

                                                                         Drug Director/Therapy
                                                                         Head:
                                                                         Trevor Mundel

                                                                         Statistician:
                                                                         Chongqing Yan

                                                                         Principal Investigator:
                                                                         Paul Desjardins

                                                                         Subinvestigator(s):
                                                                         Stephen Daniels
                                                                         R. Dean Jasper
                                                                         Franklin S. Bonasso
                                                                         Donald L. Steed
                                                                                                                                                                        Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 117 of 159




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 Study Publication          Year     Type of          Citation               Authors/                Authors/             Authors/            Funding source
number    code                        report                               investigators           investigators        investigators            (Report)
                                                                             (Protocol)              (Report)         locations (Report)

1035-001.   1035-001. Add October    Research Research report number   Protocol 1035-001:         PD Author(s):      5. SCIREX Corporation,   Not applicable.
Addndm-                   31, 2000   report   RR 720-04483.            Parke-Davis                1. Diaz F          Austin Texas.            Research report.
B                                                                      Clinical/Medical           2. Dougherty KM
                                                                       Colleagues:                3. Henry GC
                                                                       Author:                    4. Mundel T
                                                                       Michelle Buroker Kilgore
                                                                                                  Investigator(s):
                                                                       Study Manager:             5. Desjardins P
                                                                       Gregory C. Henry

                                                                       Drug Director/Therapy
                                                                       Head:
                                                                       Trevor Mundel

                                                                       Statistician:
                                                                       Chongqing Yan

                                                                       Principal Investigator:
                                                                       Paul Desjardins

                                                                       Subinvestigator(s):
                                                                       Stephen Daniels
                                                                       R. Dean Jasper
                                                                       Franklin S. Bonasso
                                                                       Donald L. Steed

                                                                       Protocol 1035-001
                                                                       Addendum-B:
                                                                       Investigator:
                                                                       Paul Desjardins

                                                                       Parke-Davis Approval
                                                                       Signatures:
                                                                       Study Manager:
                                                                       Greg Henry

                                                                       Drug Manager:
                                                                       Trevor Mundel

                                                                       Statistician:
                                                                       Chongqing Yan

                                                                       Therapeutic Head:
                                                                       Michael Poole
                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 118 of 159




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 Study Publication            Year     Type of          Citation              Authors/             Authors/             Authors/            Funding source
number    code                          report                              investigators        investigators        investigators            (Report)
                                                                              (Protocol)           (Report)         locations (Report)

1035-002   1035-002.RR      December   Research Research report number   Parke-Davis            PGRD [Pfizer       5. Analgesic             Not applicable.
                            20, 2000   report   RR 720-04471.            Clinical/Medical       Global             Development, Ltd., New   Research report.
                                                                         Colleagues:            Development &      York, NY
                                                                         Gregory Henry          Research]          6. Tucson Orthopedic
                                                                         Trevor Mundel          Author(s):         Institute, Tucson, AZ
                                                                         Chongqing Yan          1. Dougherty KM
                                                                                                2. Henry GC
                                                                                                3. Mundel T
                                                                                                4. Yan C

                                                                                                Investigator(s):
                                                                                                5. Sunshine A
                                                                                                6. Katz JA
                                                                                                                                                                    Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 119 of 159




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                                                     Nociceptive Pain
                                   Table 4 - Comparison of Study Reports by Participant
                                               Inclusion/Exclusion Criteria
  Study Publication Type of report                Participant inclusion criteria (Protocol)                        Participant inclusion criteria   Enrollment Enrollment             Number
 number    code                                                                                                              (Report)                start date end date               of sites

1032-001    1032-001.RR     Research report   "- Men or women. Women must have a negative                      No differences from protocol.        May 14, 1999   August 2, 1999 1
                                              pregnancy test and must be using a reliable form of
                                              contraception;
                                              - Age between 18 and 65 years (inclusive);
                                              - Scheduled for an outpatient oral surgical procedure to
                                              remove 1 to 2 ipsilateral third molars, at least 1 of which is
                                              mandibular and fully or partially impacted in bone;
                                              - Good health as determined by medical history and
                                              physical examination;
                                              - Negative alcohol breath test on day of surgery prior to
                                              surgery;
                                              - Must understand the nature of the study and provide a
                                              written informed consent as descr bed in Appendix E; and
                                              - Must be reliable, cooperative, and in the opinion of the
                                              investigator, able to understand the information required in
                                              the pain questionnaire/analgesia diary."
                                              "These criteria are mandatory and must be met to provide
                                              evaluable data."
                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 120 of 159




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  Study Publication Type of report                Participant inclusion criteria (Protocol)                       Participant inclusion criteria               Enrollment Enrollment           Number
 number    code                                                                                                             (Report)                            start date end date             of sites

1032-002    1032-002.RR     Research report   "Screening (maximum of 2 weeks)                                 No differences from protocol and                 December 20,   June 19, 2000   13
                                              Patients must meet the following mandatory inclusion            amendments to protocol in inclusion criteria     1999
                                              criteria at the time of screening to be eligible to enter the   described.
                                              washout phase:                                                  "Twenty patients who did not satisfy the entry
                                              - OA of the knee [per Amendment 1], specificially:              criteria in some respect were entered into the
                                                - Knee pain; and                                              study."
                                                - Grade 2, 3, or 4 OA by x-ray criteria as defined by the
                                              Kellgren and Lawrence Grading System of OA. This must
                                              be documented with a report from an x-ray of the study
                                              joint taken either at screening or within 1 year prior to
                                              screening;

                                              - Pain should be:
                                                - MILD, MODERATE, or SEVERE on a 4-point
                                              categorical scale when walking on a flat surface (ie,
                                              patients with EXTREME pain or NONE are excluded); and
                                                - Present for at least 15 of the preceding 30 days when
                                              walking on a flat surface

                                              - Men or women of any race or ethnic group (women must
                                              be postmenopausal, surgically sterilized, or using a
                                              method of contraception acceptable to the investigator);

                                              - At least 45 years of age;

                                              - Able to complete the required assessment
                                              questionnaires, tests, and evaluations. Visual and auditory
                                              acuity (with glasses or hearing aid, if required) must be
                                              sufficient to complete the protocol-specified procedures;

                                              - Other than the signs and symptoms associated with
                                              diagnosed OA, patients must be in good health and
                                              capable of ambulating continuously without assistance (a
                                              cane is the only allowable ambulation aid) for at least 5
                                              minutes; any concurrent diseases (eg, coronary artery
                                              disease, diabetes, hypertension) should be under good
                                              control as determined by the investigator. Patients may
                                              also have generalized OA affecting other joints in addition
                                              to the study joint, but the symptoms in joints other than
                                              the signal knee joint must clearly be of lesser severity.
                                              Each patient's health will be verified by history, screening
                                              physical examination, electrocardiogram, and clinical
                                              laboratory tests; and

                                              - Provide written informed consent. Patients must give
                                              voluntary and informed consent to participate in the study.
                                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 121 of 159




                                              Patients unable to provide written informed consent must
                                              demonstrate assent to the procedures and must have
                                              written consent from their legal representatives."

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 Study Publication Type of report       Participant inclusion criteria (Protocol)                  Participant inclusion criteria   Enrollment Enrollment   Number
number    code                                                                                               (Report)                start date end date     of sites


                                    "Washout (3-14 days)
                                    Upon entry into the washout phase, NSAID and/or
                                    analgesic therapy will be discontinued. Patients will be
                                    asked to complete daily pain diaries and must have
                                    completed them for 75% of the possible washout days.
                                    Within the 3- to 14-day washout phase, patients must:
                                    - Rate knee pain intensity on wa king on a flat surface as
                                    at least MODERATE for at least the day prior to
                                    randomization [per Amendment 1];
                                    - Have refrained from using any prior analgesic medication
                                    (except acetaminophen but mo more than 4 g/day [per
                                    Amendment 1]) for at least 5 half lives of the particular
                                    medication (see Appendix A.5);
                                    - Have refrained from taking acetaminophen 12 hours
                                    prior to randomization; and
                                    - Be randomized to study medication."
                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 122 of 159




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  Study Publication Type of report                Participant inclusion criteria (Protocol)                        Participant inclusion criteria   Enrollment Enrollment         Number
 number    code                                                                                                              (Report)                start date end date           of sites

1032-003    1032-003.RR     Research report   "Eligible patients include men or women who have                 No differences from protocol.        February 9,   September 22, "Eleven
                                              completed 4 weeks of treatment in Study 1032-002 (4-                                                  2000          2000          centers in
                                              week, randomized, double-blind, placebo- and positive-                                                                            the United
                                              controlled, multicenter study of gabapentin in combination                                                                        States"
                                              with naproxen sodium in patients with acute osteoarthritis
                                              [OA] pain the knee), a subset of screen failures for that
                                              protocol, and patients that have completed Addendum A
                                              to Study 1032-002."

                                              "The inclusion criteria applied to patients in protocol 1032-
                                              002 will also apply to this open-label extension. Briefly,
                                              elig ble patients are men or women at least 45 years of
                                              age with a diagnosis of OA of the knee.
                                              In addition, patients must meet the following inclusion
                                              criteria:
                                              - Completion of 4 weeks of treatment and all Visit 6
                                              assessments in Protocol 1032-002, or completion of 1
                                              week of treatment and all Visit 4 assessments in
                                              Addendum A to Protocol 1032-002. Addendum A patients
                                              must also complete all Visit 6 assessments in Protocol
                                              1032-002;
                                              - Patients that enroll from Protocol 1032-002 or
                                              Addendum A to Protocol 1032-002 must have been
                                              compliant, in the opinion of the investigator, with the study
                                              medication regimen and procedural requirements of those
                                              protocols;
                                              - Patients who are Screen failures in Protocol 1032-002
                                              but who met all of the inclusion/exclusion criteria except
                                              one of the following will be allowed to enter the open-label
                                              study:
                                                - Able to ambulate continuously without assistance (a
                                              cane is the only allowable ambulation aid) for at least 5
                                              minutes;
                                                - Patient has generalized OA affecting other joints in
                                              addition to the study joint, but symptoms in joints other
                                              than the signal knee joint must clearly be of lesser severity;
                                                - Presence of any prosthesis, implanted device, or brace
                                              of the study joint; or
                                                - Other screen failures may be allowed but only with
                                              prior approval from the Parke-Davis study manager.
                                              - Women must be postmenopausal, surgically sterilized,
                                              using oral contraceptives, or using another method of
                                              contraception acceptable to the investigator; and
                                              - Able to supply voluntary and informed consent to
                                              participate in the study. Patients unable to provide written
                                              informed consent must demonstrate assent to the
                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 123 of 159




                                              procedures and must have written consent from their legal
                                              representative(s)."


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  Study Publication Type of report                Participant inclusion criteria (Protocol)                   Participant inclusion criteria   Enrollment Enrollment              Number
 number    code                                                                                                         (Report)                start date end date                of sites

1032-004    1032-004.RR     Research report   "Subjects must be:                                          No differences from protocol.        January 18,   April 12, 2000   1
                                              - In good health as determined by medical history,                                               2000
                                              physical examination, ECG, and clinical laboratory
                                              measurement or if they have any concurrent diseases, the
                                              investigator must consider them under good control;
                                              - Volunteers of any race or ethnic group (women must be
                                              postmenopausal, surgically sterilized, or using a method
                                              of contraception acceptable to the investigator)
                                              - Between the age of 18 to 60 years;
                                              - No mucosal injury (except traumatic petechiae or
                                              erythema of the esophagus) as determined by the
                                              baseline endoscopy [Omitted citation to footnotes in
                                              original text];
                                              - In the opinion of the investigator, able and willing to
                                              comply with study requirements, tests, evaluation, and to
                                              complete the required diary; and
                                              - Subjects must give voluntary informed consent to
                                              participate in the study."
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 124 of 159




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  Study Publication Type of report                Participant inclusion criteria (Protocol)                         Participant inclusion criteria   Enrollment Enrollment         Number
 number    code                                                                                                               (Report)                start date end date           of sites

1035-001    1035-001.RR     Research report   "Healthy patients scheduled for elective oral surgery for         No differences from protocol.        12/28/99   February 23,   1
                                              removal of 1 or 2 ipsilateral third molars, at least 1 of                                                         2000
                                              which is mandibular and fully or partially impacted in bone,
                                              will be eligible to enroll in the study. Those willing to enter
                                              and participate will undergo surgery and receive a single
                                              dose of blinded medication, stratified by baseline pain
                                              intensity, postsurgery when patient-rated pain intensity on
                                              a 4-point categorical scale is moderate or severe and
                                              patient-rated pain intensity on a VAS [visual analog scale]
                                              is !45 mm."

                                              "- Men or women. Women must have a negative
                                              pregnancy test and must be using a reliable form of
                                              contraception;
                                              - Age between 18 and 40 years (inclusive);
                                              - Scheduled for an outpatient oral surgical procedure to
                                              remove 1 to 2 ipsilateral third molars, at least 1 of which is
                                              mandibular and fully or partially impacted in bone;
                                              - Good health as determined by medical history and
                                              physical examination;
                                              - Negative alcohol breath test on day of surgery prior to
                                              surgery;
                                              - Must understand the nature of the study and provide a
                                              written informed consent as descr bed in Appendix E; and
                                              - Must be reliable, cooperative, and in the opinion of the
                                              investigator, able to understand the information required in
                                              the pain questionnaire."
                                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 125 of 159




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  Study Publication Type of report                Participant inclusion criteria (Protocol)                         Participant inclusion criteria   Enrollment Enrollment          Number
 number    code                                                                                                               (Report)                start date end date            of sites

1035-001.   1035-001.       Research report   Protocol 1035-001:                                                No differences from protocol.        February 25,   March 15,   1
Addndm-B    Addndm-B.RR                       "Healthy patients scheduled for elective oral surgery for                                              2000           2000
                                              removal of 1 or 2 ipsilateral third molars, at least 1 of
                                              which is mandibular and fully or partially impacted in bone,
                                              will be eligible to enroll in the study. Those willing to enter
                                              and participate will undergo surgery and receive a single
                                              dose of blinded medication, stratified by baseline pain
                                              intensity, postsurgery when patient-rated pain intensity on
                                              a 4-point categorical scale is moderate or severe and
                                              patient-rated pain intensity on a VAS [visual analog scale]
                                              is !45 mm."

                                              "- Men or women. Women must have a negative
                                              pregnancy test and must be using a reliable form of
                                              contraception;
                                              - Age between 18 and 40 years (inclusive);
                                              - Scheduled for an outpatient oral surgical procedure to
                                              remove 1 to 2 ipsilateral third molars, at least 1 of which is
                                              mandibular and fully or partially impacted in bone;
                                              - Good health as determined by medical history and
                                              physical examination;
                                              - Negative alcohol breath test on day of surgery prior to
                                              surgery;
                                              - Must understand the nature of the study and provide a
                                              written informed consent as descr bed in Appendix E; and
                                              - Must be reliable, cooperative, and in the opinion of the
                                              investigator, able to understand the information required in
                                              the pain questionnaire."
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 126 of 159




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  Study Publication Type of report                Participant inclusion criteria (Protocol)                       Participant inclusion criteria   Enrollment Enrollment       Number
 number    code                                                                                                             (Report)                start date end date         of sites

1035-002    1035-002.RR     Research report   "Those willing to enter and participate will receive a single   No differences from protocol.        12/03/99   August 25,   2
                                              dose of blinded medication, stratified by baseline pain                                                         2000
                                              intensity, postsurgery when patient-rated pain intensity on
                                              a 4-point categorical scale is moderate or severe."

                                              "Men or women. Women of childbearing potential must
                                              have a negative pregnancy test prior to receiving study
                                              medication and must be using a reliable form of
                                              contraception;
                                              - Must be 18 years of age or older;
                                              - Must have undergone one of the following major
                                              inpatient orthopedic surgical procedures:
                                                - Total knee replacement;
                                                - Total hip replacement;
                                                - Hip hemiarthroplasty (replacement of femoral head);
                                                - Total shoulder replacement;
                                                - Major rotator cuff tear repair (acute complete tears);
                                                - Osteotomy (major lower extremities only;
                                                - Open reduction internal fixation (isolated lower
                                              extremities without other coexisting major trauma);
                                                - Spinal fusions.
                                              - Must have no clinically significant illness which would
                                              contraindicate the patient's participation in the trial as
                                              determined by medical history, physical examination, or
                                              laboratory findings as recorded in their hospital chart;
                                              - Must understand the nature of the study and provide a
                                              written informed consent as descr bed in Appendix E;
                                              - Must be reliable, cooperative, and in the opinion of the
                                              investigator, able to understand the information required in
                                              the pain questionnaire/analgesia diary;
                                              - Must be experiencing self-rated postoperative pain
                                              secondary to orthopedic surgery;
                                              - Must be able to take oral medication;
                                              These criteria are mandatory and must be met to provide
                                              evaluable data."
                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 127 of 159




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                                                            Nociceptive Pain
                                               Table 5 - Interventions and Run-in Phase
 Study Publication            Run-in phase (Protocol)       Run-in phase (Report)         Trial design      Total length of     Description of intervention                Treatment
number    code                                                                                                follow-up                                                   (gabapentin
                                                                                                                                                                              dose,
                                                                                                                                                                            duration,
                                                                                                                                                                           frequency)
                                                                                                                                                                            different
                                                                                                                                                                         from protocol

1032-001   1032-001.RR      Not mentioned.              Not mentioned.                   Parallel-groups   "One dose"         "The Parke-Davis Clinical Pharmacy
                                                                                                                              Operations Department provided study
                                                                                                                              medication in bottles of 3 identical
                                                                                                                              capsules containing NPN [naproxen],
                                                                                                                              GBP [gabapentin], or placebo."
                                                                                                                              Table 2 lists the treatment groups:
                                                                                                                              PBO: 3 capsules of placebo;
                                                                                                                              GBP250mg: 2 capsules placebo plus 1
                                                                                                                              capsule gabapentin 250 mg;
                                                                                                                              GBP125/NPN125: 1 capsule placebo
                                                                                                                              plus 1 capsule gabapentin 125 mg plus
                                                                                                                              naproxen sodium 125 mg;
                                                                                                                              GBP125/NPN250: 1 capsule placebo
                                                                                                                              plus 1 capsule gabapentin 125 mg plus
                                                                                                                              1 capsule naproxen sodium 250 mg;
                                                                                                                              GBP250/NPN125: 1 capsule placebo
                                                                                                                              plus 1 capsule gabapentin 250 mg plus
                                                                                                                              1 capsule naproxen sodium 125 mg;
                                                                                                                              GBP250/NPN250: 1 capsule placebo
                                                                                                                              plus 1 capsule gabapentin 250 mg plus
                                                                                                                              1 capsule naproxen sodium 250 mg;
                                                                                                                              NPN125 mg: 2 capsules placebo plus 1
                                                                                                                              capsule naproxen sodium 125 mg;
                                                                                                                              NPN250 mg: 2 capsules placebo plus 1
                                                                                                                              capsule naproxen sodium 250 mg;
                                                                                                                              NPN550 mg: 2 capsules placebo plus 1
                                                                                                                              capsule naproxen sodium 550 mg.
                                                                                                                              "Each oral dose was administered with
                                                                                                                              at least 4 ounces of water and all
                                                                                                                              capsules were swallowed intact within 1
                                                                                                                              minute of swallowing the first capsule."
                                                                                                                              "Patients were encouraged to avoid
                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 128 of 159




                                                                                                                              additional analgesic medication for at

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 Study Publication          Run-in phase (Protocol)   Run-in phase (Report)        Trial design   Total length of     Description of intervention               Treatment
number    code                                                                                      follow-up                                                  (gabapentin
                                                                                                                                                                   dose,
                                                                                                                                                                 duration,
                                                                                                                                                                frequency)
                                                                                                                                                                 different
                                                                                                                                                              from protocol

                                                                                                                    least 90 minutes after study drug
                                                                                                                    administration. At any time patients
                                                                                                                    could choose to receive "resuce
                                                                                                                    medication," either acetaminophen
                                                                                                                    1000 mg or
                                                                                                                    acetaminophen/hydrocodone
                                                                                                                    combination, ordered by the physician."
                                                                                                                                                                               Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 129 of 159




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 Study Publication            Run-in phase (Protocol)                   Run-in phase (Report)              Trial design       Total length of          Description of intervention                Treatment
number    code                                                                                                                  follow-up                                                        (gabapentin
                                                                                                                                                                                                     dose,
                                                                                                                                                                                                   duration,
                                                                                                                                                                                                  frequency)
                                                                                                                                                                                                   different
                                                                                                                                                                                                from protocol

1032-002   1032-002.RR      "The study consists of 3 phases: a      "The study consisted of Screening (2   Parallel-groups   Unclear.                "Table 3 shows the dose design used to
                            screening phase, a washout phase,       weeks maximum), Washout (from 3                          "This was a 4-week,     maintain blinding."
                            and a 4-week double-blind               to 14 days in duration), and a 2-                        randomized, double-     [Table 3 shows the following groups:
                            treatment phase."                       phase double-blind treatment period                      blind, placebo- and     Placebo (3 capsules), GBP125 (2
                            "The first day on which a patient       (of 4 weeks total duration)."                            positive-controlled,    capsules placebo and 1 capsule 125
                            discontinues his/her NSAID [non-        "Washout was used to precipitate an                      parallel-group,         mg gabapentin), GBP125/NPN250 (1
                            steroidal anti-inflammatory drug]       increase in, and ensure a minimum                        multicenter study       capsule each of placebo, 125 mg
                            and/or analgesic therapy will be        level of OA pain."                                       (Figure 1). The         gabapentin and 250 mg naproxen
                            considered the first day of the                                                                  study consisted of      sodium), NPN250 (2 capsules placebo
                            washout phase. The purpose of the                                                                Screening (2 weeks      and 1 capsule 250 mg naproxen
                            washout phase is to precipitate an                                                               maximum),               sodium), NPN550 (2 capsules placebo
                            increase in OA [osteoarthritis] pain,                                                            Washout (from 3 to      and 1 capsule 550 mg naproxen
                            and to ensure a minimum level of                                                                 14 days in duration),   sodium).
                            OA pain in the study."                                                                           and a 2-phase
                            "Upon entry into the washout                                                                     double-blind            "Patients were treated with study
                            phase, NSAID and/or analgesic                                                                    treatment period (of    medication twice a day (BID) for the 28
                            therapy (other than acetaminophen                                                                4 weeks total           days of the study. Patients who
                            rescue) will be discontinued.                                                                    duration).              received GBP125 or NPN250 for their
                            Patients wil be asked to complete                                                                                        first dose of study medication were
                            daily pain diaries and must have                                                                                         treated with GBP125/NPN250 in Study
                            completed them for 75%of the                                                                                             Phase 2."
                            possible washout days."
                            "Within the 3- to 14-day washout                                                                                         [Figure 1 indicates: "Study Phase 1"
                            phase, patients must:                                                                                                    lasted for 12 hours after "Dose 1" and
                            - Rate knee pain intensity on                                                                                            "Study Phase 2" lasted from "Hour 12
                            walking on a flat surface as                                                                                             to Study Day 28".]
                            MODERATE, SEVERE, or
                            EXTREME;                                                                                                                 "Patients took their first dose of study
                            - Have refrained from using any                                                                                          medication on the morning of Day 1 in
                            prior analgesic medication (except                                                                                       the clinic after being randomized.
                            acetaminophen) for at least 5 half                                                                                       Patients took an evening dose at home
                            lives of the particular medication;                                                                                      on Day 1 after completing 12 hours of
                            and                                                                                                                      efficacy assessments. The BID-dosing
                            - Be randomized to study                                                                                                 regimen continued throughout the 4-
                            medication."                                                                                                             week double-blind treatment period."
                                                                                                                                                                                                                 Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 130 of 159




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 Study Publication            Run-in phase (Protocol)       Run-in phase (Report)         Trial design    Total length of     Description of intervention              Treatment
number    code                                                                                              follow-up                                                 (gabapentin
                                                                                                                                                                          dose,
                                                                                                                                                                        duration,
                                                                                                                                                                       frequency)
                                                                                                                                                                        different
                                                                                                                                                                     from protocol

1032-003   1032-003.RR      Not mentioned.              Not mentioned.                   Open-label,     "No minimum time   "Study medication consisted of 125-mg
                                                                                         uncontrolled    on open-label      gabapentin capsules and 250-mg
                                                                                                         treatment was      naproxen sodium capsules and market-
                                                                                                         required."         image (combination) capsules (Table
                                                                                                                            2)."

                                                                                                                            "All patients began open-label
                                                                                                                            treatment with GBP125/NPN250. If the
                                                                                                                            investigator determined a lack of
                                                                                                                            efficacy and this dose was well-
                                                                                                                            tolerated after at least 4 weeks of
                                                                                                                            dosing, patients could titrate to
                                                                                                                            GBP250/NPN500. Patients who did not
                                                                                                                            tolerate the higher dose could titrate
                                                                                                                            back to GBP125/NPN250."
                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 131 of 159




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 Study Publication             Run-in phase (Protocol)                    Run-in phase (Report)              Trial design       Total length of        Description of intervention                  Treatment
number    code                                                                                                                    follow-up                                                        (gabapentin
                                                                                                                                                                                                       dose,
                                                                                                                                                                                                     duration,
                                                                                                                                                                                                    frequency)
                                                                                                                                                                                                     different
                                                                                                                                                                                                  from protocol

1032-004   1032-004.RR      "The study consists of 3 phases:         "The study consisted of 3 phases:       Parallel-groups   "The study            "Subjects satisfying the
                            screening, baseline, and a 1-week        Screening (2-week maximum                                 consisted of 3        inclusion/exclusion criteria (specified in
                            double-blind dosing phase."              duration), Baseline (1 day), and a 1-                     phases: Screening     Sections 4.2.1 and 4.2.2) entered the
                            "Screening Phase                         week double-blind dosing phase                            (2-week maximum       double-blind phase and were randomly
                            - Subjects will be assessed for          (Figure 1)."                                              duration), Baseline   assigned to 1 of 5 study drug groups:
                            study eligibility during the screening                                                             (1 day), and a 1-     1. Placebo (PBO)
                            phase, which may be up to a                                                                        week double-blind     2. Gabapentin 125 mg with Naproxen
                            maximum period of 2 weeks."                                                                        dosing phase          Sodium 250 mg (GBP125/NPN250)
                            "Baseline Phase                                                                                    (Figure 1)."          3. Gabapentin 250 mg with Naproxen
                            - Subjects will undergo a predose                                                                                        Sodium 500 mg (GBP250/NPN500)
                            endoscopy."                                                                                                              4. Naproxen Sodium 250 mg (NPN250)
                                                                                                                                                     5. Naproxen Sodium 500 mg (NPN500)"

                                                                                                                                                     "Each subject received 3 capsules BID,
                                                                                                                                                     except for Study Days 1 and 8 (Table
                                                                                                                                                     2). All but the last dose were to be
                                                                                                                                                     taken with food and at the same times
                                                                                                                                                     each morning and evening."
                                                                                                                                                     "The last dose (Day 8) was to be taken
                                                                                                                                                     without food, 2 to 4 hours prior to the
                                                                                                                                                     postdose endoscopy. Subjects were
                                                                                                                                                     paged, morning and evening through
                                                                                                                                                     Day 7, to remind them to take their
                                                                                                                                                     doses of study drug."
                                                                                                                                                                                                                   Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 132 of 159




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 Study Publication            Run-in phase (Protocol)       Run-in phase (Report)         Trial design      Total length of           Description of intervention                Treatment
number    code                                                                                                follow-up                                                         (gabapentin
                                                                                                                                                                                    dose,
                                                                                                                                                                                  duration,
                                                                                                                                                                                 frequency)
                                                                                                                                                                                  different
                                                                                                                                                                               from protocol

1035-001   1035-001.RR      Not mentioned.              Not mentioned.                   Parallel-groups   8 hours. "A nurse        "Patients who experienced postsurgery
                                                                                                           observer queried         pain that was rated moderate or severe
                                                                                                           patients regarding       in intensity on a 4-point categorical
                                                                                                           pain intensity at the    scale and !45 mm on a 100 mm visual
                                                                                                           following target time    assessment scale (VAS) were stratified
                                                                                                           points: immediately      by pain intensity and randomly
                                                                                                           before                   assigned to 1 of 5 treatment groups
                                                                                                           administration of        (Figure 1):
                                                                                                           study medication         1. Placebo
                                                                                                           (Time 0), and 0.33       2. Gabapentin 250 mg and
                                                                                                           (20 minutes), 0.66       Hydrocodone 10 mg (GBP250/HC10)
                                                                                                           (40 minutes), 1, 2,      3. Gabapentin 250 mg (GBP250)
                                                                                                           3, 4, 5, 6, 7, and 8     4. Hydrocodone 10 mg (HC10)
                                                                                                           hours postdose."         5. Acetaminophen 1000 mg and
                                                                                                           "Patients were           Hydrocodone 10 mg (APAP1000/HC10)"
                                                                                                           encouraged to
                                                                                                           remain in the clinic     "Patient received a single dose of study
                                                                                                           for observation for a    medication."
                                                                                                           total of 8 hours after
                                                                                                           the initial dose of      "Each patient received 2 capsules and
                                                                                                           study medication.        2 caplets (Table 2). Each dose was
                                                                                                           Further treatment        administered with at least 4 ounces of
                                                                                                           was at the discretion    water and all doses were swallowed
                                                                                                           of the investigator."    intact within 1 minute of swallowing the
                                                                                                                                    first dose."

                                                                                                                                    "Patients were encouraged to avoid
                                                                                                                                    additional analgesic medication for at
                                                                                                                                    least 90 minutes after study drug
                                                                                                                                    administration. If at anytime thereafter
                                                                                                                                    self-rated pain was at least moderate,
                                                                                                                                    patients could receive "rescue
                                                                                                                                    medication" (an NSAID such as
                                                                                                                                     buprofen), as ordered by the physician.
                                                                                                                                    Prior to rescue medication, patients had
                                                                                                                                    a final assessment and blood draw."
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 133 of 159




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 Study Publication            Run-in phase (Protocol)       Run-in phase (Report)         Trial design      Total length of           Description of intervention                Treatment
number    code                                                                                                follow-up                                                         (gabapentin
                                                                                                                                                                                    dose,
                                                                                                                                                                                  duration,
                                                                                                                                                                                 frequency)
                                                                                                                                                                                  different
                                                                                                                                                                               from protocol

1035-001.   1035-001.       Protocol 1035-001:          Not mentioned.                   Parallel-groups   8 hours. "A nurse        "Patients who experienced postsurgery
Addndm-     Addndm-B.RR     Not mentioned.                                                                 observer queried         pain that was rated moderate or severe
B                                                                                                          patients regarding       in intensity on a 4-point categorical
                                                                                                           pain intensity at the    scale and !45 mm on a 100-mm visual
                                                                                                           following target time    analog scale (VAS) were stratified by
                                                                                                           points: immediately      pain intensity and randomly assigned to
                                                                                                           before                   1 of 5 treatment groups (Figure 2):
                                                                                                           administration of        1. Placebo (PBO);
                                                                                                           study medication         2. Gabapentin 250 mg and
                                                                                                           (Time 0), and 0.33       Hydrocodone 5 mg (GBP250/HC5);
                                                                                                           (20 minutes), 0.66       3. Gabapentin 125 mg and
                                                                                                           (40 minutes), 1, 2,      Hydrocodone 10 mg (GBP250/HC10);
                                                                                                           3, 4, 5, 6, 7, and 8     4. Gabapentin 500 mg and
                                                                                                           hours postdose."         Hydrocodone 10 mg (GBP500/HC10);
                                                                                                           "Patients were           and
                                                                                                           encouraged to            5. Gabapentin 500 mg (GBP500)."
                                                                                                           remain in the clinic
                                                                                                           for observation for a    "Each patient received 3 capsules
                                                                                                           total of 8 hours after   (Table 2)."
                                                                                                           the initial dose of
                                                                                                           study medication.        "Each dose was administered with at
                                                                                                           Further treatment        least 4 ounces of water and all
                                                                                                           was at the discretion    capsules were swallowed intact within 1
                                                                                                           of the investigator."    minute of swallowing the first capsule."

                                                                                                                                    "Patients were encouraged to avoid
                                                                                                                                    additional analgesic medication for at
                                                                                                                                    least 90 minutes after study drug
                                                                                                                                    administration. If at anytime thereafter
                                                                                                                                    self-rated pain was at least moderate,
                                                                                                                                    patients could receive "rescue
                                                                                                                                    medication" (an NSAID such as
                                                                                                                                     buprofen), as ordered by the physician.
                                                                                                                                    Prior to rescue medication, patients had
                                                                                                                                    a final assessment and blood draw."
                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 134 of 159




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 Study Publication            Run-in phase (Protocol)                  Run-in phase (Report)              Trial design       Total length of           Description of intervention                 Treatment
number    code                                                                                                                 follow-up                                                          (gabapentin
                                                                                                                                                                                                      dose,
                                                                                                                                                                                                    duration,
                                                                                                                                                                                                   frequency)
                                                                                                                                                                                                    different
                                                                                                                                                                                                 from protocol

1035-002   1035-002.RR      "All short-acting analgesics must be   "Washout of Analgesic Medications      Parallel-groups   8 hours.                 "Patients who experienced
                            last used 2 hours prior to the         - Use of short-acting opioids,                           "Patients were           postoperative pain that was self-rated
                            baseline assessments and               delivered as a bolus or via Patient                      encouraged to            as moderate (2 points) or severe (3
                            administration of study medication."   Controlled Analgesia (PCA), was                          remain in the            points) in intensity on a 4-point
                            "At 24 hours postsurgery, patients     permitted following surgery. This                        hospital for             categorical scale and satisfied an
                            must be able to tolerate a minimum     analgesic use must have ceased at                        observation for a        analgesic washout of at least 2 hours
                            of 4 hours with their epidural         least 2 hours prior to study                             total of 8 hours after   were randomly assigned to 1 of 4
                            suspended. Parenteral short-acting     medication dosing.                                       their initial dose of    treatment groups:
                            opioid can be delivered as a bolus     - Use of epidural analgesia was                          study medication."       1. Placebo
                            or via PCA during this 4-hour          permitted for 24 hours following                                                  2. Gabapentin 250 mg and
                            period. However, if administered,      surgery. At 24 hours, patients were                                               Hydrocodone 10 mg (GBP250/HC10)
                            there must be a minimum wait of 2      required to suspend epidural use for                                              3. Gabapentin 250 mg (GBP250)
                            hours prior to the baseline            at least 4 hours. During these 4                                                  4. Hydrocodone 10 mg (HC10)"
                            assessments and administration of      hours, patients could receive short-
                            the study medication."                 acting opioids as described above.                                                "Patients received a single dose of
                                                                   - Use of any analgesic, centrally                                                 study medication."
                                                                   acting, of anti-inflammatory
                                                                   medications within 2 hours prior to                                               "Each patient received 2 capsules
                                                                   study drug administration was                                                     (Table 3) to be swallowed intact within a
                                                                   prohibited."                                                                      1-minute period."

                                                                                                                                                     "Patients were encouraged to avoid
                                                                                                                                                     additional analgesic medication for at
                                                                                                                                                     least 90 minutes after study drug
                                                                                                                                                     administration. If at anytime thereafter
                                                                                                                                                     self-rated pain was at least moderate,
                                                                                                                                                     patients could receive rescue
                                                                                                                                                     medication (including reinitiation of
                                                                                                                                                     epidural), as ordered by the
                                                                                                                                                     investigator. Prior to rescue medication,
                                                                                                                                                     patients had a final assessment."
                                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 135 of 159




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                                                              Nociceptive Pain
                                                            Table 6 - Risk of Bias
Study Publica- Random Random Method of                     Method of                Conceal-     Conceal-     Method of             Double- Double- Blinding:           Blinding:
number tion    allocation allocation allocation            allocation               ment of      ment of      allocation            blind      blind    Notes           Notes
       code    (Protocol) (Report) (Protocol)              (Report)                 allocation   allocation   concealment           (Protocol) (Report) (Protocol)      (Report)
                                                                                    (Protocol)   (Report)     (Report)

1032-001   1032-                     "The identity of      "Patient                                           No description of                         "In order to    No description
           001.RR                    medication will be    randomization was                                  any attempt to                            maintain        on who was
                                     randomized in         stratified by baseline                             conceal allocation.                       blinding all    blinded.
                                     blocks according      pain intensity.                                                                              capsules will
                                     to procedures         Patients with                                                                                appear
                                     conducted by the      baseline pain                                                                                identical."
                                     Biometrics            intensity scores of 2                                                                        "All
                                     Department of         (moderate) were                                                                              participants
                                     Parke-Davis.          randomized to a                                                                              will remain
                                     Patients will be      single stratum and                                                                           blinded until
                                     assigned to           patients with                                                                                after all
                                     prenumbered           baseline pain                                                                                patients have
                                     study medication      intensity scores of 3                                                                        completed the
                                     provided by           (severe) were                                                                                study and all
                                     Parke-Davis."         randomized to a                                                                              data issues
                                     "Blinded capsules     second stratum."                                                                             have been
                                     containing            "This was                                                                                    resolved."
                                     placebo,              accomplished by
                                     gabapentin or         randomization
                                     naproxen sodium       number assignment-
                                     will be available     patients who fell into
                                     and supplied by       the first stratum were
                                     Parke-Davis           assigned sequentially
                                     Pharmaceutical        increasing
                                     Research,             randomization
                                     Division of           numbers starting
                                     Warner-Lambert        from the lowest
                                     Company, CPO.         number (1). Patients
                                     All participants      who fell into the
                                     will remain           second stratum were
                                     blinded until after   assigned sequentially
                                     all patients have     decreasing numbers
                                     completed the         starting from the
                                     study and all data    highest
                                     issues have been      randomization
                                     resolved."            number (576)."
                                     "Study medication
                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 136 of 159




                                     will be assembled

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Study Publica- Random Random Method of                  Method of            Conceal-       Conceal-     Method of     Double- Double- Blinding:        Blinding:
number tion    allocation allocation allocation         allocation           ment of        ment of      allocation    blind      blind    Notes        Notes
       code    (Protocol) (Report) (Protocol)           (Report)             allocation     allocation   concealment   (Protocol) (Report) (Protocol)   (Report)
                                                                             (Protocol)     (Report)     (Report)
                                     by CPO, USA,
                                     according to a
                                     randomizataion
                                     code provided by
                                     the Biometrics
                                     Department."
                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 137 of 159




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Study Publica- Random Random Method of                      Method of                Conceal-     Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation             allocation               ment of      ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)               (Report)                 allocation   allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                     (Protocol)   (Report)     (Report)

1032-002   1032-                     "Randomization         "PGRD [Pfizer Global                               No description of                         No description   No description
           002.RR                    will be stratified     Research &                                         any attempt to                            on who was       on who was
                                     by center and          Development]                                       conceal allocation.                       blinded.         blinded.
                                     baseline pain          Biometrics
                                     intensity. Patients    Department
                                     with a baseline        generated the
                                     pain intensity         randomization code.
                                     score of               The block size was
                                     moderate (2) will      5."
                                     be in 1 stratum        "Randomization was
                                     and patients with      stratified by center
                                     a score of severe      and baseline pain
                                     (3) [or extreme (4)    intensity."
                                     deleted per            "Patients who rated
                                     Amendment 1]           their pain after their
                                     will be in the other   first 1-minute wa k as
                                     stratum. Centers       moderate (2) were
                                     with low               randomized to 1
                                     enrollment will be     stratum and patients
                                     randomly pooled        with a score of
                                     together to form       severe (3) were
                                     new centers for        randomized to a
                                     analysis."             second stratum."
                                                            "Patients were
                                     [per Amendment         randomly assigned to
                                     1]: "Patients in 2A    treatment and the
                                     and B treatment        blinded medication
                                     arms will be           sequentially
                                     switched to the        dispensed. All study
                                     treatment group        medication was
                                     2A+B after their       prepackaged in trays
                                     first dose of          for each patient,
                                     treatments.            identified by
                                     These patients         randomization
                                     will only be used      number and a control
                                     for collecting         number, and
                                     safety data. At        contained detailed
                                     Stage 2 and 3,         instructions for daily
                                     any comparisons        administration."
                                     involving 2A+B in
                                     efficacy analyses      "It was planned to
                                     will only include      randomly pool
                                     the patients who       together centers with
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 138 of 159




                                     are originally         low enrollment and

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Study Publica- Random Random Method of                      Method of                Conceal-     Conceal-     Method of     Double- Double- Blinding:        Blinding:
number tion    allocation allocation allocation             allocation               ment of      ment of      allocation    blind      blind    Notes        Notes
       code    (Protocol) (Report) (Protocol)               (Report)                 allocation   allocation   concealment   (Protocol) (Report) (Protocol)   (Report)
                                                                                     (Protocol)   (Report)     (Report)
                                     randomized in          use the pooled
                                     this treatment         centers for analysis."
                                     groups."               [Omitted citation to
                                                            reference in original
                                     "Let "A" be            text].
                                     naproxen sodium        "Because the lowest
                                     125 mg, "B" be         enrollment was 8
                                     gabapentin 125         patients in Center 4,
                                     mg, and "C" be         it was decided, prior
                                     naproxen sodium        to breaking the blind,
                                     550 mg; the 6          that no pooling was
                                     treatment groups       necessary."
                                     in the order of
                                     anticipated
                                     potency are:
                                     Placebo, 2B,
                                     A+B, 2A, 2A+2B,
                                     and C."

                                     "The medication
                                     will be individually
                                     assembled for
                                     each patient and
                                     identified by the
                                     patient study
                                     number and a
                                     control number,
                                     according to a
                                     randomization
                                     code prepared by
                                     the Parke-Davis
                                     CPO Department.
                                     Patients will be
                                     randomly
                                     assigned to
                                     treatment and the
                                     blinded
                                     medication
                                     sequentially
                                     dispensed."
                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 139 of 159




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Study Publica- Random Random Method of                     Method of               Conceal-     Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation            allocation              ment of      ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)              (Report)                allocation   allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                   (Protocol)   (Report)     (Report)

1032-003   1032-                     Not applicable.       Not applicable.                                   Not applicable.                           Not applicable. Not applicable.
           003.RR                    Open-label,
                                     uncontrolled trial.



1032-004   1032-                     "A simple fixed       "A simple fixed block                             No description of                         No description   "All data
           004.RR                    block size            size randomization                                any attempt to                            on who was       remained blinded
                                     randomization will    was used with a                                   conceal allocation.                       blinded.         until all subjects
                                     be applied."          block size of 5."                                                                                            completed the
                                     "The study drug                                                                                                                    study and all
                                     will be packaged                                                                                                                   data issues were
                                     in subject-                                                                                                                        resolved. The
                                     specific,                                                                                                                          randomization
                                     nonchildproof                                                                                                                      code was broken
                                     trays, according                                                                                                                   on May 31, 2000"
                                     to the
                                     randomization
                                     code prepared by
                                     the Parke-Davis
                                     CPO department.
                                     Subjects will be
                                     randomly
                                     assigned to study
                                     drug and will be
                                     dispensed
                                     sequentially."
                                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 140 of 159




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Study Publica- Random Random Method of                    Method of                Conceal-     Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation           allocation               ment of      ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)             (Report)                 allocation   allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                   (Protocol)   (Report)     (Report)

1035-001   1035-                     "The identity of     "At the request of the                             No description of                         "Blinded         "All participants
           001.RR                    medication will be   Biometrics                                         any attempt to                            capsules         remained blinded
                                     randomized in        Department, Parke-                                 conceal allocation.                       containing       until after all
                                     blocks according     Davis Clinical                                                                               placebo,         patients
                                     to procedures        Pharmacy                                                                                     gabapentin, or   completed the
                                     conducted by the     Operations                                                                                   hydrocodone      study and all
                                     Biometrics           generated the                                                                                will be          data issues were
                                     Department and       randomization code                                                                           available and    resolved."
                                     Clinical             for 468 patients with                                                                        supplied by
                                     Pharmaceutical       a block size of 13."                                                                         Parke-Davis
                                     Operations                                                                                                        Pharmaceutica
                                     Department         "Patient                                                                                       l Research,
                                     (CPO) of the       randomization was                                                                              Division of
                                     Parke-Davis."      stratified by baseline                                                                         Warner-
                                                        pain intensity. Patient                                                                        Lambert
                                     "Patients will be  number was                                                                                     Company
                                     assigned to        assigned based on                                                                              CPO. All
                                     prenumbered        baseline pain                                                                                  participants
                                     study medication   intensity and by                                                                               will remain
                                     provided by        participation in the                                                                           blinded until
                                     Parke-Davis."      serial                                                                                         after all
                                                        pharmacokinetic                                                                                patients have
                                     "Patients will be  (PK) analysis                                                                                  completed the
                                     randomized by      (Addendum A)."                                                                                 study and all
                                     their pain status. "Patients with                                                                                 data issues
                                     Patients with      moderate pain                                                                                  have been
                                     Moderate pain will (baseline pain                                                                                 resolved."
                                     receive            intensity score of 2)
                                     medication         and participants in
                                     labeled with       Addendum A were
                                     ascending          assigned sequentially
                                     numbers            increasing numbers
                                     beginning with     from 1."
                                     157. Those with    "Nonparticipants
                                     Severe pain will   experiencing
                                     receive            moderate pain were
                                     descending         assigned sequentially
                                     numbers            increasing numbers
                                     beginning with     from 157."
                                     468."              "Patients with severe
                                                        pain (baseline pain
                                     "Randomization     intensity score of 3)
                                     will be stratified and participants in
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 141 of 159




                                     by baseline pain   Addendum A were

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Study Publica- Random Random Method of                     Method of               Conceal-     Conceal-     Method of     Double- Double- Blinding:        Blinding:
number tion    allocation allocation allocation            allocation              ment of      ment of      allocation    blind      blind    Notes        Notes
       code    (Protocol) (Report) (Protocol)              (Report)                allocation   allocation   concealment   (Protocol) (Report) (Protocol)   (Report)
                                                                                   (Protocol)   (Report)     (Report)
                                     intensity. Patients   assigned sequentially
                                     with a baseline       decreasing numbers
                                     pain intensity        from 156."
                                     score of              "Nonparticipants
                                     moderate (2) will     experiencing severe
                                     be in one stratum,    pain were assigned
                                     and patients with     sequentially
                                     a score of severe     decreasing numbers
                                     (3) will be in        from 648."
                                     another stratum.
                                     Patients
                                     participating in
                                     the Addendum A
                                     will be
                                     randomized to a
                                     separate block of
                                     study medication.
                                     They will also be
                                     stratified
                                     according to
                                     baseline pain
                                     intensity."
                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 142 of 159




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Study Publica- Random Random Method of                    Method of                Conceal-     Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation           allocation               ment of      ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)             (Report)                 allocation   allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                   (Protocol)   (Report)     (Report)

1035-   1035-001.                    Protocol 1035-       "At the request of the                             No description of                         Protocol 1035-   "All participants
001.    Addndm-                      001:                 Biometrics                                         any attempt to                            001:             remained blinded
Addndm- B.RR                         "The identity of     Department, Parke-                                 conceal allocation.                       "Blinded         until after all
B                                    medication will be   Davis Clinical                                                                               capsules         patients
                                     randomized in        Pharmacy                                                                                     containing       completed the
                                     blocks according     Operations                                                                                   placebo,         study and all
                                     to procedures        generated the                                                                                gabapentin, or   data issues were
                                     conducted by the     randomization code                                                                           hydrocodone      resolved."
                                     Biometrics           for 150 patients with                                                                        will be
                                     Department and       a block size of 5."                                                                          available and
                                     Clinical                                                                                                          supplied by
                                     Pharmaceutical       "Patients were                                                                               Parke-Davis
                                     Operations           randomized by their                                                                          Pharmaceutica
                                     Department           baseline pain                                                                                l Research,
                                     (CPO) of the         intensity. Patients in                                                                       Division of
                                     Parke-Davis."        moderate pain                                                                                Warner-
                                                          (baseline pain                                                                               Lambert
                                     "Patients will be    intensity score of 2)                                                                        Company
                                     assigned to          were assigned                                                                                CPO. All
                                     prenumbered          sequentially                                                                                 participants
                                     study medication     increasing numbers                                                                           will remain
                                     provided by          beginning with                                                                               blinded until
                                     Parke-Davis."        Number 501.                                                                                  after all
                                                          Patients with severe                                                                         patients have
                                     "Patients will be    pain (baseline pain                                                                          completed the
                                     randomized by        intensity score of 3)                                                                        study and all
                                     their pain           were assigned                                                                                data issues
                                     status.Patients      sequentially                                                                                 have been
                                     with Moderate        decreasing numbers                                                                           resolved."
                                     pain will receive    from Number 650."
                                     medication
                                     labeled with
                                     ascending
                                     numbers
                                     beginning with
                                     157. Those with
                                     Severe pain will
                                     receive
                                     descending
                                     numbers
                                     beginning with
                                     468."
                                                                                                                                                                                            Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 143 of 159




                                     "Randomization

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Study Publica- Random Random Method of                     Method of            Conceal-       Conceal-     Method of     Double- Double- Blinding:        Blinding:
number tion    allocation allocation allocation            allocation           ment of        ment of      allocation    blind      blind    Notes        Notes
       code    (Protocol) (Report) (Protocol)              (Report)             allocation     allocation   concealment   (Protocol) (Report) (Protocol)   (Report)
                                                                                (Protocol)     (Report)     (Report)
                                     will be stratified
                                     by baseline pain
                                     intensity. Patients
                                     with a baseline
                                     pain intensity
                                     score of
                                     moderate (2) will
                                     be in one stratum,
                                     and patients with
                                     a score of severe
                                     (3) will be in
                                     another stratum.
                                     Patients
                                     participating in
                                     the Addendum A
                                     will be
                                     randomized to a
                                     separate block of
                                     study medication.
                                     They will also be
                                     stratified
                                     according to
                                     baseline pain
                                     intensity."
                                                                                                                                                                             Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 144 of 159




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Study Publica- Random Random Method of                     Method of               Conceal-     Conceal-     Method of             Double- Double- Blinding:            Blinding:
number tion    allocation allocation allocation            allocation              ment of      ment of      allocation            blind      blind    Notes            Notes
       code    (Protocol) (Report) (Protocol)              (Report)                allocation   allocation   concealment           (Protocol) (Report) (Protocol)       (Report)
                                                                                   (Protocol)   (Report)     (Report)

1035-002   1035-                     "The identity of      "The Pfizer Global                                No description of                         "In order to     "All participants'
           002.RR                    medication will be    Research &                                        any attempt to                            maintain         data remained
                                     randomized in         Development                                       conceal allocation.                       blinding all     blinded until after
                                     blocks according      (PGRD) Biometrics                                                                           capsules will    all patients
                                     to procedures         Department                                                                                  appear           completed the
                                     conducted by the      generated the                                                                               identical."      study and all
                                     Biometrics            randomization code                                                                          "All             data issues were
                                     Department of         for 384 patients with                                                                       participants     resolved."
                                     Parke-Davis.          a block size of 4."                                                                         will remain
                                     Patients will be                                                                                                  blinded untill
                                     assigned to           "Patient                                                                                    after all
                                     prenumbered           randomization was                                                                           patients have
                                     study medication      stratified by center                                                                        completed the
                                     provided by           and by baseline pain                                                                        study and all
                                     Parke-Davis."         intensity."                                                                                 data issues
                                                           "Patients with                                                                              have been
                                     "Randomization        moderate pain were                                                                          resolved."
                                     will be stratified    assigned sequentially
                                     by center and         increasing numbers
                                     baseline pain         from 1 to 192."
                                     intensity. Patients   "Patients in severe
                                     with a baseline       pain were assigned
                                     pain intensity        sequentially
                                     score of              increasing numbers
                                     moderate (2) will     from 501 to 692."
                                     be in one stratum
                                     and patients with
                                     a score of severe
                                     (3) will be in
                                     another stratum."
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 145 of 159




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                                                  Nociceptive Pain
                             Table 7 - Primary Outcome and Number of Patients Assessed
 Study Publication            Primary outcome                       Primary outcome                   Number              Number          Number       Definitions for study population for
number    code                    (protocol)                            (Report)                    randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                     per group        group - Primary    group for
                                                                                                      (Report)        outcome (Report) safety (Report)

1032-001   1032-001.RR   "Primary efficacy measures            "The primary efficacy endpoint      "Of these, 483   [per Figure 4, Page   All patients        "The population analyzed was the intent-to-
                         include PR [Pain Relief], PID         was the summed pain-intensity       were randomly    37: 50 patients in    randomized (483)    treat (ITT) population, defined as all patients
                         ["..difference between the            difference over the first 6 hours   assigned to      each of the GBP250,   were analyzed for   randomized to treatment who received study
                         baseline pain intensity and the       postdose (SPID6)."                  treatment: 50    GBP125/NPN125,        safety evident      medication, and who had a baseline and post
                         pain intensity at another time                                            patients to each GBP125/NPN250,        from adding         baseline scores as defined in the FDA
                         point"], PRID ["..is the sum of                                           of the GBP250,   GBP250/NPN250,        numbers provided    guidance." [Omitted citation to reference
                         the pain relief and the pain                                              GBP125/NPN125,   NPN125, and           in Figure 12 on     mentioned in original text].
                         intensity difference at a given                                                            NPN250 groups, 52     page 51 of the
                         time point"], time to onset and                                           GBP125/NPN250, patients each to the    research report.
                         duration of analgeisa."                                                                    placebo and
                         "Scores are derived from the                                              GBP250/NPN250, GBP250/NPN125
                         pain assessments."                                                         NPN125, and     groups, and 79
                         "A nurse observer will query the                                          NPN250 groups,   patients to the
                         patients regarding pain intensity                                         52 patients each NPN550 group.]
                         at the following target time                                              to the placebo
                         points: immediately before                                                and
                         administration of study                                                   GBP250/NPN125
                         medication (Time 0) and 0.5, 1,                                           groups, and 79
                         2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and                                       patients to the
                         12 postdose."                                                             NPN550 group."
                         "A nurse observer will query the
                         patients regarding pain relief at
                         the target times of 0.5, 1, 2, 3,
                         4, 5, 6, 7, 8, 9, 10, 11, and 12
                         hours postdose."
                         "If rescue medication is
                         administered, final assessment
                         is made immediately before
                         rescue medication is taken."
                                                                                                                                                                                                                Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 146 of 159




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 Study Publication            Primary outcome                       Primary outcome                     Number               Number          Number       Definitions for study population for
number    code                    (protocol)                            (Report)                      randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                       per group         group - Primary    group for
                                                                                                        (Report)         outcome (Report) safety (Report)

1032-002   1032-002.RR   "The primary efficacy parameter       [per Inferential Analysis Plan,       Table 8 indicates   Figure 2 indicates       Appendix C.2.01      Intent-to-treat population:
                         is SPID6, the sum of pain             Appendix D.1]: "Summed pain           the number of       number of patients       indicates number     "The analysis set was the intent-to-treat (ITT)
                         intensity difference over the first   intensity difference over the first   patients            analyzed at the end of   of patients          population, defined as all patients randomized
                         6 hours."                             6 hours (SPID6)"                      randomized as       "Study Phase 1": 53      analyzed for         to treatment who received at least one dose of
                                                                                                     follows: 53 to      in placebo group, 52     adverse events: 53   study medication."
                                                                                                     placebo, 52 to      in GBP125/NPN250         in placebo group,
                                                                                                     GBP125/NPN250,      group, 51 in GBP125      157 in               "All Study Phase 2 efficacy analyses and
                                                                                                      51 to GBP125,      group, 54 in NPN250      GBP125/NPN250        comparisons included only the patients who
                                                                                                     54 to NPN250,       group, 52 in NPN550      group, and 52 in     were originally randomized to
                                                                                                     and 52 to           group.                   NPN550 group.        GBP125/NPN250, placebo, or NPN550.
                                                                                                     NPN550.             Number of patients                            Patients in the NPN250 and GBP125 treatment
                                                                                                     Table 8 lists       analyzed in "Study                            arms for Study Phase 1 received
                                                                                                     number of           Phase 2" is not clear.                        GBP125/NPN250 treatment for Study Phase 2.
                                                                                                     patients who                                                      Only safety data were used for these patients
                                                                                                     "Entered Study                                                    from Study Phase 2."
                                                                                                     Phase 2": 53 in
                                                                                                     placebo group,
                                                                                                     155 in
                                                                                                     GBP125/NPN250
                                                                                                     group and 51 in
                                                                                                     the NPN550
                                                                                                     group.
                                                                                                                                                                                                                         Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 147 of 159




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 Study Publication            Primary outcome                      Primary outcome                    Number               Number          Number       Definitions for study population for
number    code                    (protocol)                           (Report)                     randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                     per group         group - Primary    group for
                                                                                                      (Report)         outcome (Report) safety (Report)

1032-003   1032-003.RR   "The following efficacy              "Although this was primarily a       Per Table 4, 212    Not applicable.          212 patients.   "The analysis set was all patients who received
                         assessments will be performed,       safety study, select efficacy        "Patients Entered   "However, because                        at least one dose of study medication."
                         unless otherwise noted,at            assessments were scheduled           in Open-Label       the study was
                         baseline, 1, 3, 6, 9, and 12         during the clinic visits.            Study"              terminated early,
                         months and every 6 months            Instruments used were:                                   efficacy data were not
                         thereafter;                          - The Western Ontario and                                summarized."
                         - Pain subscale of the WOMAC         McMaster Universities Likert
                         LK 3.1 Scale;                        Version 3.1 (WOMAC LK3.1)
                         - Stiffness subscale of the          OA Index questionnaire,
                         WOMAC LK 3.1 Scale;                  - Patient and clinician global
                         - Physical Function subscale of      assessments of OA,
                         the WOMAC LK 3.1 Scale;              - The Health Utilities Index (HUI)
                         - Patient assessment of pain         Mark 2 and 3, and
                         walking on a flat surface from       -The Short Form Health Survey
                         WOMAC LK 3.1 Scale;                  (SF-36)."
                         - Patient Global Assessment of       "However, because the study
                         OA (assessed on 5-point L kert       was terminated early, efficacy
                         Scale);                              data were not summarized."
                         - Clinician Global Assessment
                         of OA (assessed on 5-point
                         L kert Scale);
                         - HUI Mark 2 and Mark 3; and
                         - SF-36 (this instrument will only
                         be administered every 6
                         months)."
                                                                                                                                                                                                                  Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 148 of 159




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 Study Publication            Primary outcome                       Primary outcome                   Number              Number          Number       Definitions for study population for
number    code                    (protocol)                            (Report)                    randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                     per group        group - Primary    group for
                                                                                                      (Report)        outcome (Report) safety (Report)

1032-004   1032-004.RR   "The primary efficacy parameter       "The primary efficacy parameter     "Of these, 206     Placebo: 42;            Placebo: 42;        Intent-to-treat (ITT):
                         is the ulcer and erosion              was the ulcer and erosion           (73%) were         GBP125/NPN250: 41;      GBP125/NPN250:      "The primary sample was intent-to-treat (ITT)
                         incidence, defined as a gastric       incidence, defined as gastric       randomly           GBP250/NPN500: 41;      41;                 subjects, defined as all subjects randomized
                         mucosal score !3 according the        mucosal score !3 according to       assigned to 1 of   NPN250: 41;             GBP250/NPN500:      who received at least one dose of study drug,
                         modified Lanza 8-point scale,         the modified Lanza 8-point          the 5 study drug   NPN500: 40. [Data       41; NPN250: 41;     and who had a postdose measurement
                         after 1 week of study drug            scale, after 1 week of study        groups (42 to      extracted from Figure   NPN500: 41. [Data   (endoscopy or UGI symptom score). All
                         dosing." [Omitted citation to         drug dosing." [Omitted citation     placebo, and 41    2.]                     extracted from      efficacy analyses were performed on this
                         reference in original text].          to reference in original text].     each to                                    Table 17.]          sample."
                                                                                                   GBP125/NPN250,
                                                                                                                                                                  Completers:
                                                                                                   GBP250/NPN500,                                                 "The secondary sample was Completers,
                                                                                                   NPN250, and                                                    defined as randomized subjects who took at
                                                                                                   NPN500)."                                                      least 36 capsules of study drug and had a
                                                                                                                                                                  postdose measurement."
                                                                                                                                                                  "Analyses of the primary parameter and the
                                                                                                                                                                  UGI symptom scores, other than the
                                                                                                                                                                  exploratory UGI symptom correlation analyses
                                                                                                                                                                  to aid in development of the UGI symptom
                                                                                                                                                                  questionnaire, was planned originally for this
                                                                                                                                                                  sample. However, because the ITT and
                                                                                                                                                                  Completers samples were identical, the
                                                                                                                                                                  Inferential Analysis Plan was amended and the
                                                                                                                                                                  separate Completers analyses and summaries
                                                                                                                                                                  were not performed."

1035-001   1035-001.RR   "The primary efficacy parameter       "The primary efficacy endpoint      "Of these 325      Table 6 mentions        Table 16 mentions   Intent-to-treat population:
                         is SPID6, the sum of pain             was the summed pain-intensity       were randomly      Intent-to-Treat         numbers analyzed    "The population was the intent-to-treat (ITT)
                         intensity difference over the first   difference over the first 6 hours   assigned to        population as 51 in     for adverse         population, defined as all patients randomized
                         6 hours."                             postdose (SPID6)."                  treatment: 51 to   placebo group, 75 in    events: 51 in       to treatment who received study medication,
                                                                                                   the placebo        the GBP250/HC10         placebo group, 75   and who had a baseline and postbaseline
                                                                                                   group, 75 to the   group, 77 in the        in GBP250/HC10      score as defined in the FDA 1997 guidance."
                                                                                                   GBP250/HC10        GBP250 group, 76 in     group, 77 in        [Omitted citation to reference in original text].
                                                                                                   group, 77 to the   the HC10 group, 46 in   GBP250 group, 76
                                                                                                   GBP250 group,      the APAP1000/HC10       in HC10 group, 46
                                                                                                   76 to the HC10     group                   in
                                                                                                   group, and 46 to                           APAP1000/HC10
                                                                                                   the                                        group.
                                                                                                   APAP1000/HC10
                                                                                                   group."
                                                                                                                                                                                                                      Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 149 of 159




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 Study Publication            Primary outcome                       Primary outcome                      Number               Number          Number       Definitions for study population for
number    code                    (protocol)                            (Report)                       randomized           analyzed per    analyzed per             analysis (Report)
                                                                                                        per group         group - Primary    group for
                                                                                                         (Report)         outcome (Report) safety (Report)

1035-   1035-001.        Protocol 1035-001:                    "The following efficacy                "Of these, 101      Table 4: 20 each in   Table 8: 20 each    Intent-to-treat population:
001.    Addndm-B.RR      "The primary efficacy parameter       measures were summarized:              were randomly       placebo group,        in placebo group,   "The population was the intent-to-treat (ITT)
Addndm-                  is SPID6, the sum of pain             - Summed pain-intensity                assigned to         GBP250/HC5 group,     GBP250/HC5          population, defined as all patients randomized
B                        intensity difference over the first   difference over the first 6 hours      treatment: 20 to    GBP125/HC10 group,    group,              to treatment who received study medication,
                         6 hours."                             postdose (SPID6);                      each of the         GBP500/HC10 group,    GBP125/HC10         and who had a baseline and postbaseline
                                                               - Summed pain-intensity                placebo,            and 21 in GBP500      group,              score as defined in the FDA 1997 guidance."
                                                               difference over the first 8 hours      GBP250/HC5,         group                 GBP500/HC10         [Omitted citation to reference in original text].
                                                               postdose (SPID8);                      GBP125/HC10,                              group, and 21 in
                                                               - Total pain relief over the first 6   and                                       GBP500 group
                                                               hours (TOTPAR6) and 8 hours            GBP500/HC10
                                                               (TOTPAR8),                             groups, and 21 to
                                                               - Summed pain relief intensity         the GBP500
                                                               difference over the first 6 hours      group."
                                                               (SPRID6) and 8 hours (SPRID8);
                                                               - Pain-intensity difference from
                                                               baseline (PID);
                                                               - Pain relief (PR);
                                                               - Summed pain relief and pain-
                                                               intensity difference (PRID);
                                                               - Time-to-onset by 1-stopwatch
                                                               method;
                                                               - Time-to-rescue medication;
                                                               and
                                                               - Patient Global Assessment of
                                                               Study Medication."

                                                               "A nurse observer queried
                                                               patients regarding pain intensity
                                                               at the following target time
                                                               points: immediately before
                                                               administration of study
                                                               medication (Time 0), and 0.33
                                                               (20 minutes), 0.66 (40 minutes),
                                                               1, 2, 3, 4, 5, 6, 7, and 8 hours
                                                               postdose."

                                                               "If rescue medication was
                                                               administered, final assessment
                                                               was made immediately before
                                                               the dose was taken."
                                                                                                                                                                                                                        Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 150 of 159




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 Study Publication            Primary outcome                       Primary outcome                   Number              Number          Number       Definitions for study population for
number    code                    (protocol)                            (Report)                    randomized          analyzed per    analyzed per             analysis (Report)
                                                                                                     per group        group - Primary    group for
                                                                                                      (Report)        outcome (Report) safety (Report)

1035-002   1035-002.RR   "The primary efficacy parameter       "The primary efficacy endpoint      "Of these, 200     "Primary ANCOVA           Table 18 indicates    Intent-to-treat population:
                         is SPID6, the sum of pain             was the summed pain intensity       were randomly      Model": Not               the following         "The population was the intent-to-treat (ITT)
                         intensity difference over the first   difference over the first 6 hours   assigned to        mentioned.                number of patients    population, defined as all patients randomized
                         6 hours."                             postdose (SPID6)."                  treatment: 49 to   "Alternative ANCOVA       analyzed for          to treatment who received study medication
                         "A nurse observer will query the                                          the placebo        Models":                  safety: 49 in         and who had a baseline and postbaseline
                         patients regarding pain relief at     "A nurse observer queried           group, 51 to the   "Baseline opiate          placebo group, 51     scores as defined in the FDA 1997 guidance."
                         the target times of 20 and 40         patients regarding pain intensity   GBP250/HC10        concentration and         in GBP250/HC10        [Omitted citation to reference in original text].
                         minutes and at 1,2, 3, 4, 5, 6, 7,    at the following target time        group, 50 to the   metabolizer status        group and 50 each
                         and 8 hours postdoese."               points: immediately before          GBP250 group,      data were available       in GBP250 and
                                                               administration of study             and 50 to the      for only 116 and 109      HC10 groups.
                                                               medication (Time 0), and 0.33       HC10 group."       patients, respectively;
                                                               (20 minutes), 0.66 (40 minutes),                       therefore, these          "A total of 47
                                                               1, 2, 3, 4, 5, 6, 7, and 8 hours                       analyses were not as      patients (24%) in
                                                               postdose. If rescue medication                         well-powered as the       this study
                                                               was administered, final                                primary ANCOVA."          experienced at
                                                               assessment was made                                                              least 1 adverse
                                                               immediately before the dose                            "Eleven patients did      event (Table 18)."
                                                               was taken."                                            not complete the          [However, if we
                                                                                                                      study."                   calculate using the
                                                                                                                                                numbers in the
                                                                                                                                                above statement
                                                                                                                                                from the text in
                                                                                                                                                section 6.7.1.1,
                                                                                                                                                the number of
                                                                                                                                                patients analyzed
                                                                                                                                                seem to be
                                                                                                                                                195.833 (47/0.24).
                                                                                                                                                This is
                                                                                                                                                inconsistent with
                                                                                                                                                the numbers
                                                                                                                                                analyzed as
                                                                                                                                                depicted in Table
                                                                                                                                                18].
                                                                                                                                                                                                                          Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 151 of 159




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                                                Nociceptive Pain
                        Table 8 - Comparison of Study Reports by Results and Conclusions
  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent   consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

1032-001    1032-001.RR     "The GBP250 [gabapentin 250 mg]/NPN250               "A total of 206 patients (43%) in this study          Synposis of report: "In patients with
                            [naproxen sodium 250 mg] combination was             experienced at least 1 adverse event (Table 17)."     pain resulting from dental surgery,
                            statistically significantly different from placebo   "Across treatment groups, the percentage of           this study demonstrated statistically
                            (p = 0.0001) and from GBP250 (p = 0.0001),           patients who experienced adverse events ranged        significantly better analgesic effects
                            as well as numerically superior to NPN250 (p         from 34% of the GBP250 [gabapentin 250                of the GBP250/NPN250 and
                            = 0.0946), on the SPID6 [summed pain-                mg]/NPN250 [naproxen sodium 250 mg] to 50% of         GBP125/NPN250 combinations
                            intensity difference over the first 6 hours          the GBP250 group (Appendix C.16.1)."                  compared with placebo, GBP250,
                            postdose] efficacy measure."                         "Adverse events considered associated with study      and NPN250."
                            "The GBP125/NPN250 combination was also              medications were experienced by 24% of all            "Efficacy was detected on PI [pain
                            statistically significantly different from placebo   patients."                                            intensity], PIR [no abbreviation
                            (p = 0.0001) and from GBP250 (p = 0.0001),           "The incidence of frequently occurring adverse        mentioned], and PRID [summed
                            as well as numerically superior to NPN250 (p         events in this study (experienced by more than 5%     pain relief and pain-intensity
                            = 0.0646) on the SPID6 efficacy measure."            of patients in any single treatment group) ranged     difference] scales at times ranging
                            "The remaining 2 GBP/NPN combinations                from 6% for somnolence in the placebo group to        between 3 and 6 hours postdose."
                            were significantly different from placebo (p =       22% for nausea in both the NPN125 [naproxen
                            0.001) and from GBP250 (p = 0.0196 for               sodium 125 mg] and GBP125 [gabapentin 125 mg]         Conclusions section of report: 'In
                            GBP125/NPN125 compared to GBP250 and                 /NPN125 groups."                                      patients with pain resulting from
                            p = 0.0052 for GBP250/NPN125 compared to             "Adverse events of particular note are pain (14% of   dental surgery, this study
                            GBP250) on the SPID6 endpoint."                      the GBP125/NPN125 group), vomiting (14% of the        demonstrated statistically
                            "The min-test as defined in the method               NPN125 group), and headache (20% of the GBP           significantly better analgesic effects
                            section was negative in these cases (Table           group)."                                              (SPID6) [summed pain-intensity
                            11)."                                                                                                      difference over the first 6 hours
                            "Both GBP/NPN combinations that contain                                                                    postdose] of the GBP250/NPN250
                            250 mg of NPN were not statistically different                                                             and GBP125/NPN250
                            from NPN550 in analgesic effect, although                                                                  combinations compared with
                            NPN550 was significantly better than                                                                       placebo and GBP250, and
                            NPN250 by itself (Table 12)."                                                                              numerically superior effects
                                                                                                                                       compared with NPN250."
                                                                                                                                       "In addition, efficacy was detecteed
                                                                                                                                       on PI, PIR, and PRID scales at
                                                                                                                                       times ranging between 3 and 6
                                                                                                                                       hours postdose."
                                                                                                                                                                                              Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 152 of 159




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  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent   consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

1032-002    1032-002.RR     "No significant difference between              "Fifteen patients experienced adverse events during     Synopsis of report:
                            GBP125/NPN250 and placebo, GBP125, or           Study Phase 1 (Table 16)."                              "For patients with OA of the knee,
                            NPN250 was observed on the SPID6 (p =           "Three patients (including one who withdrew from        GBP125/NPN250 (CI-1032)
                            0.788, 0.392, and 0.815, respectively) (Table   the study) treated with GBP125 (either alone or in      provided pain relief and performed
                            9)."                                            combination with NPN250) and one treated with           on other outcome measures
                            "GBP125/NPN250 was significantly better         NPN550 experienced dizziness."                          significantly better than placebo
                            than placebo on most Study Phase 2              "One patient in each of the placebo,                    and not substantially differently
                            measures at most time points and was not        GBP125/NPN250, NPN550 groups reported                   from NPN550 during the 4-week
                            significantly different from NPN550 at almost   headaches."                                             portion of this study."
                            every time point."
                            "No differences between any treatment           "The most frequent adverse event during Study           "No conclusions regarding the
                            groups, including between the NPN550 active     Phase 2 was peripheral edema, experienced by            performance of CI-1032 as an
                            control and placebo, were observed on the       nearly 6% of the GBP125/NPN250 group compared           acute analgesic were possible due
                            SPID6 (Table 9)."                               with about 2% of the placebo and NPN550 groups          to the failure of the OA flare pain
                                                                            (Table 17)."                                            model to separate active
                                                                            "The incidence of GI-related adverse events             treatments from placebo in this
                                                                            (diarrhea, constipation, dyspepsia, and nausea)         multicenter implementation."
                                                                            ranged from about 2% to 6% of patients for the
                                                                            GBP125/NPN250 and NPN550 groups, compared               "CI-1032 was well-tolerated over a
                                                                            with almost 0% for the placebo group."                  4-week course of treatment."
                                                                            "Dizziness, somnolence, and asthenia occurred
                                                                            more frequently among GBP125/NPN250-treated             Discussion section of report:
                                                                            patients than among patients in the placebo or          "The data from the second (4 week)
                                                                            NPN550 groups (about 3% compared with almost            phase of this study demonstrate
                                                                            0%)."                                                   that gabapentin in combination with
                                                                            "More complaints of pain and crams (abdominal           naproxen sodium has potential for
                                                                            pain, back pain, leg pain, shoulder pain, leg cramps,   subacute or chronic treatment of
                                                                            back spasms) were reported for patients in the          OA."
                                                                            GBP125/NPN250 group."
                                                                            "Two male patients in the GBP125/NPN250 group,          "Statistical separation of
                                                                            aged 74 and 73 years, experienced serious adverse       GBP125/NPN250 from placebo
                                                                            events during the study (Table 18)."                    was also observed during most of
                                                                            "Patient 007003 was hospitalized and found to have      Study Phase 2, however
                                                                            a duodenal ulcer with gastric erosion (duodenal         significance levels in comparisons
                                                                            ulcer) considered associated with treatment. Patient    with placebo were generally higher
                                                                            008009 was diagnosed with a stenosis of the carotid     for NPN550 than for
                                                                            artery (peripheral vascular disorder) considered        GBP125/NPN250.
                                                                            unrelated to treatment and underwent a carotid          GBP125/NPN250 was not
                                                                            endarterectomy during the study."                       statistically different from NPN550
                                                                            "A total of 7 patients withdrew from the study due to   on most Study Phase 2 measures."
                                                                            adverse events."
                                                                                                                                    No separation of active treatments
                                                                                                                                                                                        Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 153 of 159




                                                                                                                                    from placebo was demonstrated
                                                                                                                                    during the single-dose evaluation,
                                                                                                                                    Study Phase 1."

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  Study      Publication Results of primary analysis (Report) Adverse events (Results section of Report) Conclusions in abstract & Conclusions Conclusions
 number         code                                                                                     discussion sections (Report) in discussion in abstract
                                                                                                                                        consistent   consistent
                                                                                                                                       with results with results
                                                                                                                                         (Report)     (Report)

1032-003    1032-003.RR     "A total of 206 patients (43%) in this study   "The body systems most frequently effected by           Synopsis of report:
                            experienced at least 1 adverse event (Table    adverse events were the body as a whole (53             "GBP125/NPN250 and
                            17)."                                          patients, 25%), the digestive system (39 patients,      GBP250/NPN500 were well-
                            "Across treatment groups, the percentage of    18%), and the nervous system (26 patients, 12%)."       tolerated under longer term, open-
                            patients who experienced adverse events        "The most frequently occurring adverse events           label conditions."
                            ranged from 34% of the GBP250 [gabapentin      during open-label treatment were peripheral edema
                            250 mg]/NPN250 [naproxen sodium 250 mg]        (15 patients, 7%), pain, dyspepsia, and infection (12   Discussion section of report:
                            to 50% of the GBP250 group (Appendix           to 13 patients each, 6%), and constipation and          "Because earlier double-blind trials
                            C.16.1)."                                      dizziness (10 patients each, 5%) (Table 5).             showed no strong superiority of
                            "Adverse events considered associated with     Peripheral edema was also the most frequently           GBP125/NPN250 over NPN550,
                            study medications were experienced by 24%      occurring adverse event among patients treated with     the study was terminated prior to
                            of all patients."                              GBP125/NPN250 during 1032-002 Study Phase 2 (9          completion."
                            "The incidence of frequently occurring         of 157 patients, 6%)."
                            adverse events in this study (experienced by                                                           "Efficacy data and all other data
                            more than 5% of patients in any single         "A larger percentage of patients withdrew from open-    were not summarized."
                            treatment group) ranged from 6% for            label treatment during Study 1032-003 due to
                            somnolence in the placebo group to 22% for     adverse events compared with GBP125/NPN250-             "The percentage of patients who
                            nausea in both the NPN125 [naproxen            treated patients during double-blind treatment in       experienced adverse events was
                            sodium 125 mg] and GBP125 [gabapentin          Study 1032-002 (30 of 212 patients, 14% compared        higher during open-label treatment
                            125 mg] /NPN125 groups."                       with 3 of 157 patients, 2%, respectively)."             (56% compared with 37%).
                            "Adverse events of particular note are pain    "Dyspepsia, peripheral edema, and somnolence            Likewise, the percentage of
                            (14% of the GBP125/NPN125 group),              each led to the withdrawal of 3 patients (1.4%).        patients who withdrew due to an
                            vomiting (14% of the NPN125 group), and        Asthenia, diarrhea, and gastrointestinal disorder       adverse event was higher during
                            headache (20% of the GBP group)."              each led to the withdrawal of 2 patients (0.9%)."       open-label treatment (14%
                                                                                                                                   compared with 2%)."

                                                                                                                                   "No serious adverse events were
                                                                                                                                   attributed to treatment, nor were
                                                                                                                                   there any adverse events of
                                                                                                                                   concern that emerged during longer
                                                                                                                                   term treatment with GBP/NPN."
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                                                                                                                                         (Report)     (Report)

1032-004    1032-004.RR     "According to Fisher's Exact Test, the               "The most frequently occurring adverse events were     Synopsis section of report: "The
                            incidence of gastric ulcers and erosions in the      gastrointestinal system-related in every study drug    specific combination doses under
                            NPN500 [naproxen sodium 500 mg] group                group."                                                investigation in Study 1032-04
                            was not statistically significantly different from   "For the higher dose combination group,                (GBP125/NPN250 BID and
                            that in the GBP [gabapentin]125/NPN250 (p =          GBP250/NPN500, 7 (17%) of subjects experienced         GBP250/NPN500 BID) do not
                            0.121) or the GBP250/NPN500 (p = 0.656)              flatulence, compared with 3 to 4 subjects (7% to       provide cytoprotection against NPN-
                            study drug groups (Table 9)."                        10%) in the other active study drug groups and 1       induced gastric injury. The
                            "Twenty-four (60%) subjects who took                 subject (<3%) in the placebo group."                   downward trend in gastric injury for
                            NPN500 had a gastric mucosal score !3 after          "Dyspepsia was more frequent among subjects in         NPN250 and GBP125/NPN250
                            1 week of study drug dosing, compared with           the NPN500 group: 8 subjects, almost 20%,              compared with NPN500 and
                            17 (42%) subjects in the GBP125/NPN250               compared with 3 subjects (7%) in the NPN250 group      GBP250/NPN500, and the
                            group and with 22 (54%) subjects in the              and 1 subject (<3%) of the placebo group (Table        similarity between the groups with
                            GBP250/NPN500 group (Figure 2)."                     18)."                                                  the same NPN doses, suggest that
                                                                                 "There was no treatment difference with respect to     halving the dose of NPN, with or
                                                                                 anorexia, constipation, diarrhea, nausea, abdominal    without GBP, results in less gastric
                                                                                 pain, vomiting, or withdrawals due to GI-related AEs   mucosal injury."
                                                                                 [adverse events] per Fisher's Exact tests."
                                                                                 "Also, the odds of experiencing flatulence were 8.4    Discussion section of report:
                                                                                 times greater in the GBP250/NPN500 group than in       "The primary results of this study in
                                                                                 the placebo group (p = 0.029)." [Omitted citation to   humans did not show any evidence
                                                                                 footnotes in original text].                           of cytoprotection against NPN-
                                                                                 "Somnolence was the only nervous system adverse        induced gastric injury at the doses
                                                                                 event reported by 2 or more subjects in any study      studied (GBP125/NPN250 BID and
                                                                                 group: 3 subjects (7%) in the GBP250/NPN500            GBP250/NPN500 BID)."
                                                                                 group and 1 subject (<3%) in the GBP125/NPN250         "Study 1032-004 did suggest that
                                                                                 group (Table 18)."                                     the lower dose of NPN (250 mg
                                                                                                                                        BID) may be less injurious to the
                                                                                                                                        gastric mucosa than NPN500 BID.
                                                                                                                                        However, the differences between
                                                                                                                                        the doses may not be clinically
                                                                                                                                        relevant."
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1035-001    1035-001.RR     "The GBP250/HC10 group was statistically        "The incidence of frequently occurring adverse          Discussion section of report:
                            significantly different from the placebo (p =   events (experienced by more than 4% of patients in      "This study was the first clinical
                            0.0044) and the GBP250 groups (p =              any treatment group) ranged from 4% for                 study to assess the efficacy and
                            0.0155), and numerically better than HC10 (p    somnolence in the HC10 group to 28% dizziness in        safety of gabapentin used in
                            = 0.0771), on the SPID6 efficacy measure        the GBP250/HC10 (Table 16)."                            combination with hydrocodone for
                            (Table 7). The min-test, as defined in the      "The frequency of dizziness in the GBP250/HC10          the treatment of acute pain."
                            methods (Section 4.5.4.1), was negative."       group appeared to be additive of the effects seen       "The APAP1000 [acetaminophen
                                                                            with either GBP250 or HC10 alone, and was               1000mg]/HC10 [hydrocodone 10
                            "In other planned comparisons,                  statistically significantly higher in the GBP250/HC10   mg] group consistently
                            APAP1000/HC10 was significantly better than     group than in the placebo group (Odds Ratio = 4.57,     outperformed the placebo group on
                            all other treatment groups, including the       95% CI = 1.35-17.02)."                                  all efficacy measures,
                            GBP250/HC10 group (Table 8). The SPID6                                                                  demonstrating the validity of this
                            efficacy measures for the GBP250 group and      "The frequency of nausea in the GBP250/HC10             study."
                            the HC10 group did not separate from the        group (9%) was almost 2-fold less than that of the      "The GBP250 [gabapentin 250
                            placebo group (p >0.05)."                       HC10 group (17%). Despite this difference, the          mg]/HC10 [hydrocodone 10 mg]
                                                                            vomiting frequency was about the same between           group provided significantly better
                                                                            the 2 groups."                                          pain relief than the placebo and
                                                                                                                                    GBP250 groups on most efficacy
                                                                            "Dizziness was the most common adverse event            measures."
                                                                            associated with GBP250/HC10 treatment (27% of           "In addition, the GBP250/HC10
                                                                            patients). The dizziness frequencies reported for the   significantly outperformed the
                                                                            groups treated with the individual components of the    HC10 group on the 3- and 4-hour
                                                                            combination were 9% for GBP250 and 17% for              PRID, giving positive min-test
                                                                            HC10."                                                  results for the combination at these
                                                                                                                                    time points."
                                                                            "The remaining adverse events most frequently           "The PR, PID, and PRID curves
                                                                            associated with GBP250/HC10 treatment were              suggest that gabapentin potentiates
                                                                            headache (12%), nausea (9%), vomiting (8%), and         the analgesic effects of HC10. The
                                                                            somnolence (7%)."                                       GBP250/HC10 and HC10 curves
                                                                                                                                    are comparable for the first 2
                                                                                                                                    hours. After this time, HC10 begins
                                                                                                                                    losing potency, but GBP250/HC10
                                                                                                                                    retains its potency through 8 hours."
                                                                                                                                    "The GBP250/HC10 combination
                                                                                                                                    provided analgesic relief more
                                                                                                                                    quickly than either of its
                                                                                                                                    components."
                                                                                                                                    "In patients with pain resulting from
                                                                                                                                    dental surgery, this study
                                                                                                                                    demonstrated statistically
                                                                                                                                    significantly better analgesic effects
                                                                                                                                    (SPID6) of the GBP250/HC10
                                                                                                                                                                                           Case 1:04-cv-10981-PBS Document 1457-19 Filed 10/06/08 Page 156 of 159




                                                                                                                                    group compared with the placebo
                                                                                                                                    and GBP250 groups, and
                                                                                                                                    numerically better than the HC10

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                                                                                                        group."

                                                                                                        Synopsis of report:
                                                                                                        "In patients with pain resulting from
                                                                                                        dental surgery, this study
                                                                                                        demonstrated statistically better
                                                                                                        analgesic effects (SPID6) of the
                                                                                                        GBP250/HC10 combination
                                                                                                        compared with placebo and
                                                                                                        GBP250, and numerically superior
                                                                                                        effects compared with HC10."
                                                                                                        "In addition, efficacy was detected
                                                                                                        by positive min-test results on the
                                                                                                        PID at 3 and 4 hours postdose and
                                                                                                        PRID 3 hours postdose."
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1035-001.   1035-001.       "Based on summary statistics, the GBP/HC         "Dizziness was the most frequent adverse event          Synopsis section of report:
Addndm-B    Addndm-B.RR     combination groups tended to have greater        experienced by patients receiving the GBP/HC            "Based on summary statistics,
                            pain relief than either the placebo group or     combinations. For the combination treatment groups      GBP/HC combination groups
                            the GBP500 group."                               containing HC10, the incidence of dizziness             tended to have greater pain relief
                                                                             increased with the amount of GBP in the                 than placebo. The greatest relief
                            "The GBP125/HC10 treatment group showed          combination. The frequency of dizziness was 30%         was seen in the GBP125/HC10
                            a maximal effect on the PI, PR, PID, and         for the GBP125/HC10 group compared with 45% for         treatment group. The GBP/HC
                            PRID measures at 2 hours postdose."              the GBP500/HC10 group."                                 combinations were well-tolerated
                                                                             "The frequency of dizziness for patients treated with   with no remarkable side effects."
                            "The effects seen for the GBP500/HC10            GBP125/HC10 was similar to that of patients treated
                            group were better overall than for the           with GBP250/HC10 (28%)."                                Discussion section of report:
                            GBP250/HC5 group. The placebo and                                                                        "The small number of patients in
                            GBP500 groups had the smallest effect."                                                                  each treatment group precluded
                                                                                                                                     inferential analyses of these data;
                            "By 1 hour, 60% of patients in the                                                                       however, trends were detected in
                            GBP125/HC10 group experienced meaningful                                                                 the summary statistics. The
                            pain relief."                                                                                            GBP125/HC10 combination
                            "For comparison, the frequencies of                                                                      performed numerically better than
                            meaningful pain relief for the other treatment                                                           the GBP250/HC5 and
                            groups at 1 hour postdose were 35% for                                                                   GBP500/HC10 combinations on all
                            placebo, 40% for GBP250/HC5, 25% for                                                                     efficacy measures, and the
                            GBP500/HC10, and 29% for GBP500."                                                                        GBP500/HC10 combination
                                                                                                                                     performed numerically better than
                            "The percentage of responders was highest                                                                the GBP250/HC5 combination."
                            for the GBP125/HC10 group (40%), follwed
                            by the GBP250/HC5 and GBP500/HC10                                                                        "The SPID6 results obtained with
                            groups (35% each). The GBP500 and                                                                        GBP125/HC10 treatment appear
                            placebo treatment groups had responder                                                                   consistent with those obtained with
                            rates of 24% and 10%, respectively."                                                                     GBP250/HC10 treatment,
                                                                                                                                     suggesting that GBP doses of 125
                                                                                                                                     or 250 mg in combination with
                                                                                                                                     HC10 provide comparable pain
                                                                                                                                     relief (Table 9)." [Omitted citation to
                                                                                                                                     reference in original text].

                                                                                                                                     "Also, no apparent analgesic
                                                                                                                                     benefit was obtained by increasing
                                                                                                                                     GBP to 500 mg in the combination
                                                                                                                                     (Figure 4), and increased side
                                                                                                                                     effects occurred with the
                                                                                                                                     GBP500/HC10 combination."
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1035-002    1035-002.RR     "Primary ANCOVA Model                              "Ten patients withdrew because of the adverse          Synopsis of report:
                            The GBO250/HC10 group was statistically            event of fever. Two patients experienced a serious     "The combination of GBP250/HC10
                            significantly better than the placebo (p =         event, including one patient who died. Both of these   was significantly better than
                            0.0001) and GBP250 groups (p = 0.0146) on          patients were in the placebo group."                   placebo in relieving postsurgical
                            the SPID6 primary efficacy measure (Table                                                                 pain; however, 250 mg of
                            8). The GBP250/HC10 group did not separate         "Overall, the body systems most frequently affected    gabapentin does not appear to
                            from the HC10 group (0.9187), therefore, the       by adverse events were body as a whole (20%),          substantially potentiate the
                            min-test result was negative."                     nervous system (9%), and digestive system (6%).        analgesic efficacy of 10 mg of
                            "The SPID6 efficacy measure for the GBP250         The most frequent adverse events in each of these      hydrocodone in this model. A single
                            group was not statistically significantly better   body systems were fever, somnolence, and               oral dose of GBP250/HC10 was
                            than that of the placebo group."                   vomiting, respectively (Table 19)."                    well-tolerated with no remarkable
                                                                                                                                      side effects."
                            "Alternative ANCOVA Models"                        "Of all adverse events, only somnolence and
                            "Baseline opiate concentration and                 dizziness occurred at higher frequencies in the        Discussion section of report:
                            metabolizer status data were available for         GBP250/HC10 group than the placebo group."             "The GBP250/HC10 group provided
                            only 116 and 109 patients, respectively;           "The frequencies of these 2 adverse events were        significantly better pain relief than
                            therefore, these analyses were not as well-        compared between the GBP250/HC10 and placebo           the placebo and GBP250 groups
                            powered as the primary ANCOVA."                    groups using Fisher's exact test. There were no        on the majority of efficacy
                            "The results of the analysis performed using       significant differences in these comparisons (p =      measures."
                            baseline opiate concentration (Table 10) are       0.2326 for somnolence, p = 0.2602 for dizziness)."
                            very similar to those in the primary model                                                                "The GBP250/HC10 group did not
                            (Section 6.3.1). For the model incorporating                                                              significantly outperform the HC10
                            metabolizer status, the only statistically                                                                group on any of the efficacy
                            significant comparison for the GBP250/HC10                                                                measures examined."
                            group was against the placebo group."
                                                                                                                                      "Pain relieving effects of the active
                                                                                                                                      treatments (GBP250/HC10 and
                                                                                                                                      HC10) were seen as early as 40
                                                                                                                                      minutes postdose. These data
                                                                                                                                      suggest that 250 mg of gabapentin
                                                                                                                                      does not potentiate the effects of
                                                                                                                                      10 mg hydrocodone in this model."
                                                                                                                                      "This is in contrast to the apparent
                                                                                                                                      potentiation effects of gabapentin
                                                                                                                                      with hydrocodone in a dental pain
                                                                                                                                      model, Protocol 1035-001."
                                                                                                                                      [Omitted citation to reference in
                                                                                                                                      original text].
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